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                                                                            4112


    1                       UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK
    2

    3   UNITED STATES OF AMERICA,       )
        STATES OF ARIZONA, CONNECTICUT, )
    4   IDAHO, ILLINOIS, IOWA,          )
        MARYLAND, MICHIGAN, MISSOURI,   )
    5   MONTANA, NEBRASKA,              )         10-CV-4496 (NGG)
        NEW HAMPSHIRE, OHIO,            )
    6   RHODE ISLAND, TENNESSEE,        )         United States Courthouse
        TEXAS, UTAH AND VERMONT,        )         Brooklyn, New York
    7                                   )
                           Plaintiffs,  )
    8                                   )
              -against-                 )
    9                                   )
        AMERICAN EXPRESS COMPANY,       )         WEDNESDAY, JULY 30, 2014
   10   ET AL.,                         )         9:00 a.m.
                                        )
   11                      Defendants.  )
        ________________________________)
   12

   13           REDACTED TRANSCRIPT OF CIVIL CAUSE FOR BENCH TRIAL
                    BEFORE THE HONORABLE NICHOLAS G. GARAUFIS
   14                      UNITED STATES DISTRICT JUDGE

   15
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    1               THE COURT:    Please be seated.

    2               THE CLERK:    Case on trial.     Counsel, please state

    3   your appearances for the record.

    4               MR. CONRATH:    Craig Conrath for the United States.

    5               THE COURT:    Good morning.

    6               MR. CONRATH:    Good morning, Your Honor.

    7               MR. GENTILE:    Mitch Gentile for the plaintiff

    8   states.    Good morning, Your Honor.

    9               THE COURT:    Good morning, sir.

   10               MR. CHESLER:    Good morning, Your Honor, Evan Chesler

   11   for American Express.

   12               THE COURT:    Good morning.

   13               MR. FLEXNER:    Good morning, Your Honor, Donald

   14   Flexner for American Express.

   15               THE COURT:    Good morning.

   16               All right.    We're on cross-examination.      Anything

   17   before we start?

   18               MR. CONRATH:    Nothing from us, Your Honor.

   19               THE COURT:    Okay.   Let's bring the witness please.

   20               (Witness enters courtroom and resumes the stand.)

   21               THE COURT:    Good morning, sir.     Please be seated.

   22               THE WITNESS:    Thank you.

   23               THE COURT:    I remind the witness that he is still

   24   under oath.

   25               You may continue your cross-examination,



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    1   Mr. Chesler.

    2               MR. CHESLER:    Thank you, Your Honor.

    3               Your Honor, by way of housekeeping, there are two

    4   documents that I used yesterday with the witness which I'd

    5   like to offer only for demonstrative purposes.          They had

    6   numbers on them which I did not read aloud because of

    7   confidentiality and, therefore, in order to be clear on the

    8   record what numbers the witness and we were all looking at, I

    9   think we need to offer those two documents and one of them I'm

   10   going to offer in in an amended form for a reason I'll explain

   11   in a moment but the two numbers are DX 7760A, I used 7760

   12   yesterday and I'll explain the difference of the A version,

   13   and 7761 for illustrative purposes only.

   14               THE COURT:    I had written down 7760, that's your

   15   witness' rebuttal report.

   16               MR. CHESLER:    Yes, the three pie chart.

   17               THE COURT:    The demonstrative, the pie charts.

   18               MR. CHESLER:    Yes.

   19               THE COURT:    It's a demonstrative, I'm sure we'll

   20   hear from Dr. Bernheim about it.

   21               MR. CONRATH:    I think so, Your Honor.      So, as to

   22   7761, I have no objection; as to 7760A, I guess I should wait

   23   to hear what the difference is before I comment.

   24               THE COURT:    Yes.

   25               MR. CHESLER:    Let me give a copy of that to counsel.



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    1   May I hand up a copy?

    2                THE COURT:   Yes, of course.       7761 is received in

    3   evidence without objection.

    4                (Defendant's Exhibit 7761 so marked in evidence.)

    5                THE COURT:   And the difference is in 7760?

    6                MR. CHESLER:   In the text below the middle and the

    7   right-hand pie charts, Your Honor, in 7760 there was an error,

    8   they both said more secure, more secure rather than more

    9   accepted, more convenient, so it was just a typo, they should

   10   have said the same thing as the words at the top of each pie

   11   chart.    The first bullet under each pie chart said secure in

   12   all three cases.     That was a mistake, it should have said

   13   accepted in the middle one and convenience in the right-hand

   14   one, so we just corrected those two words.

   15                THE COURT:   Does that bear any relationship to the

   16   testimony of the witness?

   17                MR. CHESLER:   No, the witness was actually looking

   18   and I directed him to the words on the top of the pie charts

   19   which were in that exhibit just as they are in this one, they

   20   haven't changed.     The typo was in the first bullet below each

   21   pie chart.

   22                THE COURT:   Let me show the witness the changes.

   23                THE WITNESS:   Your Honor, I was reading across the

   24   top, I understood it to be three different pie charts.

   25                THE COURT:   Okay.   Then is there an objection to it



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                              Katz - cross - Chesler                        4117


    1   serving as a demo exhibit?

    2                MR. CONRATH:     As a demonstrative, no, Your Honor.

    3   We'll take a look at the correction.         I guess I reserve any

    4   right if we look at the correction and find there's some

    5   problem with it but I don't have an objection as to the

    6   demonstrative.

    7                THE COURT:   All right, that's fine.

    8                Please be seated, sir.

    9                All right.   DX 7760A is received in evidence as a

   10   demonstrative.

   11                MR. CHESLER:     Thank you, Your Honor.

   12                (Defendant's Exhibit 7760 so marked in evidence.)

   13   M I C H A E L      K A T Z,     having been previously

   14   duly sworn was examined and testified as follows:

   15   CROSS-EXAMINATION (Cont'd.)

   16   BY MR. CHESLER:

   17   Q     Good morning, Dr. Katz.

   18   A     Good morning.

   19   Q     Dr. Katz, would you agree that it is necessary to know

   20   what products are at issue in order to assess whether there is

   21   more or less competition among those products?

   22   A     Yes.

   23   Q     And so, in order to properly evaluate the competitive

   24   effect of a vertical restraint, do you agree that the market

   25   in which that vertical restraint exists has to be properly



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                              Katz - cross - Chesler                        4118


    1   defined?

    2   A     No, I don't fully agree with that.        I certainly am in

    3   favor of proper market definition and think an improper one

    4   could mislead you but it's well known that among economists

    5   there are numerous ways to analyze the effects of something

    6   without having to formally define a relevant market.           That's

    7   an opinion that I hold and share actually with at least some

    8   of your own experts.

    9   Q     Okay.    But you, in any event, agree I think you said that

   10   in order to determine whether there's more or less competition

   11   among a group of products, you need to be sure you've

   12   identified which products you have in mind, correct?

   13   A     Yes.

   14   Q     Now, do you agree that if a firm does not possess

   15   significant market power in a relevant market, one is unlikely

   16   to be concerned with the effects of its behavior on

   17   competition?

   18   A     Yes, as a general matter that's right, one is unlikely.

   19   There are exceptions but I agree with that statement, I

   20   believe I've made it in my report.

   21   Q     Do you also agree that in this two-sided market a firm

   22   could even have the power to set price above a competitive

   23   level based, for example, on insistence and yet at the same

   24   time lack sufficient market power to engage in

   25   anti-competitive conduct?



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    1   A     So, it would depend on the conduct but there could be

    2   situations where that's true, yes.

    3   Q     And, in fact, you believe, do you not, that the ability

    4   to set prices greater than at a competitive level is not

    5   equivalent to the ability to harm competition more broadly

    6   through many vertical restraints such as the

    7   non-discrimination provisions?

    8   A     That's right, by itself it does not imply that.

    9   Q     And, in particular, you believe that market shares play

   10   an important role in a firm's ability to impose vertical

   11   restrictions that harm competition?

   12   A     Certainly they can and I believe in this market they do

   13   play that role.

   14   Q     Now, in the U.S. v. Visa case you concluded that Visa and

   15   MasterCard had substantial market power, correct?

   16   A     In the relevant markets in that case, yes.

   17   Q     And you also concluded that competition from American

   18   Express was limited in the market for credit and charge card

   19   network services, correct?

   20   A     Yes.

   21   Q     And you also in that case testified that the high

   22   combined market share of Visa and MasterCard went hand-in-hand

   23   with low market shares for American Express and Discover,

   24   isn't that true?

   25   A     Yes.   That's an accounting identity since the shares have



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    1   to add up to 100.

    2   Q     So, in the U.S. v. Visa case you actually characterized

    3   American Express's market share as low, didn't you?

    4   A     I don't recall.     I certainly characterized it as lower

    5   than their shares and lower than I thought it would be absent

    6   the exclusionary rules.

    7   Q     Well, let me ask you to look at Defendant's Exhibit 733

    8   which is in volume one, that's your direct testimony from the

    9   Visa case, and in particular paragraph 169 which begins on

   10   page 89.

   11   A     I'm sorry, I must be looking at the wrong exhibit.          What

   12   number?

   13   Q     The exhibit is DX 733, page is page 89 from the excerpt

   14   that appears behind that tab and in particular paragraph 169.

   15                Do you have that, sir?

   16   A     Yes, I do.

   17   Q     And you see that in the first sentence of paragraph 169

   18   of your direct testimony you said:

   19                "A second reason why market shares are informative

   20   follows from the fact that the large combined market share of

   21   the associations --

   22                That was Visa and MasterCard, right?

   23   A     Yes.

   24   Q     -- goes hand-in-hand with the low market shares of

   25   American Express and Discover/Novus."



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                            Katz - cross - Chesler                       4121


  1                Do you see that, sir?

  2   A     Yes, I do.

  3   Q     So, did you characterize American Express's market share

  4   in that case as low?

  5   A     Yes, and I think if you look in context though in the

  6   next sentence that I'm saying that the shares of the two

  7   associations were high and by that I mean the other ones are

  8   low being the opposite of it and as you see in the second

  9   sentence, I'm saying the relatively low shares.         I certainly

 10   believed then and believe now that their shares were lower and

 11   significantly lower than the combined shares.

 12                MR. CHESLER:   Your Honor, my efficient staff has

 13   told me we have to turn on our feed on our side of the

 14   courtroom.

 15                THE COURT:   Thank you.

 16   Q     Do you recall that at the time that you so characterized

 17   the American Express share that it was about 20 percent of

 18   spend volume?

 19   A     That's my recollection but I'd have to check but that's

 20   my recollection.

 21   Q     You also testified, did you not, that the relatively low

 22   market share that American Express had reflected the fact that

 23   it would likely have difficulty taking business away from

 24   MasterCard and Visa if those networks were to reduce the

 25   attractiveness of their offerings by raising prices, lowering



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                            Katz - cross - Chesler                       4122


  1   product and service quality or reducing their level of

  2   innovation, do you recall testifying to that?

  3   A       I don't recall saying that specifically except as part of

  4   reading the paragraph I saw, I did in fact say that.

  5   Q       You did in fact say that.    Thank you.

  6                You also said that it was your belief that American

  7   Express could take actions to increase the size of its'

  8   acceptance network including by lowering its price but that

  9   American Express did not do so because it thought that doing

 10   so would not be a profitable strategy and that the costs of

 11   doing so would outweigh the benefits, do you recall testifying

 12   to that, sir?

 13   A       I don't recall testifying to that in that case but that

 14   certainly -- wait a minute, not supports, that certainly

 15   reports economic logic that I would support so I would not be

 16   at all surprised that I said it.

 17   Q       Let me ask you to look at Defendant's Exhibit 708 please.

 18   This is also in volume one.      These are excerpts from your

 19   testimony in the U.S. v. Visa case and -- I'm sorry, this is

 20   actually from your deposition in that case.         I'd like you to

 21   turn to page 380 of the transcript.

 22   A       I'm there.

 23   Q       I'm sorry, I've taken you to the wrong page.       Page 150.

 24                Page 150 of Defendant's Exhibit 708, do you have

 25   that?



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  1   A     Yes, I do.

  2   Q     Now, beginning -- these pages for some reason are not

  3   numbered, the lines are not numbered but about three or four

  4   questions down into the page there's a question that begins

  5   "Prior to 1995," do you have that one?

  6   A     Yes, I do.

  7   Q     The question was:      "Prior to 1995 could American Express

  8   have taken actions that would have increased the size of their

  9   network such as lowering the merchant discount rate, for

 10   example?"

 11                Your answer was:     "Yeah, I believe the actions they

 12   could have that they might be able to increase the size of the

 13   merchant acceptance network."

 14                Then you were asked:

 15                "Question:      And do you know why they didn't?

 16                "Answer:      My belief would be that they thought

 17   that doing so would not be a profitable strategy and that the

 18   cost of doing it would outweigh the benefits."

 19                So far do you agree with the testimony that you gave

 20   there, sir?

 21   A     Yes.

 22   Q     Now, you were then asked in the very next question:

 23                "Does that imply anything about whether or not

 24   American Express has market power?"          That being the strategy

 25   that you just described, correct?



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  1   A     Yes.

  2   Q     And your answer was:

  3                "Answer:      I don't see how the fact that they found

  4   their actions, the fact that there were actions that they

  5   might have taken that they didn't but would have been

  6   unprofitable, as I sit here I don't see how that is indicative

  7   of having market power."

  8                Do you stand by that testimony, sir?

  9   A     I stand by the testimony I gave there based on the

 10   general statement about the fact that it was unprofitable to

 11   lower the price to increase the acceptance network.          My

 12   testimony in this case is based on information that goes

 13   beyond that.    I'm not relying just on the fact that it was

 14   unprofitable, I'm relying on the fact it was unprofitable even

 15   though they were getting positive contribution margins from

 16   merchants.    This is a statement about a broader logic.          So, I

 17   agree with the statement I made there and I believe it is

 18   fully consistent with what I've done in this case.

 19   Q     All right.    We'll probe that a bit further in a few

 20   minutes.

 21                THE COURT:    Oh, I don't seem to have that page in my

 22   book so that's all right, I've got it on the screen but I

 23   would just like to have it for my record.

 24                MR. CHESLER:    We will provide that, Your Honor, I'm

 25   sorry.



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  1               THE COURT:   Thank you.

  2   Q     Now, you also testified in the Visa case that the size

  3   and coverage of a systems acceptance network is one of the

  4   most important characteristics of a credit and charge card

  5   system, didn't you?

  6   A     I believe I did, yes.

  7   Q     And that a system with limited acceptance is of limited

  8   value to potential cardholders because of the network effect,

  9   correct?

 10   A     That's correct.

 11   Q     And do you recall that you relied in that case on

 12   statements from American Express executives that the smaller

 13   size of their acceptance network relative to Visa and

 14   MasterCard was a source of competitive disadvantage to

 15   American Express, do you recall doing that, sir?

 16   A     I don't recall doing that but it is certainly plausible

 17   that I would have done that.

 18   Q     Let's look at 733 again which is your direct testimony

 19   and at page 213, footnote 542 on 213, you say:

 20               "American Express executives indicated that the

 21   smaller size of the American Express acceptance network

 22   relative to those of MasterCard and Visa continues to be a

 23   significant source of competitive disadvantage in attracting

 24   consumer cardholders?"

 25               So, do you see that you in fact refer to that and



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  1   that's consistent with your recollection, sir?

  2   A     As I say, I don't recollect it but I'm not at all

  3   surprised I said it and I certainly agree I said it.

  4   Q     Now, are you aware that the evidence in this case

  5   indicates that Discover has many more accepting merchants than

  6   American Express does?

  7   A     You're saying the present case?

  8   Q     Yes, sir?

  9   A     Yes.

 10   Q     In fact, the locations in force, according to industry

 11   sources, are something like three million more for Discover

 12   than American Express?

 13   A     That sounds about right.      I more have the visual in my

 14   mind but yes.

 15   Q     And are you aware that Mr. Hochschild of Discover

 16   testified in this case that Discover's coverage gap even with

 17   that many merchants, this is coverage gap as compared to Visa

 18   and MasterCard, is a competitive weakness of Discover?

 19   A     No, I don't recall seeing that testimony.

 20   Q     Back in the Visa case you testified, did you not, that

 21   executives from Visa and MasterCard had identified the fact

 22   that American Express had a smaller acceptance network as a

 23   significant source of competitive disadvantage for American

 24   Express in competing against the larger networks?

 25   A     Again I don't recall but it sounds plausible.



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  1   Q     Just so we're clear in the record, if you'd look at

  2   paragraph 69 of your Visa testimony which is Exhibit 733, it

  3   is at page 33, you see the last sentence on page 33 carrying

  4   over to 34, you say:     "MasterCard and Visa executives have

  5   identified the fact that American Express has a smaller

  6   acceptance network than either of the two associations as a

  7   significant source of competitive disadvantage for American

  8   Express."

  9               Do you see that?

 10   A     Yes, I do.

 11   Q     And American Express still has a significant coverage gap

 12   as compared to Visa and MasterCard, correct?

 13   A     Certainly measured in terms of the number of merchants it

 14   is, you'd have to go back and look at the composition of the

 15   merchants who weren't covered then and there to say if it is

 16   the same gap but yes, there are millions of merchants they

 17   don't take even though they are a small percentage of charge.

 18   Q     Are you aware of the testimony in this record that the

 19   merchants that American Express does not have acceptance at

 20   are merchants that are largely in the range of half a million

 21   dollars or less of charge volume, are you aware of that

 22   testimony, sir?

 23   A     I've seen -- I don't recall the testimony.        I've seen

 24   various documents talking about them being small but I don't

 25   have a particular threshold in mind.



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  1   Q     Are you aware of the testimony that that same size, half

  2   a million dollars or less of charge volume, is in fact the

  3   size of approximately 98 percent of American Express's current

  4   merchants?

  5   A     I wouldn't be surprised.      My understanding is that most

  6   of the current merchants are in fact small merchants if you're

  7   just counting them, yes.

  8                MR. CONRATH:   Your Honor, I believe this document is

  9   labeled as filed under seal in the prior case and I don't know

 10   if that's ever been restricted and I don't think anything

 11   that's been discussed here is significant but we probably

 12   should honor that prior sealing since we haven't done anything

 13   to remove it.

 14                MR. CHESLER:   I agree, Your Honor.     I've stayed away

 15   from anything that we thought was and I'm not going to go any

 16   further into the content on the record.

 17                THE COURT:   All right.

 18   Q     Now, in your direct testimony yesterday you testified

 19   that American Express was able to profitably increase its

 20   rates to merchants through its value recapture initiative, do

 21   you recall that?

 22   A     Yes, I do.

 23   Q     And you cited that in the context of your discussion of

 24   market power?

 25   A     Yes.



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  1   Q     Now, you agree, do you not, that a price increase alone

  2   does not demonstrate the existence of antitrust market power?

  3   A     Yes, I do.

  4   Q     And are you aware, sir, that during the period of

  5   American Express's value recapture effort Discover raised its

  6   prices in a number of industry segments including travel and

  7   entertainment?

  8   A     That's my recollection, yes.

  9   Q     And I'd like you to look at Defendant's Exhibit 6466

 10   which is in the first volume, this is your first report in

 11   this case, and I'd like you to look at, if I can get there,

 12   page 288 which is one of the diagrams, it is actually

 13   Figure VI.

 14                So, we're in Defendant's Exhibit 6466, which is your

 15   first report in this case, Figure VI which appears at page

 16   288, do you have that?

 17   A     Yes, I do.

 18   Q     Now, the blue line in the middle on this chart is your

 19   effort to depict American Express's average effective discount

 20   rate between 2001 and 2011.      This is for -- that line is for

 21   the combined travel and entertainment and the rest of the

 22   market combined, correct?

 23   A     That's correct.

 24   Q     So, according to your compilation of the data, during

 25   that ten year period American Express's average effective



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  1   discount rate declined, correct?

  2   A     Yes.

  3   Q     And that includes the period of time during which the

  4   value recapture initiative took place, correct?

  5   A     That's correct.

  6   Q     Now, as you presented it in your report, if I understand

  7   this correctly, the effective discount rate reflects money

  8   that the merchant pays to American Express such as the

  9   discount fee and other fees associated with transactions such

 10   as a card not present fee, correct?

 11   A     I believe that's right that that's calculated in the

 12   discount revenue actuals, yes.

 13   Q     And it also reflects money that American Express pays to

 14   the merchant, some money such as signing bonuses and marketing

 15   funds that are not actually used for marketing, right?

 16   A     That's right, my recollection is it has contra revenues.

 17   Q     You netted those out and that number was used to

 18   calculate your effective discount rate as depicted on

 19   Figure VI, correct?

 20   A     I believe so, yes.

 21   Q     Now, there were certain categories of payments that

 22   American Express makes to merchants that are not included in

 23   your calculation of the net effective discount rate, correct?

 24   A     That is correct.

 25   Q     So, for example, payments that American Express makes to



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  1   merchants in connection with co-brand deals were not factored

  2   into your calculation, correct?

  3   A     Let's be clear, you are talking about payments that were

  4   made to a merchant that was a co-brand partner in its role as

  5   being a co-brand partner, those were not included, that's

  6   correct.

  7   Q     So, for example, you're aware that American Express, I

  8   won't mention the amount, but American Express paid to Delta

  9   Airlines a signing bonus as part of its 2008 co-brand

 10   agreement of a significant amount of money that's not included

 11   in your calculation of American Express's net discount rate,

 12   correct?

 13   A     That's correct.

 14   Q     And the same is true of the signing bonus that American

 15   Express paid to JetBlue, which again I won't mention on the

 16   record, you didn't include that in your calculations either,

 17   did you?

 18   A     As a signing bonus for co-brand, it would not be

 19   included.

 20   Q     Now, are you also aware that in 2008 American Express

 21   pre-purchased, and I can state this number because it's

 22   been publicly reported by the merchant, American Express

 23   pre-purchased a billion dollars worth of Delta SkyMiles, do

 24   you recall that?

 25   A     I remember they did a big pre-purchase and that number



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  1   sounds familiar.

  2   Q     And so, in 2008 which was part of what you described

  3   yesterday as the Great Recession, right?

  4   A     Yes.

  5   Q     So, in the midst or early on in the Great Recession

  6   American Express gave Delta a billion dollars interest free as

  7   a pre-purchase of SkyMiles, correct?

  8   A     That's correct.

  9   Q     And you did not, for example, factor in the value of

 10   Delta having not the billion dollars itself but the value of

 11   having a billion dollars of cash in its hands, for example,

 12   the interest value, the carrying value of that money, you did

 13   not include that in your calculation of the net discount rate

 14   to merchants during that period, did you?

 15   A     That's correct.

 16   Q     Now, I'd like you to look at Defendant's Exhibit 6540

 17   please which is another one of your reports in this case and I

 18   want you to look at page 430 of that document.

 19                Now, this is a table which is labeled Table VI G-1,

 20   correct?

 21   A     Yes.

 22   Q     And it is entitled:     American Express's Overall Economic

 23   Price of Payment Services and Net Discount Rate Components of

 24   Dr. Bernheim's Figure 2 and Figure 5 Calculations All

 25   Merchants; did I read that correctly?



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  1   A     I believe you did.

  2   Q     All right.    Would you agree with me, sir, that the

  3   forgone interest value on the billion dollars of pre-purchased

  4   SkyMiles by itself would reduce the American Express net

  5   interest rate, net discount rate, excuse me, to all merchants

  6   by the number of basis points that appears on the third line

  7   up from the bottom of this chart on the right-hand column, the

  8   last column on the right under 2010, the line is entitled

  9   Forgone Interest?

 10   A     I'm looking at the line -- sorry, I just have to look,

 11   there are a lot of tables, I want to make sure I understand my

 12   own table, but I believe that's what this is showing.

 13   Q     And also if you included the co-brand remunerations which

 14   you did not include, the effect on American Express's net

 15   discount rate for all merchants in 2010 would be the number of

 16   basis points that appears on the line right above that,

 17   correct?

 18   A     Yes.

 19   Q     Now, would you look at the next page, page 431, this is a

 20   similar table but this relates just to travel and

 21   entertainment merchants, correct?

 22   A     Yes.

 23   Q     This one is labeled Table VI G-2.

 24                Now, again, would you agree that the forgone

 25   interest on the SkyMiles deal had you included it in your



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  1   calculation of American Express's net discount rate would have

  2   in 2010 represented the number of basis points that appears in

  3   the 2010 column toward the bottom on the line labeled Forgone

  4   Interest?

  5   A     Actually to be clear, so the record is clear, these are

  6   expressed as percentages but, yes, they do imply basis points

  7   but the units here are not basis points but other than that I

  8   agree, yes.

  9   Q     Okay.    And again, if you had included co-brand

 10   remuneration in your calculation, then the effect of that on

 11   lowering American Express's net effective discount rate for

 12   2010 would be the number of basis points that appears on the

 13   co-brand remuneration line, this is for travel and

 14   entertainment merchants in 2010, correct?

 15   A     Yes.

 16                 MR. CHESLER:    Your Honor, for illustrative purposes

 17   I would like to offer those two charts, pages 430 and 431 of

 18   Defendant's Exhibit 6540, we'll submit them separately, as

 19   6540 A and B, if that's acceptable.

 20                 MR. CONRATH:    As demonstratives I have no objection,

 21   Your Honor.

 22                 THE COURT:   All right.   You'll mark them and submit

 23   them as 6540 A and B.        They're admitted in evidence as

 24   demonstrative exhibits.

 25                 MR. CHESLER:    Thank you, Your Honor.



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  1                (Defendant's Exhibits 6540 A and B so marked in

  2   evidence.)

  3   Q     Now, you did not include those items in your calculation

  4   because in your view co-brand relationships are separate from

  5   the acceptance relationship, correct?

  6   A     Yes.   So, if you were to impute all of it, for example,

  7   to the Delta relationship, my recollection is that the sort of

  8   calculation Dr. Bernheim did would imply that American Express

  9   was paying Delta to accept American Express at a negative

 10   discount rate and I think that's an implausible result and I

 11   think it is because, as you're saying, that the co-brand

 12   relationship is a card issuing relationship and is something

 13   different than a merchant acceptance relationship.

 14   Q     When you came to that conclusion, sir, did you consider

 15   the evidence presented by Mr. Berry of American Express, by

 16   internal American Express e-mails about the Starwood co-brand

 17   relationship, the testimony of Mr. Brennan from Hilton Hotels,

 18   the deposition testimony of Mr. Phillips from Delta, all

 19   concerning the relationship between their co-brand agreements

 20   and their acceptance agreements with American Express?

 21   A     I mean I considered different people.        Those -- I don't

 22   recall the specific names as I sit here but certainly there

 23   was a set of people I considered including American Express

 24   executives testifying that they tried to keep the two

 25   negotiations separate.



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  1   Q       Let me ask you to look at Defendant's Exhibit 5817 which

  2   is in the other volume.

  3                  I'm not going to mention the numbers here because

  4   they're deemed confidential by Delta.            Do you see that this

  5   appears to be a memorandum or a document from Chris Phillips

  6   to someone named Wayne Aaron and with copies to others

  7   entitled American Express Rate Update from July 14th 2011?

  8   A       I see that, yes.

  9   Q       And you see that the document lists American Express

 10   merchant rate across all card types and there's a number next

 11   to it and then it says American Express merchant rate across

 12   all card types after remuneration credit, do you see that?

 13   A       Yes.

 14   Q       And then it says SkyMiles co-brand card merchant rate if

 15   remuneration is only applied to this subset of American

 16   Express cards, and there's another rate, correct?

 17   A       Yes.

 18   Q       Did you consider this document from Delta in connection

 19   with your decision not to include co-brand consideration in

 20   your calculation of American Express's net discount rate?

 21   A       I don't recall having seen this document so I might have

 22   but as I sit here, I don't recall incorporating it.

 23   Q       All right.   I'd like you to look at Defendant's Exhibit

 24   7775.    This is an excerpt from the deposition of Mr. Phillips,

 25   the author of that document.        Do you have it, sir?



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  1   A      Yes, I do.

  2   Q      And I'd like you to look at, beginning at page 72 of the

  3   transcript, and you see he's asked -- he's talking about this

  4   document and he's asked at line 15:

  5                  "Okay.   So, what you're doing here is you're trying

  6   to figure out what the effective rate is considering various

  7   other benefits that American Express provides to Delta?

  8                  "Answer:      That is correct."

  9                  Do you see that?

 10   A      Yes.

 11   Q      Okay.    I'd like you then to turn to page 82 of his

 12   deposition transcript.         At the very bottom of the page, line

 13   22, it says:

 14                  "If you could please refer to Defendant's Exhibit

 15   809.   So, American Express's counsel -- this is Mr. Glass

 16   questioning him -- American Express's counsel directed you to

 17   the sentence that reads:          AX merchant rate across all card

 18   types after remuneration credit -" and then there's a

 19   percentage number, correct?

 20   A      Yes.

 21   Q      The witness says, "Yes."

 22                  Then he's asked:

 23                  "Question:      What's the remuneration credit?

 24                  "Answer:      That's the number of basis points that

 25   Delta receives for spend on all Delta co-brand credit cards."



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  1                Do you see that, sir?

  2   A     Yes, I do.

  3   Q     He's plainly keeping track of calculating his overall

  4   effective rate including the benefits that Delta was receiving

  5   from the co-brand card, wasn't he?

  6   A     He's certainly doing some sort of calculation.         From

  7   looking at the page you have earlier it doesn't appear it's

  8   the same set of calculations that Dr. Bernheim was suggesting

  9   should be done because I believe the number is much higher, so

 10   I don't know exactly what calculation Delta was doing but he

 11   certainly says here, the plain English, that they were making

 12   some adjustment for remuneration credit.

 13   Q     Did you review this, did you take this into consideration

 14   when you decided to keep the co-brand consideration out of

 15   your calculation?

 16   A     As I sit here, I don't know if I did or not.         I don't

 17   recall reading this text before.

 18   Q     Is it at all relevant to you in making this determination

 19   that Mr. Brennan of Hilton Hotels testified here at trial, he

 20   was asked:    "And as I think you said in response to questions

 21   from Mr. Read, therefore you leveraged that co-brand

 22   relationship that American Express valued when you were

 23   negotiating the terms of the card acceptance agreement,

 24   correct?

 25                "Answer:     Yes, we brought that up relatively early



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  1   in the negotiations."

  2                 Is that relevant to you in your consideration of

  3   whether to keep co-brand remuneration and discount rate

  4   separate?

  5   A     That statement, no.

  6   Q     Okay.

  7                 MR. CONRATH:   Your Honor, just for the rule of

  8   completeness, I'd like to read the next couple of questions

  9   that Mr. Phillips -- and answers that Mr. Phillips had in the

 10   examination by Mr. Glass.

 11                 MR. CHESLER:   How far would you like me to read,

 12   counsel?

 13                 THE COURT:   I'd like to know page number of the

 14   transcript.

 15                 MR. CHESLER:   Yes, sir, I believe we're looking at

 16   Defendant's Exhibit 7775 was the testimony of Mr. Phillips

 17   that counsel is referring to.

 18                 MR. CONRATH:   Correct.

 19                 MR. CHESLER:   And I was reading from the top of page

 20   83 a few minutes ago with the witness.

 21                 THE COURT:   Yes, but I thought you were -- what were

 22   you reading from just now?

 23                 MR. CHESLER:   I was reading just now --

 24                 THE COURT:   From the transcript of this trial, yes?

 25                 MR. CHESLER:   Yes, sir.



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  1               THE COURT:    Is that what you're talking about?

  2               MR. CONRATH:    No, I'm talking about Mr. Phillips.

  3               THE COURT:    Oh, all right.      I would like to know

  4   where in the transcript of this trial you read from just for

  5   completeness of the record.

  6               MR. CHESLER:    Yes, Your Honor, I was reading from

  7   transcript page 1628 beginning at line 22.

  8               THE COURT:    Okay.   Thank you.     All right.

  9               And as to Mr. Phillips's deposition, what are you

 10   going to add?

 11               MR. CONRATH:    We're on page 83 and I'd like to begin

 12   reading at line eight.

 13               MR. CHESLER:    Until where?

 14               MR. CONRATH:    Until 84, line 11.

 15               MR. CHESLER:    Okay.

 16               "Question:      Would Delta have received the

 17   remuneration credit from American Express if it chose a

 18   different co-brand partner?

 19               "Answer:      We -- there's an objection -- we would

 20   not receive that from American Express, no.

 21               "Question:      So, if Delta chose a co-brand partner

 22   other than American Express, its merchant rate discount rate

 23   would be blank percent -- objection.

 24               "The Witness:     It would be blank percent.

 25               "Question:      So, the           basis point remuneration



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  1   credit directly relates to whether or not American Express won

  2   the co-brand relationship with Delta?

  3               "Answer:      No.

  4               "Question:      Why not?

  5               "Answer:      Many factors went into determining which

  6   co-brand partner we went into and the remuneration was just

  7   part of it.

  8               "Question:      Okay.    I'll just rephrase that.

  9               So, had American Express lost the co-brand

 10   partnership, Delta would not have received the               basis

 11   point remuneration credit on the discount rate?

 12               There's an objection.

 13               "Answer:      I believe that's correct."

 14               THE COURT:    All right, thank you.

 15               MR. CONRATH:    Thank you.     And we'd probably have to

 16   go out and edit that number, there was a number that I think

 17   you didn't intend that --

 18               THE COURT:    About the basis points?

 19               MR. CONRATH:    Yes, we'll check it on the transcript.

 20               THE COURT:    The number of basis points.

 21               MR. CHESLER:    I don't think that's confidential.        It

 22   was the numbers that led to that number that were confidential

 23   and I did not recite those I believe.

 24               THE COURT:    The percentages you believe.

 25               MR. CHESLER:    Correct.



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  1                 THE COURT:   Yes, I understand.

  2   Q      Now, Dr. Katz, would you go back to 6540, Defendant's

  3   6540 which is one of your reports in this case.         We were

  4   looking at that a little while ago.         I think it is your third

  5   report and --

  6   A      I apologize.   This is volume one?

  7                 THE COURT:   One.

  8   Q      Yes, sir.

  9                 THE COURT:   Volume one.

 10   Q      And in that document 6540, page 389.       Do you have that,

 11   sir?

 12   A      Yes.

 13   Q      This is Figure VI G-1 of your third report, correct?

 14   A      Yes.

 15   Q      Now, the orange, I guess it is orange sort of thick

 16   dotted line across the top, that is your calculation of the

 17   American Express net discount rate, correct?

 18   A      I think so.    In any case, it's the net discount rate

 19   based on the GMAPS system and how it assigns things which I

 20   believe is what I was using.

 21   Q      Thank you.    And the purple line that runs close to it but

 22   not identical to it, that's Dr. Bernheim's calculation of the

 23   net discount rate, correct?

 24   A      Yes.

 25   Q      And then down below the two -- the dotted and solid lines



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  1   lower down on the chart, those are -- the red dotted line is

  2   your so-called economic price based upon the GMAPS data,

  3   correct?

  4   A     I believe it is actually Professor Bernheim assigning

  5   names, his -- what he called the economic price but it is

  6   using his concept that's based on GMAPS components only.

  7   Q     And his calculation of that economic price is the solid

  8   blue line that runs close to that dotted line, correct?

  9   A     That's right.    He made some adjustments that were

 10   different -- well, adjustments to GMAPS.

 11   Q     All right.

 12               Now, if you take the top two lines, yours and

 13   Dr. Bernheim's on the top, the net discount rate

 14   calculations you did, Dr. Bernheim's shows a decrease

 15   from 2002 to 2010 of 11 basis points, correct?

 16   A     I'm sorry, taking the top line -- yes.

 17   Q     And yours shows a net decrease of two basis points,

 18   correct?

 19   A     That's correct.

 20   Q     And the difference between those two slopes, a decrease

 21   of 11 basis points versus a decrease of two is based upon

 22   whether you include or exclude these additional items, forgone

 23   interest and co-brand remuneration that we've been talking

 24   about, correct?

 25   A     I'd have to check if those were the specific adjustments



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  1   to which this table refers but if that's what you represent, I

  2   have no reason to doubt it.

  3   Q     Okay.    Thank you.   I do.

  4                 Now, if you look at the next page of your report,

  5   page 390 of Defendant's Exhibit 6540, this is a similar chart

  6   but this one relates to travel and entertainment merchants

  7   only, correct?

  8   A     That is correct.

  9   Q     And, again, if you look at your calculation of the net

 10   discount rate which is the sort of thick orange dotted line

 11   across the top, you show an increase from 2002 to 2010 of 20

 12   basis points, correct?

 13   A     Yes.

 14   Q     And for that same period of time Dr. Bernheim, including

 15   the adjustments that you did not include, shows a decrease of

 16   nine basis points during that same period of time, correct?

 17   A     That is correct.

 18   Q     And that's within the T&E segment, correct?

 19   A     Yes.

 20   Q     And if you looked at the so-called economic rates that

 21   are lower down on that chart, Dr. Bernheim would show a

 22   decrease of over 50 basis points, right?

 23   A     Yes.

 24   Q     And you show a decrease of about half of that, correct?

 25   A     When you say I show, I mean it's a particular calculation



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  1   I did but yes, that calculation shows a smaller decrease.

  2   Q     About half of the amount of basis point decrease as

  3   Dr. Bernheim showed, correct?

  4   A     Yes.

  5                MR. CHESLER:   Your Honor, I would like to offer

  6   these two charts, and we'll supply them separately to the

  7   Court, as 6540 A and B for illustrative purposes only so as to

  8   clarify the witness' testimony since we're not reciting all

  9   the numbers on the record.

 10                MR. CONRATH:   I think those particular numbers have

 11   already been used, they might have to be C and D.

 12                THE COURT:   Yes, A and B --

 13                MR. CHESLER:   Sorry.

 14                THE COURT:   A and B are taken.

 15                MR. CHESLER:   I'm sorry, Your Honor, counsel and are

 16   you are absolutely right.      We'll make them C and D then.

 17                THE COURT:   C and D are not taken.     Now they are

 18   taken.

 19                MR. CONRATH:   But as demonstratives, I do not

 20   object.

 21                THE COURT:   Yes, as demonstrative exhibits they're

 22   received in evidence, 6540 C is Figure VL G-1 and D is VL G-2.

 23                (Defendant's Exhibits 6540 C and D so marked in

 24   evidence.)

 25                MR. CHESLER:   Thank you very much, Your Honor.



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  1                THE COURT:   Thank you very much.     Okay.

  2   Q     Now, on this value recapture issue, your position is that

  3   value recapture shows that it is profitable for American

  4   Express to raise the sum of its prices to merchants and

  5   cardholders above the competitive level, correct?

  6   A     I mean it showed in that instance, yes.        I mean I'm

  7   saying that's what value recapture represented.

  8   Q     Now, there's a disagreement I take it between you and

  9   Dr. Bernheim as to how to calculate the consumer side of the

 10   two-sided price, isn't there?

 11   A     Yes.

 12   Q     You say that the consumer side of the price should be

 13   measured by the value delivered to the cardmember rather than

 14   the cost or the liabilities that American Express incurred to

 15   deliver that value; is that correct?

 16   A     Certainly we're talking about price, yes.

 17   Q     Now, when you looked at market power and you were

 18   determining the value to the cardholder on the consumer side

 19   of the two-sided price, you looked at cost when you calculated

 20   the two-sided price in connection with your Hypothetical

 21   Monopolist Test, didn't you?

 22   A     Cost is one of the things I looked at because if it

 23   doesn't change, then holding aside some things, there were

 24   degradations in the quality of American Express's rewards

 25   programs, it was saying they weren't making expenditures that



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  1   would have increased the value, so it is an indirect way of

  2   getting at it and I did use it, you're right.

  3   Q       Again, so in your SSNIP test analysis when you were

  4   looking at market power on the consumer side, you looked at

  5   cost, correct?

  6   A       No, ultimately I was saying there is no change in what's

  7   going to that side so there was no change in benefits and the

  8   way it is modeled is -- well, as I said, the monopolist raised

  9   the price to one side and did not lower the price to the other

 10   side.

 11   Q       And, in fact, you said that, "The principal way in which

 12   I conducted the Hypothetical Monopolist Test was to consider a

 13   net two-sided price, the costs of rewards and other benefits

 14   are reflected in the equilibrium interchange fees or in the

 15   case of American Express's proprietary issuing and internal

 16   transfer price."

 17                  That's a correct statement that you gave?

 18   A       Yes.

 19   Q       And it looked at cost of the rewards and other benefits,

 20   correct?

 21   A       Yes, and holding those constant was holding the rewards

 22   constant, yes.

 23   Q       Now, it is your belief that American Express charges a

 24   rate premium over its competitors and this is one of the

 25   pieces of evidence that you referred to in connection with



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  1   your assessment of market power?

  2   A     Overall it has a premium pricing strategy.        It doesn't

  3   charge premiums in every instance.

  4   Q     You agree that the existence of a premium does not in and

  5   of itself prove the existence of market power, correct?

  6   A     That's correct.

  7   Q     Are you familiar with the concept of an oligopoly price

  8   umbrella?

  9   A     Yes.

 10   Q     That's where you can have nondominant firms that are

 11   behaving competitively but are able to achieve high

 12   equilibrium prices because the larger firms in the market that

 13   dominate have set high prices, correct?

 14   A     That is correct.

 15   Q     And it is possible that a nondominant firm competing with

 16   an oligopoly can price even above the dominant firms if it

 17   provides a differentiated product, correct?

 18   A     Yes.

 19   Q     And you also note, don't you, that Discover charges a

 20   prime over Visa and/or MasterCard in some industry segments,

 21   right?

 22   A     That's my recollection, yes.

 23   Q     In fact, if you take a moment and look at Defendant's

 24   Exhibit 6507, this is in volume one, this was your second

 25   report, page 99, Table 1-A, do you have that?



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  1   A      Yes, I do.

  2   Q      And you see if you look -- let me pull out four of these

  3   lines under the acquirer interchange program, if you look at

  4   public services, Discover is priced above Visa Traditional

  5   Rewards, correct?

  6   A      I'm sorry, I just -- I was looking at the table.        Which

  7   one?

  8   Q      Public services, about a third of the way down.

  9   A      Okay.

 10   Q      Discover's rate to merchants is higher than Visa,

 11   correct?

 12   A      The interchange rate, yes.

 13   Q      And the retail line, Discover is again higher than Visa,

 14   correct?

 15   A      Higher than this particular Visa rewards card, yes.         So,

 16   when you say higher than Visa, yes, higher than the Visa card

 17   listed here.    That's different than a statement about higher

 18   than Visa overall but certainly I stand by this table.

 19   Q      Indeed, you put the table together, correct?

 20   A      Yes.

 21   Q      And on the restaurant line Discover is higher than the

 22   MasterCard Enhanced Card, correct?

 23   A      Yes.

 24   Q      And for card not present, E-commerce Discover is higher

 25   than the Visa column, correct?



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  1   A       I'm sorry -- yes.

  2   Q       Do those prices indicate to you that Discover has market

  3   power?

  4   A       No.

  5   Q       Now, you acknowledge that Visa and MasterCard charge

  6   higher interchange fees for different types of credit cards,

  7   those with higher rewards for example, correct?

  8   A       Yes, that's my understanding.

  9   Q       And the rewards cards for which Visa and MasterCard

 10   charge higher rates, higher merchant fees are closer to, in

 11   terms of their consumer benefits, closer to the American

 12   Express cards, aren't they?

 13   A       Certainly that's my view that that's what's generally

 14   true.    I haven't looked at specific cards to match them but

 15   that's my general impression, yes.

 16   Q       You recall in your reports and I think in your direct

 17   testimony you talked a bit about doing comparison merchant

 18   fees on a mix adjusted basis?

 19   A       Yes, that American Express does that.

 20   Q       And that's where American Express tries to map their

 21   cards against particular Visa and MasterCard cards in order to

 22   do an apples to apples comparison of merchant rates?

 23   A       That's a large part of what it's doing.      I think the

 24   testimony is somewhat unclear as to what else they're doing

 25   because there's some discussion of matching cardholder



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  1   characteristics as well.

  2   Q     All right.

  3                 Are you aware, sir, that Discover's president,

  4   Mr. Hochschild, testified here at trial that in his view it is

  5   necessary to adjust for mix in order to avoid the inaccuracies

  6   that come from a comparison based on a blended average rate?

  7   A     First, mix has been used multiple ways in this litigation

  8   and also blended rate has been used to refer to multiple

  9   things.    So, he could well have made such a statement but it

 10   would be certainly helpful for me to know what kind of mix

 11   we're talking about and what we're talking about being

 12   blended.

 13   Q     I won't take the time because his testimony is in the

 14   record, but did you read Mr. Hochschild's testimony, sir?

 15   A     I don't believe I read all of it.         I certainly read large

 16   parts, which is not to say I remember all of it.

 17   Q     Okay.    Now, you've been informed that American Express

 18   asserts in this litigation that at present on a mix adjusted

 19   basis, that is mapping cards to cards of comparable consumer

 20   benefit, American Express's average discount rate does not

 21   reflect any premium over Visa and MasterCard?

 22   A     That has been relayed to me that American Express has

 23   said that.

 24   Q     Now, given your testimony about the significance to you

 25   of AmEx's overall premium as you described it in your direct



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  1   testimony, if you assume it is correct that American Express

  2   does not have a premium over Visa and MasterCard on a mix

  3   adjusted basis, does that have any significance to your

  4   testimony, sir?

  5   A     It would certainly play a role in my thinking.         It would

  6   not take away from the fact that American Express has long had

  7   a premium pricing strategy and it would certainly raise

  8   questions in my mind why American Express wasn't doing it but

  9   it also would take away the current premium as a basis for

 10   concluding they had market power.

 11   Q     It would take away the current premium as a basis for

 12   concluding that American Express had market power, is that

 13   your testimony?

 14   A     Yes, that's right.     It wouldn't change the facts up to

 15   that point but that would be something to consider.

 16   Q     Now, you're aware that American Express's expert,

 17   Dr. Bernheim, found that smaller merchants are more likely to

 18   pay higher all-in rates to Visa and MasterCard than they pay

 19   for American Express?

 20   A     As I recall, he made a number of claims about that and I

 21   had some serious reservations about several of the

 22   calculations he did, so I do know he made some such claims, I

 23   recall that.

 24   Q     Well, didn't you state, sir, that with respect to his

 25   identifying the fact that smaller merchants that pay less for



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  1   American Express transactions than for those on Visa and

  2   MasterCard, he looked across a series of four separate figures

  3   and he confirmed that the smaller merchants are more likely to

  4   pay higher all-in rates to MasterCard and Visa and you said

  5   that this finding was not a surprise to you?

  6   A     I may well have said that I mean, and I may be mis-

  7   recollecting, but I thought he found merchants that accounted

  8   for some tiny fraction of his sample.           I may be mixing which

  9   things -- he and I did a lot of things in the course of

 10   writing our reports.     There was certainly -- if you look at a

 11   large number of merchants, it is certainly not surprising that

 12   some would go one way and some the other.

 13   Q     Okay.   Now, you talked in your direct testimony about

 14   insistence as a source of AmEx's market power, correct?

 15   A     Yes, I did.

 16   Q     And you agree that by itself high levels of insistence do

 17   not establish that American Express has antitrust market

 18   power, correct?

 19   A     That's correct.

 20   Q     I take it you also agree that a firm with a very small

 21   market share may be unable to set prices above competitive

 22   levels even if its cardholders have a high degree of

 23   insistence, correct?

 24   A     If your cardholders had a high enough degree of

 25   insistence you might be able to set the price for your



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  1   cardholders above the competitive level by some degree because

  2   of the fact you have insistence, that's the nature of

  3   two-sided platforms and what in economics it's referred to as

  4   having a bottleneck.     So, there is a feature of two-sided

  5   platforms where you can have a small share and still have the

  6   ability to raise the price just for your product.

  7               MR. CHESLER:    Let's look at Defendant's Exhibit 6540

  8   again.

  9               You know, Your Honor, before I do that, I just

 10   reminded myself, I think I did not say that I wanted to offer

 11   the two most recent charts we looked at as A and B from a

 12   different report of Dr. Katz's.       When we take a break, I'll go

 13   back and figure out which two those are and offer them.

 14               THE COURT:   6507 A and B?

 15               MR. CHESLER:    6507 A and B.

 16               THE COURT:   It may be too late to do that.

 17               MR. CHESLER:    Is there a rule that I fall on the

 18   wrong side of?

 19               THE COURT:   A two minute rule.     If you ask too many

 20   questions afterwards, you're out of luck.

 21               MR. CHESLER:    I should have known.

 22               THE COURT:   Is there any objection with regard to

 23   tables?

 24               What is it, the table on 99 and 100, is it, those

 25   two tables?



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  1               MR. CHESLER:    I think it was actually just the one

  2   on 99.

  3               THE COURT:   So, that would just be A.

  4               MR. CHESLER:    6507 A, yes, sir.

  5               THE COURT:   Any objection as a demonstrative

  6   exhibit?

  7               MR. CONRATH:    No.

  8               I want to make sure I'm talking about the right

  9   thing.   This is the table from Dr. Katz's report, Table 1-A at

 10   page 99?

 11               THE COURT:   Yes.

 12               MR. CONRATH:    I have no objection.

 13               THE COURT:   Of DX 6507?

 14               MR. CONRATH:    No objection.

 15               THE COURT:   All right.    6507 A is received in

 16   evidence.

 17               You'll provide me with a marked copy.

 18               MR. CHESLER:    Yes, Your Honor, we will.

 19               THE COURT:   As a demonstrative exhibit.

 20               MR. CHESLER:    Yes.

 21               (Defendant's Exhibit 6507 A so marked in evidence.)

 22               THE COURT:   Let's move on.

 23               THE WITNESS:    I apologize, could I ask if I could do

 24   one thing, when you are referring to my reports could I use a

 25   copy I brought because you used higher gloss paper and I



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  1   recently had a retinal tearing surgery and the light

  2   reflecting off of this is causing problems for me reading.

  3                MR. CHESLER:   Of course.

  4                THE WITNESS:   If it is okay with you.

  5                MR. CHESLER:   Of course.

  6                THE COURT:   And they are unmarked copies.

  7                MR. CHESLER:   I will just point out to the Court

  8   that I always examine witnesses from blue paper for that exact

  9   reason.

 10                THE COURT:   I thought there was a law at your law

 11   firm.

 12                MR. CHESLER:   There is, Your Honor, but as the

 13   chairman, I was trying to be egalitarian so I didn't want to

 14   mention that.    Now that you've outed me --

 15                THE COURT:   I've ordered ten cases of blue paper.

 16                MR. CHESLER:   It would be good for the blue paper

 17   industry.

 18                THE COURT:   Yes, I suppose but it will raise the

 19   price.

 20                MR. CHESLER:   It will, that's true.     I think it is a

 21   one-sided market.

 22   Q       Of course you can use your version of it.

 23   A       Thank you.

 24   Q       So, we're going to look at 6540 which is your third

 25   report, that is your --



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  1   A     Surrebuttal.

  2   Q     Surrebuttal.

  3               And I'd like you to look at paragraph 604 which

  4   begins on page 340.     I'm really interested in the part of

  5   paragraph 604 that appears on the next page but why don't you

  6   take a moment and look at the whole paragraph.

  7               (Continued on next page.)

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  1   CROSS-EXAMINATION (continued)

  2   BY MR. CHESLER:

  3   A     Okay.    I have looked it over.

  4   Q     And you see that beginning in about the fourth line down

  5   from the top on page 341 you say:       "Hence, a firm with a very

  6   small market share may be unable to set prices above

  7   competitive levels even if its cardholders have a high degree

  8   of insistence.     Moreover, the ability to set prices greater

  9   than the competitive level is not equivalent to the ability to

 10   harm competition more broadly through policies such as the

 11   merchant restraints.     As discussed in my initial report,

 12   market shares play an important role in the ability to impose

 13   restrictions such as American Express's merchant restraints.

 14   In this regard, it's notable that American Express's charge

 15   volume is approximately five times Discover's."

 16                 Do you see that, sir?

 17   A     Yes, I do.

 18   Q     And do you agree with your statement in that context that

 19   "hence, a firm with a very small market share may be unable to

 20   set prices above competitive levels even if its cardholders

 21   have a high degree of insistence"?

 22   A     Yes.    So to make sure the record is clear about what I

 23   was saying before, there's circumstances where you could have

 24   a very low market share and because of insistence have the

 25   ability to set prices above the competitive level due to


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  1   what's known as having this bottleneck effect.         What I've

  2   identified here, and I believe correctly so, is saying that in

  3   this particular industry, there are some setup costs or fixed

  4   costs that also come into play and could be an offsetting

  5   factor.

  6   Q     Now, I'd like you to go back to an exhibit we looked at

  7   yesterday, which is Defendant's Exhibit 1917 which is in

  8   Volume 2 and it's already in evidence.        This was the

  9   presentation to the American Bar Association in 2004 "Payment

 10   Networks, the Antitrust Perspective."

 11               Do you have that, sir?

 12   A     Yes, I do.

 13   Q     Now, if you look at page seven which has a Bates number

 14   that ends '721, you pose the question on that page:          "Can a

 15   firm have market power on one side of the market but not the

 16   other?"

 17               Do you see that, sir?

 18   A     Yes, I do.

 19   Q     And then under that the first bullet reads:         "Competition

 20   to serve the side for which there is no market power will lead

 21   to complete rent dissipation.       Hence, there is no meaningful

 22   market power for the intermediary."

 23               Now, would you just explain to the Court what the

 24   first bullet means:     "Competition to serve the side for which

 25   there is no market power will lead to the complete rent


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  1   dissipation"?

  2   A       So, what here it's saying is you had perfect competition

  3   on the one side and if you're asking where the perfect is it's

  4   implied in the complete rent dissipation.            So it's saying if

  5   you have perfect competition on one side of the market, that

  6   any gains you've got on the other would be dissipated on this

  7   side.

  8   Q       And in fact, you went on to say that that concept, that

  9   having market power on one side of a two-sided market but not

 10   on the other will persist, was contradictory to the

 11   government's position in the U.S. v. First Data case, correct?

 12   A       That's what it says, yes.

 13   Q       And that's the case where you testified opposite the

 14   government and testified about the nature of that two-sided

 15   market, correct?

 16   A       That's correct.

 17   Q       Now, in the same presentation you also pointed out that

 18   this conclusion regarding the market power of the intermediary

 19   contradicted the government's position, as we just saw.

 20                Do you recall what the government's position was

 21   that this principle contradicted?

 22   A       What I recall about it is that the government was

 23   focusing on changes in the interchange rate as a measure of --

 24   of market power and I would think from that then it's saying

 25   well, if you change the interchange and it goes up to the


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  1   issuing side, that then the issuing side would dissipate.           I

  2   believe that's what this is referring to, but I'd have to

  3   reconstruct it from ten years later.

  4   Q     The government in the First Data case was taking the

  5   position that the merger that you were proposing or you were a

  6   proponent of would have the effect of raising interchange

  7   rates on the merchant's side of the market?

  8   A     No, interchange rates -- right, interchange rate is a

  9   passthrough rate.     So yes, they were saying that it would go

 10   up on the merchant's side, but then as part of the definition,

 11   it would go down on the other side.        I mean, that's what it

 12   means to be an interchange rate.       You can't change just one

 13   side of it.

 14   Q     And you took the position, as we saw yesterday, that by

 15   looking only at one side of the market, the government was, in

 16   your words, telling only half the story, correct?

 17   A     Yes, with the interchange rate, certainly.

 18   Q     Now, you're aware that American Express routinely pays

 19   consumers and corporate cardholders to use its cards, right?

 20   A     Yes.

 21   Q     And that, in fact, American Express offers a rewards

 22   program that many cardmembers find attractive, correct?

 23   A     Yes.

 24   Q     And that's a big part of American Express's value

 25   proposition, an element of its success?


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  1   A     Yes, that's my understanding.

  2   Q     And you understand that American Express uses rewards to

  3   attract and retain cardmembers and encourage them to use their

  4   cards when they go to merchants to make purchases?

  5   A     Yes, I assume that's the point of paying the rewards.

  6   Q     And you also agree that if American Express were to cease

  7   offering a competitive rewards program, it would see a

  8   significant decline in its cardmember insistent levels,

  9   correct?

 10   A     Yes, I would expect that.

 11   Q     And it would see a significant decline in its charge

 12   volume if it were to cease offering a competitive rewards

 13   program, correct?

 14   A     Yes, if it didn't substitute it with something else, yes.

 15   Q     And if in fact it had a less attractive rewards program,

 16   it would have a lower share of spend than it has today,

 17   wouldn't it?

 18   A     Again, unless it did something offsetting, yes.

 19   Q     Now, at your deposition I asked you what factors, in your

 20   view, tend to enhance brand loyalty in this industry, the

 21   credit card industry, and you recall that you said that so

 22   long as the consumer continued to have good experiences with

 23   the card provider and with using the card, it would remain a

 24   user and you called that loyalty; do you recall that, sir?

 25               MR. CONRATH:    Can we have a page and line, Your


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  1   Honor?

  2   A     I don't recall saying that, but that's -- I agree with

  3   the statement.

  4   Q     All right.    Let's look at your deposition, which is the

  5   first tab in Volume 1, transcript page 231.

  6   A     I'm sorry, you said page 231?

  7   Q     Yes, sir, I did.

  8   A     Thank you.

  9   Q     You have that page, sir?

 10   A     Yes.

 11   Q     All right.    And I'd draw your attention to line 7 on 231

 12   of your deposition.       My question:    "So far as you're aware,

 13   what factors tend to create an enhanced brand loyalty in the

 14   credit card industry?

 15                "Answer:     If a consumer thinks that he or she is,

 16   you know, getting particularly high value from using a

 17   particular card, I would expect that that consumer would be

 18   more loyal to that card in the sense of preferring to use it,

 19   and as long as that consumer continued to have good

 20   experiences with the card provider and with using, it would

 21   remain a user and I would call that being loyal.

 22                "Question:    Could that value, for example, come in

 23   the form of rewards?

 24                "Answer:     Yes."

 25                And then your testimony goes on.


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  1               MR. CONRATH:    Your Honor, I object to not reading

  2   the complete answer.

  3               THE COURT:    Yeah, read the rest of the answer,

  4   please.

  5               MR. CHESLER:    Okay.

  6   Q     "I should also state though since we brought up this

  7   issue about marketing, there are people who would say that's

  8   not evidence of loyalty at all, somewhat the way a friend of

  9   mine once said that dogs are loyal and he said they're loyal

 10   only as long as you're feeding them.        So that's why there's a

 11   debate in marketing about what we mean by loyalty.          So that's

 12   why single-homing is not necessarily equivalent to the

 13   concept."

 14               And then I asked you:      "Well, to use your dog

 15   analogy might be analogous to they are loyal so long as they

 16   keep getting the rewards?

 17               "Answer:     Yes."

 18               Do you recall giving that testimony, sir?

 19   A     I certainly remember the dog testimony, yes.

 20   Q     And do you stand by the dog, sir?

 21   A     As long as he doesn't bite me, yes.

 22   Q     Thank you.

 23               And you would also agree, would you not, that there

 24   are no significant barriers that face issuers from offering

 25   rewards programs similar to American Express's?


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  1   A     Be careful I guess by what with he mean by barriers.           I

  2   think a lot of thinking and research and experience has gone

  3   into developing American Express's rewards programs, and I

  4   believe witnesses have testified to that at trial, but there's

  5   nothing to stop somebody else from trying and there are other

  6   successful rewards programs.

  7   Q     And Discover believes that it offers an effective rewards

  8   program, right, its cashback program?

  9   A     Yes, I believe they're proud of it.

 10   Q     And despite that program, you would agree that they have

 11   not been able to achieve ubiquity that Visa has on the issuing

 12   side of the market, correct?

 13   A     I'm sorry, by ubiquity on the issuing side are you saying

 14   that they don't have anywhere near the number of third party

 15   issuers that Visa does, is that the question?

 16   Q     And anywhere near the number of cards-in-force as Visa

 17   has, correct?

 18   A     Yes.

 19   Q     And when I asked you if you knew why that was the case,

 20   you said you did not, you'd be speculating.         That's at page

 21   205 of your deposition.

 22                Do you recall that you gave that testimony?

 23   A     I don't recall saying that.

 24   Q     Why don't you look at page 205.       You can read the prior

 25   testimony, if you'd like, and just it really begins with the


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  1   prior question, line 3:

  2               "You agree that in the general purpose credit and

  3   charge market you've defined Visa has a significantly higher

  4   share than Discover?

  5               "Yes.

  6               "And it has significantly higher share than Amex

  7   has?

  8               "Answer:     For some purposes, sure, it's significant.

  9               "Question:    Do you have a view as to why on the

 10   issuers' side of the market Discover has not been able to

 11   achieve ubiquity that Visa has?

 12               "Answer:     No, I would be speculating."

 13               Does that refresh your recollection, sir?

 14   A      Yes, although it does raise the question here what I

 15   thought you meant when you said "ubiquity," but it's certainly

 16   what I said there.

 17               MR. CHESLER:    Your Honor, I have a note that the

 18   courtroom system is apparently down.        So we're not publishing

 19   anything on the screens.      I don't know that there's much to be

 20   done about it, but I just -- apparently the technology folks

 21   are working on it.

 22               (Pause.)

 23               THE COURT:    There's something up there now.      Is that

 24   what you're publishing?

 25               MR. CHESLER:    Yes, that was the page of the


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  1   transcript we were just looking at.

  2                  THE COURT:    Then we're up.

  3                  MR. CHESLER:    Thank you, Your Honor.

  4                  THE COURT:    Okay?

  5                  MR. CHESLER:    Thank you.

  6                  THE COURT:    It's up on the screen here.

  7                  Thank you.    Go ahead.

  8   BY MR. CHESLER:

  9   Q       Now, with respect to this issue of insistence, do you

 10   agree, sir, that there are often consumers who are loyal in

 11   some sense to the merchant with whom American Express is doing

 12   business?

 13   A       Yes, that's why the insistence numbers are less than a

 14   hundred percent.

 15   Q       And in fact, what's going on is there are some consumers

 16   who are more concerned with using their American Express Card

 17   than with the particular merchant and there are some consumers

 18   who are more concerned with doing business with the particular

 19   merchant than with using their American Express Card; is that

 20   fair?

 21   A       Yes.

 22   Q       Now, if you'd look, please, at Defendant's 6466, this is

 23   your first report, and at page 322.

 24   A       I'm sorry, could you give me a figure or table number,

 25   because if I use my copy --


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  1   Q     Table 22.

  2   A     Thank you, because my copy doesn't have pagination at

  3   that point.

  4   Q     Okay.

  5                 THE COURT:    We're not publishing this, are we?

  6                 MR. CHESLER:    No, Your Honor.

  7   Q     Do you have that?

  8   A     Yes, I do.

  9   Q     And so if you look at the total insistence column in the

 10   middle, would you agree with me that across, assuming these

 11   figures are accurate, across every industry, less than half of

 12   the cardmembers are insistent, that is insistent on using

 13   their American Express Card?

 14   A     Subject to one amendment.        I believe insistence is done

 15   in terms of charge volume, not numbers of cardmembers, but if

 16   you're using it just as a shorthand, certainly I agree.

 17   Q     And I take it you would agree, sir, then in any

 18   negotiation between American Express and a merchant, if the

 19   result of that negotiation were to be that American Express

 20   and the merchant no longer did business together directly,

 21   while the merchant faces the prospect that some number of

 22   consumers will no longer shop at her store, American Express

 23   faces the prospect that some number of its cardmembers may use

 24   someone else's card to continue shopping at that store?

 25   A     Yes.


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  1   Q     So it's a two-edge sword, so to speak, in that

  2   negotiation in which both sides may well have something to

  3   lose, correct?

  4   A     Yes.

  5   Q     And are you familiar with the concept in the card

  6   industry of spillover?

  7   A     I believe it's used more than one way, but yes.

  8   Q     Let me be sure we're using it the same way for these

  9   questions.     I'm intending to use spillover as the phenomenon

 10   that if a card loses acceptance at a particular merchant it

 11   may result in that particular consumer who's using that card

 12   using it less at other merchants other than the one at which

 13   it's been cancelled.

 14   A     Yes.

 15   Q     Okay.

 16   A     I'm not sure -- okay, I understand that that's the

 17   concept that you're talking about here.

 18   Q     All right.    Have you done any research on your own into

 19   the significance of an impact of the spillover effect as I've

 20   just defined it?

 21   A     No.

 22   Q     Moving to a somewhat different topic.

 23                 Did you read Mr. Conrath's opening statement to the

 24   Court?

 25   A     I'm not sure I did.     I know I was provided a copy, but


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  1   with apologies to Mr. Conrath, I may not have.

  2   Q     He doesn't seem to be getting a lot of -- you didn't

  3   remember he was in the First Data case, you didn't read his

  4   opening statement.

  5                MR. CHESLER:    I don't know why you stand for it.

  6   A     I'm sorry, I may have.       I just --

  7   Q     It just wasn't memorable, is that what you're saying?

  8   A     Possibly.

  9   Q     I'm only kidding.

 10                THE COURT:    I heard it, so I'm not as concerned

 11   about the witness.

 12                MR. CHESLER:    Thank you, Your Honor.

 13                THE COURT:    Go ahead.

 14   Q     One of the things Mr. Conrath said in his opening is:

 15   "If merchants could steer price competition breakout,

 16   merchants could save money."

 17                Doesn't surprise you that he said that, does it?

 18   A     No.

 19   Q     Now, I take it that you're aware that the government

 20   called a number of merchant witnesses during the course of its

 21   case-in-chief here?

 22   A     Yes.

 23   Q     Are you aware that the government called no consumers and

 24   no consumer group representatives?

 25   A     I'm certainly not aware of it having called any.         I


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  1   haven't looked at the complete witness list, but I don't

  2   recall any.

  3   Q     Did you find that in the group of merchants called by the

  4   government, virtually all of them came from the finance

  5   function in their companies as opposed to the marketing

  6   function?

  7   A     I'd have -- I'm not sure I recall all the titles, but the

  8   ones I do recall I guess would be in a finance function.           I

  9   know that like for Southwest I think it's the person who dealt

 10   with payments and I'm not sure which part of the company

 11   that's in, but that's what I recall.

 12   Q     Now, going back for a moment to the Visa case again.

 13                MasterCard had an expert in that case by the name of

 14   Pindyck, correct?

 15   A     That's correct.

 16   Q     Robert Pindyck?

 17   A     Yes.

 18   Q     And Professor Pindyck also focused on the level of

 19   merchant discount rates and he made claims about American

 20   Express's rates being too high, didn't he?

 21   A     Yes.    I think he was saying they were too high from the

 22   perspective of overall consumer welfare, yes.

 23   Q     And in fact, he argued that if the exclusionary rules

 24   were eliminated, American Express would use issuing banks to

 25   which it would then have access to increase the volume of


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  1   transactions that would be charged at higher discount rates to

  2   merchants, didn't he?

  3   A     I'd have to recall specifically.       I believe his

  4   testimony, as I sit here my recollection is he said that

  5   interchange rates would be driven up so that merchants would

  6   be paying more and that more money would be paid to the

  7   issuers' side than the consumers'.       I think it was about

  8   interchange, but I'd have to go back and look.

  9   Q     All right.    I think we're in agreement on that.

 10               Now, you responded, part of your role was to respond

 11   to Professor Pindyck, wasn't it?

 12   A     Well, my role was to analyze, you know, the economic

 13   issues in the case, and certainly I took into account what he

 14   said and I responded where I thought he, you know, he either

 15   had a good point or a bad point, yes.

 16   Q     And one of the things you responded to Professor Pindyck

 17   about was you said that his focus on discount rates was

 18   unsound, didn't you?

 19   A     I think if we're talk -- yes, if we're talking about

 20   interchange, his focus exclusively on discount rates is

 21   unsound, yes.

 22   Q     And you testified that by focusing solely on one

 23   dimension of a multidimensional competitive behavior, he was

 24   providing an incomplete, and thus misleading, picture of

 25   economic effects.


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  1                Wasn't that your testimony, sir?

  2   A     Yes.

  3   Q     And you said that merchant and consumer welfare has to be

  4   measured in terms of the total package of benefits that they

  5   receive, not just the merchant discount rate, correct?

  6   A     So because this was in your opening statement, I actually

  7   had -- this is something I had gone back and looked at.           So I

  8   want to just clarify a couple of things.

  9                One, the consumer there is meaning consumer in the

 10   everyday use of the word.       So that's why it's in -- it's what

 11   I would have said in current terminology as merchant and

 12   customer, but yes, I said it was about both of them.          And that

 13   that statement was saying you have to look not just at price,

 14   but also at quality.

 15                MR. CONRATH:    Could I object to the fact that

 16   apparently the witness read Mr. Chesler's opening statement

 17   but not mine?

 18                THE COURT:    When you get his bill, you can adjust.

 19                MR. CONRATH:    I am delighted that he saved the time

 20   that would have been wasted reading my opening.

 21                MR. CHESLER:    I'm not good at taking --

 22                THE COURT:    I'm very impressed, Mr. Chesler, about

 23   the fact that the witness is so familiar with your work.

 24                THE WITNESS:    Not as familiar as he is with mine.

 25                THE COURT:    Apparently so.


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  1                Go ahead.

  2                MR. CHESLER:   Thank you, Your Honor.

  3   BY MR. CHESLER:

  4   Q     So picking up on the last answer you gave that it's also

  5   necessary to be concerned about quality as well as price, you

  6   remember just saying that a few minutes ago?

  7   A     Yes, I do.

  8   Q     So you are of the view that you have to take into account

  9   changes in the nature and quality of products and services

 10   that both merchants and consumers receive, correct?

 11   A     Yes.

 12   Q     And in the context of the elimination or the possible

 13   elimination of the exclusionary rules, that, in your view, was

 14   an important consideration in addition to whatever the impact

 15   might be on the discount rate, correct?

 16   A     Yes, in that case, certainly.

 17   Q     In fact, you recognized in the Visa case, didn't you,

 18   that removing the exclusionary rules could actually result in

 19   increasing merchant fees?

 20   A     I -- yes, through raising the interchange rate, yes.

 21   Q     And in fact, after the exclusionary rules were

 22   eliminated, merchant fees increased, didn't they?

 23   A     The interchange fees did go up after that, resulting in

 24   an increase in the merchant discount fees, although one has to

 25   be careful whether one attributes it to that litigation or the


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  1   outcome, for example, the Wal-Mart litigation and other

  2   factors, but yes, merchant discount rates did go up in the

  3   years following that litigation.

  4   Q     And the interchange, I think we've established, is by far

  5   the largest component of the merchant fee in the card

  6   industry, correct?

  7   A     Yes.

  8   Q     And one of the things that you emphasized in First Data,

  9   moving from Visa to First Data.

 10   A     Thank you.

 11   Q     One of the things you emphasized in First Data was that

 12   it was very important to acknowledge that increased

 13   interchange fees which the government was saying would occur

 14   in the presence of that merger were in fact passed back to

 15   consumers both directly in rewards and indirectly in the

 16   overall services that issuers provide to consumers, correct?

 17   A     I don't recall saying the second part, but I would

 18   certainly agree with the -- that economic analysis, and I do

 19   recall the first part.

 20   Q     And to sum up this point, your view in First Data was

 21   that because of the two-sided interrelated nature of the

 22   market, it was incorrect to think that the effects of

 23   interchange fees on consumer welfare can be understood by

 24   looking solely at the merchant side of the market?

 25   A     Yes.


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  1   Q     Isn't it true, sir, that in this two-sided payment

  2   market, in examining competitive effects, it is improper to

  3   equate an increase in network charges to merchants with harm

  4   to competition or consumers?

  5   A     The increase itself, yes, it would depend on the process

  6   that gave rise to the increase.

  7   Q     And in fact, an increase in merchant fees can be the

  8   result of increased competition, not a sign or consequence of

  9   harm to competition; isn't that true?

 10   A     I want to actually just clarify one thing.        It probably

 11   won't change my answer, but I want to make sure the record is

 12   clear.

 13               Are you asking me when you said, we were talking

 14   about First Data and you started to say this market.          Are you

 15   still talking about what the government alleged was a separate

 16   market for PIN debit, or are you talking about --

 17   Q     Yes, I'm talking about your views in the context of the

 18   First Data case.     If I didn't make that clear, I apologize.

 19   A     I'm sorry, I think it was clear by implication, but I

 20   just wasn't sure.     I'm sorry, if you could just ask the

 21   question again.

 22   Q     Let me ask that second question again.

 23               In fact, isn't it true that an increase in merchant

 24   fees can be the result of increased competition, not a sign or

 25   consequence of harm to competition?


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  1   A     Yes.

  2   Q     And that in a two-sided market, interchange rates can and

  3   have been driven up by an increase in competition, correct?

  4   A     Now, so you're now asking generically?

  5   Q     Yes.   I'm quoting from your First Data testimony, but I

  6   quoted it exactly you gave it "in a two-sided market."

  7   A     Yes, I agree with that statement.

  8   Q     Thank you.

  9                Now, is it similarly true, sir, that if interchange

 10   rates were to be lowered, that can harm consumers through the

 11   resulting effects on card issuers' pricing and service

 12   quality?

 13   A     Yes.

 14   Q     And can an increase in interchange rates also increase

 15   merchant welfare as well as consumer welfare?

 16   A     In theory, yes.

 17   Q     For example, an increase in interchange could provide

 18   incentives for issuers to offer card features like rewards

 19   that encourage consumers to use their cards with the merchants

 20   and that can benefit the merchants, correct?

 21   A     Depending on what the payment alternatives are, it could

 22   be the case, yes.

 23   Q     I just want to ask you a bit about the but-for world that

 24   you considered in connection with this case.

 25   A     The present case.


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  1   Q     Now, that would be a world in which American Express did

  2   not have these non-discrimination provisions in its merchant

  3   agreements, correct?

  4   A     Yes.

  5   Q     And by necessity, that's a hypothetical world, right?

  6   You didn't have an actual model to examine, correct?

  7   A     That's -- that's correct.

  8   Q     And you would agree, would you not, that it is possible

  9   that the actual discount rate to merchants might rise over

 10   time in that but-for world, correct?

 11   A     Certainly.

 12   Q     Now, if the merchant rates went up in the but-for world

 13   and the benefits to consumers went up even more, the value to

 14   consumers exceeded the increase in merchant fees, your view is

 15   that that would be an improvement in the quality adjusted

 16   price, as you call it, correct?

 17   A     If I understand your hypothetical correctly, yes.

 18   Q     Now, you know that the merchant testimony in this case

 19   has been different from that, don't you, that the merchant

 20   testimony here has been that if the discount rate went up and

 21   benefits to consumers went up even more, that would,

 22   nevertheless, from the merchant's perspective, be a bad thing.

 23                Are you aware of that testimony?

 24   A     I'm aware that some of them have said that.         I don't

 25   believe that I've reviewed all of the merchants testimony on


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  1   that subject.

  2   Q     And the reason that the merchants have come here and

  3   admitted that is because they're looking at only one side of a

  4   two-sided market; isn't that true?

  5   A     Well, certainly the part that they're most concerned

  6   about is their side and their profits, but I think it's

  7   probably inaccurate to say they've looked at only one side of

  8   it.   They have quite a lot of concern about what's going on on

  9   the other side.     I mean, that's why they take credit and

 10   chargecards and that's why they take American Express is

 11   precisely because they're concerned about what's going on on

 12   the other side, but I agree with the statement that at the end

 13   what they're concerned with is their profitability.

 14   Q     And so concerned with their profitability that some of

 15   them have come in here and said "if my rates were to go up in

 16   the but-for world and consumer benefits were to go up even

 17   more, that would still be bad from my perspective," correct?

 18   A     I believe they've said things that implied that.         I don't

 19   recall if someone said exactly that.        I certainly would not be

 20   surprised to learn that some had that opinion.

 21   Q     Well, in the trial transcript I'm reading, Your Honor,

 22   from transcript page 1424 and 1425, this is Mr. Rein from

 23   Wal-Mart.    I'll just read this to you and see if you are

 24   familiar with this.

 25               "Question:    Suppose the cost to Walgreens of


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  1   accepting a credit card went up by 50 basis points in a

  2   particular year, costs you half a percent more of your sales

  3   in that year than it had the year before, do you understand

  4   that assumption?

  5               "Answer:     Yes.

  6               "Question:    But suppose that in the same year, the

  7   value of rewards that credit card customers were getting from

  8   the credit card companies went up 100 basis points, one

  9   percent increase in the value of the rewards.

 10               "Question:    Is that a good thing or a bad thing from

 11   your perspective at Walgreens?

 12               "Answer:     It depends on what they're purchasing.      If

 13   they purchase all sale items, we lose money due to production

 14   costs, logistics costs, payroll costs.         It just depends on

 15   what they purchase.

 16               "Question:    If your cost of acceptance goes up, that

 17   is not something that you want to happen, right?

 18               "Answer:     That is correct.

 19               "Question:    The fact that the rewards value to the

 20   customers have gone up doesn't change the fact that your costs

 21   have gone up, so that is not a good thing for Walgreens,

 22   correct?

 23               "Answer:     Right."

 24               Now, were you familiar with that testimony, sir?

 25   A     I don't recall that testimony.


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  1                MR. CONRATH:    I think just for the record, Your

  2   Honor, if I heard it correctly, counsel misspoke and said

  3   "Wal-Mart" instead of "Walgreens," but just to have a clear

  4   record, I think Mr. Rein is from Walgreens.

  5                MR. CHESLER:    He certainly is and if I said

  6   "Wal-Mart," I apologize, Your Honor.

  7                THE COURT:    That's all right.

  8   A       You said it once and then you said "Walgreens" the second

  9   time.

 10   Q       All those W's confuse me.

 11                So to the extent that Mr. Rein expressed those

 12   views, I understand you say, and I agree with you frankly,

 13   that merchants accept credit cards and whatever they accept

 14   for payment is because of what consumers want and that's on

 15   the other side of the market, but to the extent Mr. Rein

 16   expressed the views about it not being good if his fees went

 17   up even if reward value went up even more, that's because he

 18   was, in that context, primarily focused on his side, correct?

 19   A       Well, actually, I don't fully agree with what you're

 20   saying, but I don't want to be up here arguing with you

 21   because the testimony speaks for itself, but actually the way

 22   the questions were asked, it seemed to me he gave a much

 23   narrower answer because he said there were specific questions

 24   that said 'well, the part about the fees going up, that would

 25   be bad for you' and he said 'yes, that would be,' but that


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  1   actually broke off that part from the rest.           I don't -- I

  2   didn't take away from that that he was offering an overall

  3   assessment of welfare.

  4                 As I said, my assumption as an economist is that had

  5   you asked him about the overall situation, or whoever was

  6   examining, he would have said that, but that was not what I

  7   heard from the testimony you read.

  8   Q     Okay.    Now, you testified that, in your deposition in

  9   this case, that you would expect Discover to be more

 10   successful with its low-cost-to-merchant strategy in the

 11   but-for world, correct?

 12   A     Yes.

 13   Q     And you agree that Discover has significantly lower

 14   relevance rates than Visa and MasterCard, correct?

 15   A     Yes.    Let's just be careful, I mean, because relevance, I

 16   understand, is a broad concept, but it also gets used

 17   different ways in the industry.          So perhaps you could just

 18   tell me what you mean by it just to make sure we're on the

 19   same page.

 20   Q     Well, why don't we look at your deposition page 516.

 21                 Do you have it, sir?

 22   A     Yes, I do.

 23   Q     I'm looking at line 16 of page 516.

 24                 "Question:    Do you agree that Discover has

 25   significantly lower relevance rates than Visa and MasterCard?


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  1                   "Answer:   Yeah.   I don't know if there are any

  2   merchants where that's an exception, but as a broad matter,

  3   yes."

  4                   What did you, if you recall, what did you understand

  5   relevance to be when you gave that answer, sir?

  6   A       So, I don't recall specifically what I was thinking then,

  7   but generally think of relevance as some notion of the overall

  8   charge volume that the merchants can see of people who would

  9   be wanting to use Discover cards.

 10   Q       Okay.

 11   A       But as I said, there are also sometimes a variance of

 12   that, but they're all getting at some notion of the

 13   significance to the merchants of customers wanting to use that

 14   particular network's cards.

 15   Q       Thank you.

 16                   And you also agree that Discover has significantly

 17   lower single-homing rates than Visa or MasterCard, correct?

 18   A       Yes.

 19                   Does it say that?

 20   Q       And single-homing meaning people that use just that one

 21   card?

 22   A       We would have to go back and look in context because

 23   single-homing generally means people using, favoring a

 24   particular card or primarily using it.           The strongest version

 25   of single-homing is you carry only one credit and charge card.


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  1   The term is also used in the industry and in economics

  2   literature sometimes to mean people that it's the card you use

  3   most of the time.     There's a range of concepts, but I'm

  4   guessing that this one in context was talking about the strict

  5   form of single-homing.      Certainly for the strict form of

  6   single-homing it would be a correct statement.

  7   Q     Strict form meaning a person who carries only that card

  8   in her wallet, correct?

  9   A     Yes.

 10   Q     And you also agree that Discover has fewer cards-in-force

 11   than Visa and MasterCard, correct?

 12   A     Yes.

 13   Q     Now, at the same time, Discover is accepted at many more

 14   merchant locations than American Express, correct?

 15   A     Yes.

 16   Q     Discover has more cards-in-force than American Express in

 17   the United States?

 18   A     I -- that's my recollection, but I'll have to check.

 19   Q     Do you recall it's something like 10 million more, 60-odd

 20   million as opposed to 50-odd million?

 21   A     No, I'm afraid I don't, but it's my recollection they

 22   have more cards-in-force.

 23   Q     And although it's accepted at millions more merchant

 24   locations and has some significant number of more

 25   cards-in-force, whatever that is, it has a share of spend


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  1   about one-fifth of American Express's, correct?

  2   A      That's correct, that's my recollection.

  3   Q      And so I take it the math would demonstrate that although

  4   there are more people walking around, apparently, with

  5   Discover cards in their wallets, or at least available to

  6   them, and more merchants where they could use them, they're

  7   spending much less on the cards, correct, than they are on

  8   American Express cards?

  9   A      That's right, American Express has a much higher spend

 10   per card.

 11   Q      And you would infer from that that American Express has

 12   somehow managed to provide a more compelling value proposition

 13   to the people that have its card than Discover has, wouldn't

 14   you?

 15   A      No, I would infer from that that American Express has put

 16   forth a value proposition that appeals to people who purchase

 17   a lot on their cards.     In fact, I think Discover's value

 18   proposition is viewed very favorably by the people who hold

 19   Discover cards, but those people have different

 20   characteristics than the -- you know, on average, I'm sure

 21   there's some overlap, but on average the people who hold

 22   Discover cards have different spend characteristics than the

 23   people who hold American Express cards.

 24   Q      Now, staying just for one more minute with this but-for

 25   world with respect to this case.


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  1                You testified before that it's possible that

  2   merchant fees would go up, right?

  3   A     Following this case, yes.

  4   Q     And in fact, your view is that although they may go up,

  5   that we should just let the chips fall where they may.          Isn't

  6   that your view, sir?

  7   A     If the chips are falling where they may as a result of

  8   increased competition, yes, that is my view.

  9   Q     So if all of the merchants who came in here, merchant

 10   after merchant after merchant, and said "my rates are too

 11   high, they need to come down" and if Mr. Conrath in his

 12   opening said "if we win this case, merchant rates will come

 13   down," and if it turns out that your proposition that they may

 14   go up turns out to be correct that's fine would you?

 15   A     It would depend on why they went up, but if the reason

 16   they went up is competition, that would be fine with me.

 17   There's certainly other reasons that they could go up that I

 18   would say they're not fine with me, by which I mean in

 19   conducting an antitrust non-economic analysis I would find

 20   that there is a problem.

 21   Q     Thank you.    Let me move to a different subject.

 22                You agree, do you not, that many agreements between

 23   vertically-related parties can have procompetitive effects?

 24   A     Yes.

 25   Q     And in fact, a vertical restraint is not necessarily


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  1   anticompetitive simply because it restricts some form of

  2   horizontal competition, correct?

  3   A     Correct.

  4   Q     And in fact, even the most exclusive form of vertical

  5   arrangement and exclusive dealing arrangement where the

  6   parties agree that they're the only ones who will do business

  7   together for a particular service or product can, in fact, be

  8   procompetitive, can it not?

  9   A     In some circumstances, yes.

 10   Q     And exclusive dealing arrangements are explicitly

 11   permitted by the government's decree with Visa and MasterCard

 12   that settled their portion of this case, aren't they?

 13   A     Yes, I believe that's correct.

 14   Q     And by definition, exclusive dealing arrangements have an

 15   impact on horizontal competition, don't they?

 16   A     They can.   They could have effects either direction, yes.

 17   Q     Now, when a vertical restraint has an impact on

 18   horizontal competition, it's often on inter-brand competition,

 19   correct?

 20   A     I'm sorry, inter?

 21   Q     Inter-brand.

 22   A     I mean, the effects of a vertical restraint can be felt

 23   throughout the markets, so yes, the effects can be felt on

 24   inter-brand competition.      I'm not sure -- yes, if you're just

 25   asking about the word "effects" and you don't mean the scope


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  1   of the contract, yes, the effects can be on inter-brand

  2   competition.

  3   Q     Okay, and I think we all understand this, but for clarity

  4   of the record, inter-brand competition is competition between

  5   two distinct brands as compared to intra-brand competition,

  6   which is competition between multiple suppliers of the same

  7   brand, correct?

  8   A     Let me just to clarify.      It might be better if we said

  9   multiple retailers of the same brand because suppliers gets

 10   into the question of whether you're talking about the

 11   manufacturer.

 12   Q     All right.    So let me restate the question.

 13                Inter-brand competition would be illustrated by

 14   competition between different distinct brands of products,

 15   correct?

 16   A     Yes.

 17   Q     And that could take place at a single retailer or

 18   multiple retailers, correct?

 19   A     That's correct.

 20   Q     And intra-brand competition would be competition among

 21   multiple retailers who were selling the same brand, right?

 22   A     Yes.

 23   Q     And would you agree that a vertical restraint can have

 24   beneficial effects on both forms of competition?

 25   A     Yes.


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  1   Q     So if the government has argued to this court that a

  2   vertical restraint can have beneficial effects only when it

  3   restricts intra-brand competition, you would disagree with

  4   that, wouldn't you?

  5   A     I'll have -- I think there can be situations where -- I'm

  6   sorry, I want to make sure I understand something.          This is

  7   where we're getting to the effects versus restrictions.

  8               Can you ask your question again because this is

  9   harping back to the earlier question I had about exactly what

 10   you're asking?     So if you could ask it again.

 11   Q     To the extent that the government has argued to this

 12   Court that a vertical restraint can have beneficial effects

 13   only when it restricts intra-brand competition, you would

 14   disagree with that, wouldn't you?

 15   A     Yeah, I think theoretically it would be possible to have

 16   vertical restraints that might have restriction on some part

 17   of inter-brand.     I mean, I have to think about the theory, but

 18   I think that's possible.

 19   Q     Thank you.    Let me ask you and about an issue that's come

 20   up at the trial concerning the rate complexity in this

 21   marketplace.

 22               Are you aware that a number of parties have come

 23   before the court to seek confidential treatment for merchant

 24   rates that are being paid to the various card networks?

 25   A     I know, yeah, they sought confidential treatment for a


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  1   lot of things and I believe included those.

  2   Q     And it wouldn't surprise you that Discover's president

  3   came here and said that he believed that the particular fees

  4   that it charges to merchants are confidential, competitively

  5   sensitive information, would it?

  6   A     No, that wouldn't surprise me.

  7   Q     Do you, from your observation of the market, do you

  8   agree, Professor, that many merchants are in fact unable to

  9   determine what they're actually paying Visa and MasterCard for

 10   particular transactions presented on particular cards?

 11   A     My understanding is there are merchants that have not

 12   worked to figure that out.      I'm surprised that they say they

 13   literally couldn't do it because I would think they could go

 14   to their acquirers and ask for an accounting of what it is

 15   they're paying, but I'm aware that there are merchants that if

 16   you ask them, they don't know what the number is.

 17   Q     And merchants have testified that when a consumer shows

 18   up at their cash register and hands them a particular card,

 19   Visa or MasterCard, they don't know what the rate there is

 20   that they're going to pay to handle that transaction on that

 21   particular card; you're aware of that, are you not?

 22   A     My recollection is that merchants have said that there

 23   are systems you could do that do that, but that they don't

 24   have them in place.     So in general at the point of sale, they

 25   don't know what the rate's going to be.


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  1   Q     In fact, the testimony was that those systems don't yet

  2   exist in the marketplace, wasn't it?

  3   A     I'm not aware of the testimony here.         I believe I've read

  4   elsewhere that there are ways you could do it, but.

  5   Q     You're familiar with the decree the government entered

  6   into with Visa and MasterCard in connection with this case?

  7   A     You and I spent some time reading through it.         I don't

  8   know if I'd say familiar, but yes, I've seen it.

  9   Q     We spent some time at your deposition, right?

 10   A     Indeed we did.

 11   Q     There's nothing in that decree that requires Visa and

 12   MasterCard to make their fee structures less complex than they

 13   are now, is there?

 14   A     I don't believe there is.

 15   Q     In fact, there's nothing in the decree that would prevent

 16   them from making their fee structures even more complex than

 17   they are now, is there?

 18   A     That's my recollection, yes.

 19   Q     Did you read the testimony of the merchants who testified

 20   from Southwest Airlines and Alaska Airlines?

 21   A     I certainly read portions of it.

 22   Q     Did you note in the testimony of the Southwest Airlines

 23   employee whose name was Mr. Priebe that American Express's

 24   merchant fees at Southwest went up and American Express's

 25   volume of purchase at Southwest went down?


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  1   A     I don't recall that.

  2   Q     Do you recall that the same thing took place at Alaska,

  3   that is the testimony was American Express's rates went up,

  4   American Express volume at Alaska Air went down?

  5   A     No.

  6   Q     Now, one of the things that you and I discussed at your

  7   deposition about the decree, the decree being with Visa and

  8   MasterCard and the government, that you assumed that under the

  9   decree if American Express were to be subject to the same

 10   rules, merchants would be able to steer from American Express

 11   at the point of sale to a lower-cost card assuming that the

 12   merchant could figure out whether it was a lower-cost card,

 13   correct?

 14   A     Yes, if American -- well, if American Express was under

 15   exactly the same decree, yes, American Express with some

 16   merchants would be the able to enter into agreement so that it

 17   wouldn't be possible, but certainly my interpretation of the

 18   decree is that for most merchants, American Express would not

 19   be able to stop that.

 20   Q     And under the decree, Visa and MasterCard can enter into

 21   an agreement to pay a merchant to steer to them, correct?

 22   A     Yes.

 23   Q     I take it you would agree with me, sir, that you can't

 24   get a consumer to be steered to you if the consumer doesn't

 25   have your card, correct?


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  1   A     Yes, I would agree with that.

  2   Q     And you would also agree that the vast majority of

  3   American Express cardholders also have Visa and/or

  4   MasterCards, correct?

  5   A     Yes.

  6   Q     But the vast majority of Visa and/or MasterCard

  7   cardholders do not have American Express cards, correct?

  8   A     I believe that's correct.

  9   Q     So Visa and MasterCard could enter into agreements under

 10   a decree with the government and pay merchants to steer

 11   consumers, for example who show up with their American Express

 12   Card, to steer to Visa and MasterCard, correct?

 13   A     Yes.

 14   Q     Now, if American Express were governed by those rules and

 15   it were to pay merchants to steer to American Express from

 16   Visa or MasterCard, that would only work if the Visa or

 17   MasterCard consumer at the counter actually have an American

 18   Express Card in her wallet, correct?

 19   A     In terms of steering from that to American Express, yes.

 20   Q     And you recall that I also asked you whether in the

 21   but-for world that you considered here, if American Express

 22   found itself in a situation in which it had an accepting

 23   merchant that was actively steering its cardholders,

 24   cardmembers away to a competing card, American Express could

 25   not terminate those relationships and decide to walk away


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  1   rather than have its cardmembers steered; do you recall that?

  2   A     I recall having that general discussion, yes.

  3   Q     And that is your view, is it not?

  4   A     My view is that that's correct, subject to bounds on the

  5   steering that the steering's not taking the form of

  6   disparagement or some sort of mischaracterization, but, you

  7   know, for example if the steering is some form of discount,

  8   yes, my view is they could do it.

  9   Q     And that American Express could not just say 'look, if

 10   that's what you're going to do, I choose not to have you as my

 11   representative, I'm terminating,' American Express could not

 12   do that, correct?

 13   A     In my but-for world, yes.

 14   Q     Now, do you agree that American Express is an important

 15   competitive check on the exercise of market power by

 16   MasterCard and Visa?

 17   A     Yes, that was certainly my opinion at the time of U.S. v.

 18   Visa and it would be my opinion today.

 19   Q     In fact, it's an opinion you stated in one of your

 20   reports in this case, correct?

 21   A     I don't know if I said it this time, but it is my

 22   opinion, so.

 23   Q     Well, let's just for the record make sure we get it

 24   clear.

 25               Defendant's Exhibit 6507, which is your second


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  1   report, it's in Volume 1, your rebuttal report.         At page 78,

  2   paragraph 148 you say:      "Professors Bernheim, Gilbert and

  3   Ordover identify American Express as an important competitive

  4   check on the exercise of market power by MasterCard and Visa

  5   as discussed below.     I agree with them on this point.       Where

  6   we disagree and where I believe their claims are at odds with

  7   the facts is that they believe that merchant restraints

  8   strengthen competition among American Express and rival credit

  9   and chargecard networks."

 10                Correct?

 11   A     Yes.

 12   Q     So is it still your view as expressed there?

 13   A     Yes.

 14   Q     And the fact of that competition from American Express

 15   for Visa and MasterCard has important consumer benefits

 16   associated with it, correct?

 17   A     Yes.   Where here consumers being interpreted I -- well, I

 18   would like to know how you mean consumer, just so I'm clear in

 19   my answer.

 20   Q     I mean you and I, people who carry the card, get rewards,

 21   use the card to buy things at merchants.

 22   A     You mean specifically American Express cardholders?

 23   Q     Yes.   Well, yes.    Let me ask the question again.

 24                Does the fact that American Express presents

 25   significant competition for Visa and MasterCard have important


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  1   consumer benefits, using consumer in the sense that I've just

  2   given to you?

  3   A      Meaning important benefits for American Express

  4   cardholders, I mean, the existence of American Express

  5   certainly generates benefits for American Express cardholders,

  6   yes.

  7   Q      And as we just talked about, most American Express

  8   cardholders are also Visa and MasterCard cardholders, correct?

  9   A      Yes.

 10   Q      And it was concern that the possibility of rendering

 11   American Express less able effectively to compete with Visa

 12   and MasterCard that was a principal motivation for the

 13   exclusionary rules case where you testified on behalf of the

 14   government, correct?

 15   A      Yes.   It was a concern that it was harming the competitor

 16   process and that in that, that harm would manifest through the

 17   effects on American Express and Discover's abilities to

 18   compete.

 19   Q      So it wasn't the case of protecting American Express

 20   there, it was a case of protecting competition, correct?

 21   A      Correct.   Although Visa did not see it that way, I do

 22   believe it was about protecting competition.

 23   Q      And in that case, in U.S. v. Visa, you testified that the

 24   quality of offerings enjoyed by MasterCard and Visa

 25   cardholders was driven to a significant degree by competition


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  1   from American Express and Discover, correct?

  2   A      I don't recall the specific thing, but I hold that view,

  3   yes.

  4   Q      And in fact, you pointed to the fact that Visa had had

  5   meetings, internal meetings, to determine how to improve their

  6   Visa Gold Card because of competition posed by American

  7   Express.

  8               Do you recall that?

  9   A      I don't recall the specific example, but it's certainly

 10   my view that American Express's premium cards have stimulated

 11   efforts by MasterCard and Visa to respond.

 12   Q      And in fact, you noted that MasterCard's group called

 13   Premium Card Strategy Council stated that American Express was

 14   their primary competitive target and similarly that Visa tried

 15   to develop a premium credit and chargecards that were aimed

 16   directly at American Express.

 17               Do you recall that?

 18   A      I don't recall that specifically, but certainly at the

 19   time, American Express was a leader in premium cards and that

 20   Visa and MasterCard were lagging and looked at American

 21   Express as, you know, a place to -- a place to go

 22   metaphorically, I guess.

 23               MR. CHESLER:    Your Honor, I'm about to go to a

 24   somewhat different topic.      Is this a good time?

 25               THE COURT:    Yes, it is.    Let's take our ten minute


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  1   morning break now.

  2               MR. CHESLER:    Thank you, Your Honor.

  3               (Recess taken.)

  4               (Continued on following page.)

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  1                  THE COURT:    Please be seated.

  2                  Mr. Chesler.

  3                  MR. CHESLER:    Your Honor, I still believe I will, as

  4   I said yesterday, finish by the lunch break.           There's some

  5   variance in that estimate, but I'm still -- as far as I can

  6   tell, still on track.

  7                  THE COURT:    Remind the witness you're still under

  8   oath.

  9                  THE WITNESS:    I understand, your Honor.

 10   CROSS-EXAMINATION(CONTINUED)

 11   BY MR. CHESLER:

 12   Q       Dr. Katz, I want to go back quickly on the topics we've

 13   just been discussing recently.         Recall I asked you about

 14   whether Discover increased its rates during the period of the

 15   American Express Recapture Program?

 16   A       Yes.

 17   Q       You're not aware of Discover being cancelled by my

 18   merchants in connection with those rate increases, are you?

 19   A       I'm not aware.      I didn't look into that.    I'm not aware,

 20   one way or the other.

 21   Q       A question about the consent decree we were talking

 22   about.    Remember I asked you about whether Visa and MasterCard

 23   could pay merchants to steer to them; do you recall that?

 24   A       Yes.

 25   Q       It's also the case under the decree that a card network



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  1   is not permitted to pay merchants not to steer away from this,

  2   correct?

  3   A     I thought, in fact, it could do that in limited

  4   circumstances, other -- under the decree, though.          That's

  5   not -- according to my recollection.        I would be happy to look

  6   at the decree, if you would like.

  7   Q     We may come back to that.      You think that you can, in

  8   fact, pay not to have consumers steered away from?

  9   A     I thought in some circumstances, yes.

 10   Q     All right.    We may come back to the decree, and I'll ask

 11   you about that.     One other question on the topics we've

 12   covered already, you talked about -- just before the break,

 13   you talked about the other networks improving their Rewards

 14   Programs; you thought was fair to say that that was in

 15   response to competition presented by American Express.          Do you

 16   recall that?

 17   A     I thought I was saying they worked at having premium

 18   cards and benefits associated with that, specifically,

 19   improving Rewards Programs, but, yes, I recall the discussion

 20   about premium cards.

 21   Q     Premium cards tend to have a higher level of rewards

 22   associated with them, don't they?

 23   A     Yes.

 24   Q     And there are many, many more cardholders with Visa and

 25   MasterCards than there are with American Express Cards,



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  1   correct?

  2   A       Yes.

  3   Q       And to the extent that the competition you were talking

  4   about before the break has caused an overall increase in the

  5   rewards and benefits to the cardholders of those other

  6   networks, those are benefits that are now possessed by many,

  7   many more consumers in the market place than just those that

  8   hold American Express Cards, correct?

  9   A       Yes.

 10   Q       So the topic I want to move to now is something called

 11   tipping.       You're familiar with the concept of tipping, are you

 12   not?

 13   A       Yes, I note it's been used in some slightly different

 14   ways.    It's the same overall concept, but there's a range of

 15   ways it's used.      But, yes, I'm familiar with the overall

 16   concept.

 17   Q       Why don't you describe to the Court what tipping is, as

 18   you're familiar with it.

 19   A       So in markets with network effects, because there's this

 20   benefit of being larger, that it makes you more attractive to

 21   consumers, there can be a tendency that as a network gets

 22   bigger it becomes a reenforcing process.        It gets bigger; it

 23   makes it more attractive, more people want it.         It's then more

 24   attractive still, and then more people want to join it after

 25   that.    So the most extreme form people talk about in economics



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  1   it tipping to a monopoly, where everyone piles on to the same

  2   network.

  3   Q       And the corollary to that, I take it, is that a smaller

  4   network could become smaller still as people pile onto the

  5   dominant network, which would further reduce demand by the

  6   cardholders and further reduce the attractiveness to

  7   merchants, because of network effects?

  8   A       There are circumstances in which that could happen, yes.

  9   Q       And one of the things that you focused on in your

 10   testimony in U.S. V Visa was that you thought one of the

 11   benefits of getting rid of the exclusionary rules, and opening

 12   up issuing banks to American Express and Discover, would be to

 13   lessen the possibility of the market tipping to the dominant

 14   networks, Visa and MasterCard, correct?

 15   A       Something like that sounds familiar, yes.

 16   Q       And one of the things you cited in connection with that

 17   danger was that at the time American Express was about half

 18   and Discover about one-quarter the size of MasterCard,

 19   measured by the charge volume or number of transactions.            Do

 20   you recall using that metric?

 21   A       I'm sorry.   I just didn't hear the last thing.      Do I

 22   recall using --

 23   Q       That metric?

 24   A       I believe I used several metrics, and that was one of

 25   them.



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  1   Q     Let me ask you to look at your direct testimony in the

  2   Visa case, DX733, we looked at before, and in particular page

  3   176, paragraph 313.     Do you have that, sir?

  4   A     Yes.

  5   Q     You can certainly look at the whole paragraph for a

  6   moment before I ask you about it.

  7                MR. CONRATH:   Your Honor, I think this should not be

  8   on the public screen, for the reason I said before.          It's

  9   under the protective order in the prior case.

 10                MR. CHESLER:   I apologize, your Honor.      I should

 11   have said that.

 12   Q     Have you had a chance to look at that, sir?

 13   A     Yes, I have.

 14   Q     So you're talking about some of the things that Professor

 15   Pindyck had said; you were responding to him?

 16   A     Yes.

 17   Q     And you talk about the fact that he asserts network

 18   effects make it difficult for a small system to survive

 19   because of the danger of tipping, and then you have an

 20   indented paragraph about tipping, correct?

 21   A     Yes.

 22   Q     And then toward the bottom of the paragraph, you say that

 23   the value of multi-issuance, multi-issuance, meaning access to

 24   multiple-issuing banks?

 25   A     I'm not sure, because it says -- it's related to that,



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  1   clearly.     The previous sentence, where it talks about duality,

  2   helping MasterCard, I'm wondering what he -- giving issuer,

  3   doing multiple brands, or whether he's talking about a given

  4   network having multiple issuers.       And it says --

  5   multi-issuance is making me think -- because it's talking

  6   about duality.     It's talking about a single bank carrying

  7   multiple brands of cards, is what I believe it's saying.

  8   Q     So a single bank issuing, for example, Visa Cards as well

  9   as American Express Cards?

 10   A     Yes.    And, in particular, Professor Pindyck was talking

 11   about the bank doing MasterCard and Visa.        And I was saying if

 12   that argument is correct for MasterCard and Visa, it would

 13   hold with even more strength, to the argument is correct, for

 14   MasterCard and Discover being issued by the same bank as is

 15   issuing Visa.

 16   Q     Thank you.    In that context you say towards the end that

 17   the value of this multi-issuance for strengthening competition

 18   and preventing a downward spiral, should be even greater for

 19   American Express and Discover, you say American Express is

 20   approximately one-half the size of MasterCard measured by

 21   charge volume or number of transactions, correct?

 22   A     Yes.

 23   Q     Now, at the time -- I think you said before you recall

 24   that America Express' share of spend at that time was about

 25   20 percent, correct?



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  1   A     Yes.

  2   Q     And MasterCard was about 25 percent at the time?

  3   A     Roughly.   That's my recollection, yes.

  4   Q     So when you said here that American Express was

  5   approximately one-half the size of MasterCard, you were

  6   presumably referring to the metric of number of transactions,

  7   correct?

  8   A     That number -- yeah, it looks like there's something

  9   wrong with the sentence, because it would -- it says by charge

 10   volume or number of transactions, and it was not half the size

 11   by charge volume, so there's something wrong with the

 12   sentence.

 13   Q     I was trying to make sure I understood.        You couldn't

 14   have meant American Express was half the size of MasterCard

 15   based on charge volume; it was about four-fifths of the size

 16   at the time, correct?

 17   A     Yes.

 18   Q     So to the extent you were emphasizing that this

 19   multi-issuance would have particular significance for American

 20   Express, given that it was about half the size of MasterCard,

 21   you were presumably referring to the metric of number of

 22   transactions?

 23   A     The half would -- or else the half was a mistake and was

 24   supposed to be a different fraction referring to the volume.

 25   The half does not correctly refer to volume; that's the safe



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  1   statement.

  2   Q     Would you agree with me that as of today American Express

  3   is still much smaller than MasterCard on the basis of number

  4   of transactions?

  5   A     I believe that's correct.      I'd have to look at the

  6   numbers, but if you represent it is, I accept that.

  7   Q     You have no reason to doubt that it still lags way behind

  8   MasterCard on number of transactions?

  9   A     It's a question of way behind, but my recollection is it

 10   has a significantly smaller number of transactions.

 11   Q     Now, you recall co-authoring a paper with an economist by

 12   the name of Carl Shapiro that dealt with systems competition

 13   and network effects?

 14   A     We co-authorized a number of papers on that subject.          We

 15   also have one that has a title close to what you just said.

 16   Q     And Carl Shapiro is an economist who at one time had the

 17   same position that you had at the Antitrust Division of the

 18   Department of Justice, Chief Economist, correct?

 19   A     He had it two times, but yes.

 20   Q     In fact, he had it at the time this lawsuit was filed,

 21   didn't he?

 22   A     I'm not sure -- around then.      I'm not sure the date of

 23   his tenure in that, but around then, yes.

 24   Q     I'd like you to look at Defendant's Exhibit 229, which is

 25   in the second volume.     I think it's the first document in the



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  1   book.    Do you have that, sir?

  2   A       Yes, I do.

  3   Q       And this appears to be an article entitled "Systems

  4   Competition and Market Effect," Michael L. Katz, Carl Shapiro,

  5   from the Journal of Economic Perspective, Spring 1994; is that

  6   right?

  7   A       Yes.

  8   Q       And this is, in fact, one of the papers you've

  9   co-authorized with Professor Shapiro?

 10   A       Yes.

 11                  MR. CHESLER:    Your Honor, I offer DX229.

 12                  MR. CONRATH:    It's an out-of-court statement, but I

 13   don't have an objection to this, your Honor.

 14                  THE COURT:    DX229 is received in evidence.

 15                  (Defendants' Exhibit DX229    was received in

 16   evidence.)

 17                  MR. CHESLER:    Thank you, your Honor.

 18   Q       Would you turn to page 105, please.

 19   A       I'm there.

 20   Q       If you'd look at the paragraph that begins at the bottom

 21   of page 105, you and Professor Shapiro state that in markets

 22   with network effects -- we established this clearly, but just

 23   to be clear, the payment market we're talking about is a

 24   market with network effects, correct?

 25   A       That's correct.



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  1   Q     In markets with network effects, there is natural

  2   tendency toward de facto standardization, which means everyone

  3   using the same system.      Because of the strong positive

  4   feedback elements, systems markets are especially prone to

  5   tipping, which is the tendency of one system to pull away from

  6   its rivals in popularity once it has gained an initial edge.

  7   And then you go on to say tipping has been observed in many

  8   situations, including AM stereo radio, FM versus AM radio,

  9   color versus black-and-white TV; and VHS versus Beta, and

 10   video casette recorder, typewriter keyboards, etcetera.

 11                In the next paragraph you say consumer heterogeneity

 12   and product differentiation tend to limit tipping and sustain

 13   multiple networks.     Do you agree with that statement, sir?

 14   A     Yes.

 15   Q     And would you agree that in the payments industry there

 16   is product differentiation?

 17   A     Yes.

 18   Q     What did you -- what is meant when you say because of the

 19   strong positive feedback elements, systems markets are

 20   especially prone to tipping?       What are positive feedback

 21   elements?

 22   A     That was the process I was describing to the Court; that

 23   network effect, the larger is the system the more benefit it

 24   gives to a user from being part of that system, that then

 25   could attract additional users, and that's in the positive



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  1   feedback because those additional users can then make the

  2   system still more attractive.

  3   Q     Would you also agree that when tipping of a market in

  4   favor of one network in a multi-network market is likely,

  5   exclusive dealing by that same network with individual

  6   customers is more of a concern than if tipping were unlikely?

  7   A     I guess if that's the only difference, yes.

  8   Q     Would you also agree that a firm in a systems market has

  9   strong incentives to build up consumer beliefs about its own

 10   system and to tear down consumer beliefs about rival systems,

 11   in an effort to tip the market in its favor?

 12   A     It certainly can, yes.

 13   Q     And, in fact, you and Professor Shapiro talked about that

 14   situation in your article, did you not?

 15   A     Yes.

 16   Q     And you cited a couple examples of situations, real world

 17   examples, where firms attempted to tear down consumer beliefs

 18   about rivals and build up consumer beliefs about their own

 19   systems, in an effort to tip the market in their favor.           Do

 20   you recall citing some examples of that?

 21   A     I recall citing one example that was in your opening

 22   statement.    We also -- yeah, I recall two.

 23   Q     And the one that I cite in my opening statement was

 24   Visa's campaign of "Everywhere You Want To Be," whereas

 25   merchants don't take American Express, you and Professor



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  1   Shapiro cited that example as an example of this type of

  2   attempt at tipping the market, correct?

  3   A     I misspoke.    Because you made reference, I believe, in

  4   your opening statement to a preference campaign, which this is

  5   not, as I understand the term, but I inferred from that you

  6   were characterizing this example.       But, actually, I shouldn't

  7   put words in your mouth.      My view is the words that came from

  8   your mouth don't match this example.

  9   Q     All right.    Let's see if we can clarify that issue.

 10   There are two different campaigns.       One was "Everywhere You

 11   Want To Be," and the other was "We Prefer Visa," correct?

 12   A     Whether they call them one campaign or another, I don't

 13   know, but, here, we were talking about the particular

 14   advertising of the "We Prefer Visa."

 15   Q     And, in fact, you know, do you not -- let me rephrase.

 16   Do you know that a Mr. Morgan testified -- a former employee

 17   of Visa testified at the trial?

 18   A     Yes.

 19   Q     And he testified about both the "Everywhere You Want To

 20   Be" and the "We Prefer Visa" efforts.        Do you recall that?

 21   A     I don't recall the testimony about the "Everywhere You

 22   Want To Be."

 23   Q     So you don't recall that he, in fact, was shown documents

 24   where Visa tracts the impact on perception of American Express

 25   by consumers, and showed that the "We Prefer Visa" was even



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  1   more impactful on American Express than "Everywhere You Want

  2   To Be"?     You're not aware of that?

  3   A     No.    I wouldn't be surprised, but I'm not aware of it.

  4   Q     Okay.    I won't take the time to show you Mr. Morgan's

  5   testimony, it's already in the record, but I do want to -- I

  6   want to ask you if you're aware of -- did you read the

  7   testimony Mr. Morgan gave about his presentation to the Visa

  8   Board in Cannes?

  9   A     No, I didn't read that testimony.        I did hear that there

 10   was a meeting in Cannes, but I didn't read that testimony.

 11   Q     Okay.    It wouldn't surprise you, would it, Professor,

 12   that Visa focused on the circle, the cycle, of using merchant

 13   fees to fund rewards and other consumer benefits, so as to

 14   make your value proposition to consumer more attractive and

 15   thereby incent them to go to merchants and use your card?           It

 16   wouldn't surprise you that Visa was focusing on that cycle

 17   that takes place in this two-sided market, would it?

 18   A     That's correct; it would not surprise me.

 19   Q     Would it surprise you that Visa focused in particularly

 20   on its strategy of breaking that cycle for American Express by

 21   focusing in on its fund supply for merchant fees?

 22   A     I could imagine Visa doing that.       I don't recall seeing

 23   documents to that, but I can imagine Visa having a strategy

 24   like that.

 25   Q     You understand from your study of the industry that



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  1   American Express began primarily -- didn't begin, but began

  2   its card business primarily as a payment provider for travel

  3   and entertainment merchants and business travelers who use

  4   those merchants?

  5   A     Yes.

  6   Q     That was the niche, the niche in which it started, and

  7   then it expanded over time to groceries, and supermarkets, and

  8   just drugstores and so-called everyday spend?

  9   A     Yes.

 10   Q     So suppose the evidence here showed that Visa was

 11   focussing in on breaking that cycle of American Expresses'

 12   business model in order to push American Express back into

 13   being just a niche provider, as opposed to a broad provider of

 14   payment services across industries, suppose that was what the

 15   evidence showed.     Is it your view that that's procompetitive,

 16   to push American Express back into being just a niche

 17   provider?

 18   A     It would depend on how they did it?        If they did it by

 19   offering superior products that had greater appeal to

 20   cardholders and to merchants, that would be a competitive

 21   response; and that would be good for consumers, where

 22   "consumers" is understood to be merchants and their customers.

 23   Q     And there are ways that they could have gone about doing

 24   it which would be anticompetitive, aren't they?

 25   A     Yes, I would say that the exclusionary rules were one of



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  1   the ways to do that, and I testified to that effect, that it

  2   was to harm American Express and limit its ability to compete.

  3   Q     And if, in fact, there were anticompetitive ways not only

  4   to choke off America Express' access to issuing banks, but to,

  5   in fact, prevent American Express from obtaining funds for

  6   merchant fees to fund its rewards program, that could be

  7   anticompetitive as well, couldn't it?

  8   A     I can't rule it out as a general matter; it would depend

  9   on the specific way they did it.        But I believe, given enough

 10   time, I could come up with a theory in which they were doing

 11   bad things and they were anticompetitive rather than

 12   competition on the merits.

 13   Q     And is it fair to say, sir, that you have not studied the

 14   Visa Preference Campaign that Mr. Morgan was talking about?

 15   A     I'm not sure what, you're saying, the preference campaign

 16   he's talking about.      If you're asking me about "We Prefer

 17   Visa," that campaign, do I consider that to be

 18   anticompetitive, I do not.

 19   Q     My question was is it fair to say that you have not

 20   studied that campaign?

 21   A     I guess there's a question of what you mean by "studied."

 22   I looked at the documents available to me that described the

 23   features.    I've then reported those features in my reports and

 24   reached a conclusion based on those facts.

 25   Q     Did you study the presentation that Mr. Morgan made to



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  1   the Visa Board in Cannes?

  2   A       No.

  3   Q       Did you study Mr. Morgan's testimony about what their

  4   intent was and how they went about it, as delivered in this

  5   case?

  6   A       No, I did not look at evidence of their intent.

  7   Q       Thank you.   Did you study the tracking studies that Visa

  8   undertook to map the effects of their campaign?

  9   A       I certainly saw some evidence of -- the one to know is

 10   whether the campaigns were effective and evidence that, in

 11   fact, there was significant share shift, whether there was a

 12   specific Visa tracking study, I don't recall.          But certainly I

 13   looked at evidence that share was shifted as a result of the

 14   campaign.

 15   Q       Did you read Mr. Hochschild's, from Discover, testimony

 16   that in connection with the we prefer campaign, Visa put

 17   through price increases in its interchange rates and then

 18   offered to reduce those price increases if the merchants would

 19   participate in the Visa preference campaign?

 20                 MR. CONRATH:    Objection.   I believe that misstates

 21   the prior testimony.

 22                 THE WITNESS:    I did --

 23                 MR. CHESLER:    I'm happy to show the witness the

 24   testimony.

 25                 THE COURT:    Why don't you do that.



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  1   Q     Let's look at Defendants' Exhibit 7766, please, which is

  2   in Volume II.     Do you have that exhibit, sir?

  3   A     Yes, I do.

  4   Q     Would you look at page 934, please.        I'm happy to have

  5   you look at any other context, and I'm sure if Counsel wants

  6   me to direct you to others, he will.        Let me ask you to look

  7   at page 934, beginning at line five.        Actually, beginning at

  8   line seven.     I'm asking a question, and I said:

  9               "So this very good example, this very good example

 10   that you cited was a situation in which Visa, if I understood

 11   your testimony, was putting through price increases to

 12   merchants and was saying we will roll back a portion of those

 13   price increases if you agree that you will participate in the

 14   Preferred Visa Campaign, correct?"

 15               Answer:   "Yes."

 16               Question:    "And you're saying that, in your view,

 17   was a good example with the need for nondiscrimination

 18   provisions, because it related to situations in which your

 19   price was actually lower; your merchant price was lower than

 20   Visa's, correct?"

 21               Answer:   "Yes."

 22               So you see that Mr. Hochschild was talking about his

 23   own nondiscrimination provisions in the context of Visa

 24   putting through price increases to merchants and saying that

 25   they would roll back a portion of those price increases if the



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  1   merchant agreed to participate in the We Prefer Visa Campaign?

  2   A     Yes, I had read that testimony.

  3   Q     And do you remember other testimony that some merchants

  4   described this as blackmail?

  5   A     That sounds familiar.      I can't remember if it was in

  6   testimony or deposition, but something to that effect, though.

  7   Q     And is it your view that this kind of tactic by Visa,

  8   with its share of the market and its dominant position of

  9   using rollbacks in price increases, to get merchants to

 10   participate in the We Prefer Visa Campaign was procompetitive?

 11   A     Yes, offering discounts to merchants in order to get them

 12   to express a preference can be procompetitive.          It's

 13   conceivable that taken to an extreme, it could become

 14   exclusionary, but I believe it was procompetitive.

 15   Q     You believe -- and not withstanding the characterization

 16   by merchants it was blackmail, you believe it was

 17   procompetitive, correct?

 18   A     Yes.     As we've established from some of your earlier

 19   questions, my concern is with competition not with the views

 20   of particular merchants.

 21   Q     Right.    And, then, we just let the chips fall where they

 22   may, right?

 23   A     If the chips are falling where they may as a result of

 24   increased competition, yes.

 25   Q     Now, if, in fact, a dominant network is able to tip the



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  1   market through this type of tactic or others, can that be

  2   anticompetitive?

  3   A     There are situations where it could be, yes.

  4   Q     If it, in fact, eliminates the competitive constraints

  5   that are for the good of consumers, as a result of the market

  6   tipping away from the smaller competitor in favor of the

  7   larger competitor, that could have anticompetitive effects in

  8   the market?

  9   A     Yes.

 10   Q     Just assume for purposes of my question -- indulge me for

 11   a moment and assume Visa and MasterCard were able to tip this

 12   market, as you reported with Professor Shapiro that at least

 13   they tried to do at an earlier time --

 14   A     I'm sorry.    I want to make sure you're not using tip now

 15   in -- by tip now you just mean suppose they succeeded in

 16   shifting some share to themselves?

 17   Q     No, I mean tipping in the sense that there is a kind of

 18   run on the market, if you will; there's a tipping that moves

 19   so much share to the dominant network that is successfully

 20   tipping, that it actually diminishes in a material way the

 21   ability of one or more smaller competitors to effectively

 22   compete.     That's a possible consequence of market tipping,

 23   isn't it?

 24   A     Yes.

 25   Q     Suppose that happened, would we be left in that



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  1   situation, effectively, with a duopoly in the payment market?

  2               MR. CO RATH:    I object that this is an incomplete

  3   hypothetical.

  4               THE COURT:    I'll let the witness answer in whatever

  5   way the witness wishes to answer.

  6               THE WITNESS:    No.

  7   Q     You do not believe that we would be left with a duopoly?

  8   A     If I understand your hypothetical correctly that American

  9   Express and Discover would remain as competitors, so by

 10   definition it wouldn't be a duopoly.

 11   Q     In order for it to be duopoly, they would have be to be

 12   entirely eliminated as competitors American Express, they,

 13   meaning American Express and Discover?

 14   A     Duopoly means there are two suppliers.

 15   Q     You can have a monopoly in a market in which there are

 16   other competitors, correct?

 17   A     The term is -- the economist using the term precisely

 18   would say, no, a monopoly as you are the only supplier.           We

 19   can talk about situations where somebody has monopoly power

 20   and act like a monopolist, as a shorthand, so it depends on

 21   how you mean it.     If you're asking me the question -- of what

 22   your hypothetical is saying is we have two firms that are

 23   stronger than others, and as part of your hypothetical the

 24   other two were made weaker and that's diminished competition,

 25   I'd certainly agree with that.



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  1   Q     Let's see if we can get on a common footing here.          Are

  2   you aware of situations in which companies have been found to

  3   have monopoly power but the company is not the only competitor

  4   in the defined market?

  5   A     Yes, just the same.     The term is used that way.

  6   Q     Can you similarly conceive of situations in which two

  7   firms are deemed to have duopoly power, but that doesn't mean

  8   that there aren't some other competitors left in the market?

  9   A     Yeah, I'm not familiar with the term being used that way,

 10   but sure.

 11   Q     If there were such a situation here, that is, where

 12   American Express and Discover were left in the market but in

 13   an effectively diminished -- substantially diminished capacity

 14   as a result of tipping, would you expect the prices charged by

 15   Visa and MasterCard to merchants to go up or down?

 16   A     I would expect the networks overall to keep more -- the

 17   money for themselves.      As a result of the harm to competition,

 18   I would have to think about what it would mean for the fees to

 19   networks, because, as I testified in U.S. V Visa, which is, in

 20   some sense is the flip side of what you and I are talking

 21   about, that it would be quite possible that increased

 22   competition from American Express would raise interchange

 23   rates; and, therefore, it logically follows a decreased

 24   competition from American Express to lower interchange rates.

 25   However, I think it would also be a harm to competition



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  1   because the networks themselves would be keeping more money.

  2   And, generally, the fact that this change was brought about by

  3   a harm to competition would be a bad thing.

  4   Q     Okay.

  5                 THE COURT:    You know, I don't have any problem with

  6   these scenarios, but there are so many other factors.           You

  7   know, where is Senator Durbin in all this.          You know, if you

  8   have these kinds of seismic changes in the market place and

  9   whether there would be some effort on the part of government

 10   to influence the availability of -- or protect the rights of

 11   consumers in this process?        We just don't know.    He came

 12   riding up with the Durbin Amendment, and we are dealing with

 13   that here, to some degree.        So I'm little concerned that

 14   while, you know, you're discussing factors that may actually

 15   play out some day, I don't know, there may be other factors

 16   that we're not even putting into the mix that could influence,

 17   you know, where the market goes in the future.

 18                 So I just mention to you that anyone whose been

 19   involved in how the government jumps into a situation, where

 20   it has commerce clause power, I don't think that -- whatever

 21   scenario you construct here, it's -- it's going to provide me

 22   with a global understanding of what might happen.          So I just

 23   point that out to you so there be no mistake that -- I think

 24   it's a more sophisticated exercise than just dealing with the

 25   current players.     But go ahead.



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  1                  MR. CHESLER:   Thank you, your Honor.    I appreciate

  2   that.

  3   Q       Let me turn inform a subject that you mentioned on

  4   direct, freeriding.      Do you remember talking about that?

  5   A       Yes, I do.

  6   Q       And I think you defined freeriding as a situation where

  7   somebody undertakes a costly action, and then somebody else

  8   benefits from that action without having to pay for it,

  9   correct?

 10   A       Yes.

 11   Q       And you testified yesterday, in substance -- you tell me

 12   if I've correctly or incorrectly summarized this -- that you

 13   did not think that merchants can freeride on America Express'

 14   rewards because American Express incurred the liability for

 15   that reward only when the card member actually uses his or her

 16   card at the merchant, right?

 17   A       Well, I guess I would agree with that part of the

 18   statement, but what I said was that when the cardholder uses

 19   the rewards card at a merchant, the merchant then has to make

 20   a payment to American Express and so that it's not freeriding.

 21   Q       And if the cardholder is steered to a different card, the

 22   cardholder doesn't make a payment to American Express, right?

 23   A       Well, the cardholder doesn't make a payment to American

 24   Express.

 25   Q       I misspoke.   If the cardholder is steered to a different



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  1   card, then the merchant doesn't make a payment to American

  2   Express?

  3   A     That's correct.

  4   Q     Now, isn't is true, sir, that American Express incurred

  5   certain expenses to provide customer service, marketing

  6   innovating in its consumer programs which are incurred whether

  7   or not a particular consumer uses her American Express Card to

  8   complete a particular transaction?

  9   A     Yes.

 10   Q     And to the extent that any or all of those fixed costs

 11   are incurred as an incentive to get the consumer to use her

 12   American Express Card, and she is steered by the merchant to

 13   use a different card, don't you agree that in that instance

 14   the merchant is freeriding on America Express' fixed

 15   investments?

 16   A     No.

 17   Q     And if, in fact, the consumer was brought into that store

 18   because the store identified itself as an accepting American

 19   Express merchant and she came in with the intent to make a

 20   purchase, perhaps higher than average purchase for that

 21   merchant with her American Express Card, and is then steered

 22   to Visa, you also think that is not freeriding, correct?

 23   A     Yes, for a different reason.       But, yes.

 24   Q     Let me go to a different subject.        I think we've

 25   established that there are several million merchant locations



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  1   in the United States that accept Visa and MasterCard and not

  2   American Express Cards, correct?

  3   A     Yes.

  4   Q     And I think there's some -- I asked you at your

  5   deposition whether you thought that that number was on the

  6   order of 3 or 4 million locations, and you agreed with that.

  7   You still think that's a fair estimate?

  8   A     Yes.    I think you asked me earlier today, and I said --

  9   the same question.     Or you asked me about 3 million and that

 10   seems about right, yes.

 11   Q     I think I asked that in the context of Discover but I'm

 12   asking now --

 13   A     Discover's quite close.      In any case, yes, that sounds

 14   about right.

 15   Q     Okay.    Now, as a result of the Consent Decree between the

 16   government, and Visa and MasterCard, at those 3 or 4 million

 17   merchants locations, whatever the number is, those are

 18   merchants that are not subject to the previous non-steering or

 19   nondiscrimination provisions of Visa and MasterCard, correct?

 20   A     That's correct.

 21   Q     Now, many of those merchants also accept Discover, right?

 22   A     Yes.

 23   Q     And so they may or may not be subject to Discover's

 24   provisions, correct?

 25   A     That's correct.



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  1   Q      But, in any event, they're not subject to America

  2   Express' provisions because American Express is not accepted

  3   at those merchants?

  4   A      Yes, by definition.

  5   Q      Now, at your deposition, I asked you about Discover's

  6   nondiscrimination rules, and you pointed out that you thought

  7   that a witness from Discover had said that its rules were

  8   different, and they were in force in a different way from

  9   America Express'.        Do you recall that?

 10   A      I recall the general discussion, yes.

 11   Q      And you also said that when you had read the rules

 12   yourself, you thought that the rules were consistent with that

 13   witness' testimony, that the Discover rules were different

 14   from the American Express rules.        Do you recall that?

 15   A      No, I don't.

 16   Q      Okay.    Let me ask you to look at your deposition, page

 17   329.   So this would be in Volume I.       I think it's the second

 18   day of your deposition.        Do you have it, sir?

 19   A      Yes, I do.

 20   Q      So beginning at line three I ask, "Oh, so --"

 21   A      I'm sorry.    Maybe I misheard you.     I didn't hear the page

 22   number.

 23   Q      329.

 24   A      Sorry.    Okay.    I'm now on page 329.

 25   Q      Beginning at line three, I ask, "Oh, so you did read them



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  1   trying to determine whether they, in your view, were different

  2   from what he said they were?"       I'm referring there, "them" as

  3   Discover's rules, and "he" is the Discover witness who turns

  4   out to be Mr. Hochschild.       And you said, "Yes."     Then I said,

  5   "Okay.    And you concluded they were consistent with what he

  6   said?"    "Yes."

  7                Question:   "So then you believe, having read the

  8   rules, that they are different from America Express' rules?"

  9                Answer:   "Yes.   I just want to be clear that that's

 10   not what I believe you asked me before, so if I misunderstood

 11   your earlier question, I apologize.        But I believe you asked

 12   me a question about reading them, holding aside whatever the

 13   witness said."

 14                And then I said, "All right.      In any event, you read

 15   them, and your view, having read the rules, is they are

 16   different from America Express' rules."         There was an

 17   objection.    And then you said, "As I've said, the Discover

 18   witness said that the rules were different, and they were in

 19   force in a different way.       When I read the rules, I thought it

 20   was consistent with the witness' testimony.         Some of the

 21   testimony is not about what's in the four corners of the

 22   contract, it has to do -- well, arguably, I guess, everything

 23   is in it, but it's about how he testified Discover interprets

 24   its rules and enforces them."

 25                Do you believe that the actual text of the Discover



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  1   rules show that they're different from America Express', that

  2   they're enforced in a different way?

  3   A     I don't recall specifically what the rules say, but from

  4   reading my deposition testimony, I don't believe that my view

  5   about their enforcement was based on the rules themselves, but

  6   instead it was based on Mr. Hochschild's deposition testimony.

  7   Q     Okay.   Do you have an understanding of whether Discover

  8   is enforcing its nondiscrimination rules at the 3 or 4 million

  9   merchant locations that today accept Discover, Visa,

 10   MasterCard but not American Express?

 11   A     I believe it was testified to at trial that they

 12   haven't -- I have to be careful about using the word

 13   "enforcement."     That they haven't brought an action against

 14   anybody, if I'm remembering correctly, but I think they're

 15   enforcing the rule, if they have it, but -- that's my belief.

 16   But I can't -- as I sit here, I'm not sure I saw something

 17   saying specifically whether they're enforcing the rule or not.

 18   Q     Do you think that Discover, a merchant which accepts

 19   Visa, MasterCard and Discover but not American Express, that

 20   Discover can effectively enforce its nondiscrimination rules

 21   to prevent the merchant from steering?

 22   A     It would depend on the circumstance.        In particular,

 23   circumstances where we have Discover, Visa and MasterCard

 24   pricing close together, yes, that the merchants will agree to

 25   the rules.    Now, if the merchant had some strong reason to



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  1   steer, it's my testimony that, then, it would be difficult for

  2   Discover to maintain its rule.

  3   Q      And why would it be difficult for Discover to maintain

  4   its rule?

  5   A      Because of its -- the small share it has with the

  6   merchants, relative to the other ones, that if someone wanted

  7   to steer, say, between MasterCard or Visa because there was a

  8   significant difference between the two, that -- the potential

  9   of benefits of steering would be large relative to the costs

 10   that would be incurred by no longer accepting Discover.

 11   Q      So it would be a function of the small share that

 12   Discover has at a particular merchant?

 13   A      Relative to the shares of the networks between which the

 14   merchant was seeking to steer, yes.

 15   Q      And in many merchants, Discover has like a single-digit

 16   share of the spend of the merchant, correct?

 17   A      Yes.

 18   Q      And that's true of American Express, isn't it; aren't

 19   there many, many merchants, particularly in the everyday spend

 20   category, where American Express' share of spend is low single

 21   digits?

 22   A      I would -- could well be, especially by merchant count,

 23   yes.

 24   Q      And so by force of logic, wouldn't you agree that if

 25   Discover was unable to enforce its steering rules at that



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  1   those merchants, American Express would similarly be unable to

  2   enforce its steering rules where it had 3, 4, 5 percent of

  3   spend?

  4   A     In the presence of large differentials, in the rates, it

  5   gave the merchants incentive to steer otherwise, yes.

  6               THE COURT:    Are we going to have testimony on your

  7   case about how American Express enforces its

  8   antidiscrimination provision with small merchants?

  9               MR. CHESLER:    I believe so, your Honor.      I think

 10   there's been some --

 11               THE COURT:    There's been some.

 12               MR. CHESLER:    -- already.

 13               THE COURT:    But more focused.     Since you raised that

 14   issue with this witness, I'd like to know more about it.

 15               MR. CHESLER:    Thank you, your Honor.      We'll

 16   certainly do that.

 17   Q     Have you done any study of the number of merchants at

 18   which American Express has, in fact, a single-digit share, as

 19   compared to much larger shares by Visa and MasterCard of the

 20   spend?

 21   A     I don't believe I have.

 22   Q     Now, you agree, do you not, that merchant resistance

 23   could be expected to induce the Discover network to drop its

 24   restrictions on steering and discounts if America Express'

 25   merchant restraints were no longer in effect?



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  1   A     Yes, it certainly could happen.

  2   Q     And at the 3 or 4 million merchant locations that don't

  3   accept American Express, America Express' provisions are not

  4   in effect by definition, correct?

  5   A     Yes.

  6   Q     Now, you're not aware of any evidence, are you, to

  7   suggest that in the year since the Consent Decree went into

  8   effect, Discover has experienced any significant level of

  9   cancellations at the merchants that accept its card, as well

 10   as Visa and MasterCard, but not American Express?

 11   A     That's correct; I'm not aware of the evidence.

 12   Q     Are you aware, sir, that when the government entered into

 13   its Consent Decree with Visa and MasterCard, it filed

 14   Competitive Impact Statement with this Court?

 15   A     Yes.

 16   Q     And have you reviewed that at some point?         Have you read

 17   it?

 18   A     I believe I've read some of the paragraphs.         I don't

 19   think I've read the whole thing.

 20   Q     Are you familiar with the statement in the Competitive

 21   Impact Statement that merchants that currently accept only

 22   Visa, or MasterCard or both will benefit immediately from the

 23   final judgment by having the freedom to encourage their

 24   customers to choose the merchant's preferred method of

 25   payment?



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  1   A      I don't recall reading that.

  2   Q      May I ask you to look at Defendants' Exhibit 7580,

  3   please.    It's in Volume II.     Do you have that?

  4   A      Yes, I do.

  5   Q      You see this is the Competitive Impact Statement filed by

  6   the United States --

  7   A      Yes.

  8   Q      -- in this case?

  9   A      Yes.

 10   Q      Would you turn to page 14, please?       You see the paragraph

 11   at the top of page 14 starts with the sentence I just read to

 12   you.   Merchants that currently accept only Visa, or MasterCard

 13   or both will benefit immediately from the final judgment by

 14   having the freedom to encourage their customers to choose the

 15   merchant's preferred method of payment.         And it goes on to

 16   talk about several new options that would be available to

 17   accomplish this.     Do you see that, sir?

 18   A      Yes.

 19   Q      And, in fact, the government held a press conference on

 20   the day that it announced the settlement, did it not?

 21   A      I would expect that they did.

 22   Q      And made a similar statement, then, that the 4 million

 23   merchants across the U.S. that only accept MasterCard and

 24   Visa, that their customers should begin to seek immediate

 25   results because immediately the restrictions are lifted on



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  1   those merchants to begin to compete for those consumer

  2   dollars?

  3   A     I believe, your now current partner, I saw something to

  4   the effect that she said that.       I was shown separately from

  5   the press conference, but that sounds familiar.

  6   Q     This was then Assistant Attorney General Varney?

  7   A     Yes.

  8   Q     Now, in fact, Discover's president testified that at

  9   those merchants, as far as he knows, the merchant fees have

 10   increased since the Consent Decree went into effect?

 11   A     I don't recall his testimony on that.

 12   Q     Does it surprise you that that would be the case?

 13   A     No.

 14   Q     Now, you address some proposed explanations for why the

 15   immediate effects that the government predicted have not come

 16   about.    Do you recall doing that in your report, your

 17   surrebuttal report?

 18   A     I recall talking about reasons that, when you look at

 19   merchants that don't take American Express, why you would see

 20   what you see.     I don't recall whether I addressed specifically

 21   what's here, which is talking about merchants that take Visa

 22   and MasterCard and nothing else, but their arguments would be

 23   relevant to that.

 24   Q     So let me ask you to look at Defendants' Exhibit 6540,

 25   which is your surrebuttal report.        That's in Volume I,



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  1   beginning at paragraph 551.       I believe that's page 313.

  2   A     Yes.

  3   Q     And you have a heading there.       It says "Merchants that

  4   don't accept American Express today."        Do you see that?

  5   A     Yes.

  6   Q     And you talk about, in 551, Dr. Gilbert, Richard Gilbert,

  7   observing that many merchants accept Discover, MasterCard and

  8   Visa but do not offer discounts; and that Dr. Bernheim makes a

  9   related argument, and, specifically, he asserts that the

 10   merchant restraints must not be anticompetitive because

 11   merchants that do not accept American Express Cards have not

 12   received systematic reductions in interchange fees, following

 13   the Consent Decree entered into by MasterCard and Visa.           And

 14   you then say there were several reasons why Dr. Bernheim's and

 15   Gilbert's arguments are unpersuasive and invalid, correct?

 16   A     Yes.

 17   Q     And you then go on to recite what those arguments are?

 18   A     Yes.

 19   Q     So one argument which you assert in paragraph 552 is that

 20   it is not clear to which networks Doctors Bernheim and Gilbert

 21   believe steering should occur.       Weighted by charge volume,

 22   American Express, generally, but not always is the highest

 23   cost network, while other networks tend to be comparably

 24   priced; hence, the merchant generally has much less incentive

 25   to engage in steering if American Express is not one of the



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  1   credit and charge card networks that the merchant accepts.

  2                That's the argument you made there?

  3   A     Yes.

  4   Q     Now, if one of the cards of the three that the merchant

  5   accepts is cheaper to the merchant than the other two, would

  6   you agree that the merchant had the opportunity to save money

  7   if it steers to whatever that cheapest card is of that

  8   merchant?

  9   A     It would depend on the cost of steering, but there's a

 10   potential benefit from the steering if one is cheaper than the

 11   other and the steering is successful.

 12   Q     And it's not your opinion that merchants are satisfied

 13   with the rates that they're currently paying to Visa,

 14   MasterCard, Discover today, right?

 15   A     That's correct.

 16   Q     So, in fact, if merchants are not satisfied with the

 17   current rates and they were free to steer because American

 18   Express is not present at that merchant, then they would have

 19   an incentive to steer, in an effort to cause a lowering of the

 20   rates by one or more of the networks whose cards they accept,

 21   right?

 22   A     That would depend on the merchant.        If you're a small

 23   merchant, MasterCard and Visa do not bargain with you; they

 24   literally represent the -- my understanding is they literally

 25   won't talk to you if you're a small merchant.          So, in fact,



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  1   you can't engage in bargaining and you can't say to a network,

  2   well, if you don't lower your price, we're going to steer to

  3   somebody else, so it would depend on the merchant involved.

  4   Q     And there's nothing in your but-for world that says that

  5   Visa and MasterCard networks would have to talk to the

  6   merchants then, just as they're not talking to them now?

  7   A     To the small ones, yes, that's correct.

  8   Q     The small ones, as we discussed before, $500,000 or less,

  9   that's 98 percent of America Express' current merchants,

 10   right?

 11   A     That's what you had said earlier, and I'll accept that

 12   representation.

 13   Q     And do you agree that even where the networks have their

 14   prices fairly closely clustered together, Visa, MasterCard and

 15   Discover, that merchants could use steering to get competition

 16   moving, and that would be of a benefit?

 17   A     Again, it would depend on the merchant, whether an

 18   individual merchant would have the ability to do that.           If

 19   you're talking about a large merchant that's engaged in

 20   individual bargaining, then it's a possibility.          If you're

 21   talking about a small merchant that just takes the prices

 22   given, that individual merchant, essentially, has very little,

 23   if anything, that it can do.

 24   Q     So for all of those merchants, then, steering would have

 25   no benefit; is that your testimony?



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  1   A     No, if it were allowed completely and -- one of the

  2   things we have to add into this, if you're thinking about

  3   having a network initiative, at this point, applying it to

  4   small merchants, my understanding is that Visa, MasterCard and

  5   Discover would not know which merchants take American Express

  6   and which don't, so it would be hard-pressed to figure out

  7   where their initiative applied.       So that's a situation that

  8   would change.     If no one had the rule, then you would always

  9   know that you had the initiative, that steering could be

 10   possible; and that would then change a network's incentive to

 11   engage in practices that could lower prices, for example, that

 12   could then create incentives for steering.

 13   Q     If Visa and MasterCard know that a particular merchant

 14   doesn't accept American Express and, therefore, that that

 15   merchant is not subject to America Express' provisions, and

 16   Visa and MasterCard have agreed not to enforce their

 17   provisions, does Visa -- do Visa and MasterCard have any

 18   incentive to lower their rates to that merchant?

 19   A     We're talking about a large merchant or small one?

 20   Q     I didn't qualify it by size.

 21   A     Okay.   If it's a small merchant, I think they would have

 22   very little incentive.

 23   Q     That's true now, and it would be true in your but-for

 24   world, correct?

 25   A     At the level thinking about an individual merchant, yes.



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  1   Q     Do you know how much purchase volume is represented by

  2   the 3 or 4 million merchant locations that accept Visa,

  3   MasterCard and, perhaps, Discover but not American Express?

  4   A     No.

  5   Q     Have you made any effort to determine how much it is?

  6   A     I don't believe I have.

  7   Q     If I told you that it could be as much as 3- to

  8   $400 billion every year, would that surprise you?

  9   A     No.

 10   Q     You mentioned Australia briefly in your testimony, if

 11   it's 3- or $400 billion a year of spend volume that the

 12   merchants that don't accept American Express, do you know

 13   that's about the size of the Australian economy?

 14   A     No, I don't know that, but I'll accept your reputation.

 15   Q     Can the networks -- meaning Visa and MasterCard, could

 16   they simply publish different rates for merchants that do

 17   accept American Express and merchants that don't?

 18   A     If you're asking do they have the technical ability to do

 19   it, yes; that's something I have thought about and wonder what

 20   the reaction would be in terms of potential antitrust action,

 21   but I believe they could do it.       Certainly have the ability to

 22   do it physically.

 23   Q     So to your knowledge they aren't done that with respect

 24   to the merchants in the post-Consent Decree world who don't

 25   accept American Express, have they?



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  1   A     I don't believe that they have identified separate rates

  2   for merchants that do and don't accept American Express.

  3   Q     You also said in paragraph 554 of your surrebuttal report

  4   that there may be a lack of steering of merchants that do not

  5   accept American Express today, because these merchants are

  6   slow to adapt to changes and/or want other merchants to test

  7   the waters.    Do you see that, sir?

  8   A     Yes.

  9   Q     The decree's been in effect for more than three years,

 10   right?

 11   A     I guess at this point that's correct.

 12   Q     And you've testified that a period of at least a year

 13   should be a sufficient amount of time to see changes resulting

 14   from the removal of restrictions on steering, if such steering

 15   were going to occur, haven't you?

 16   A     I don't recall saying that, but I expect to see some

 17   merchants do some steering over that time period, if there

 18   were significant incentives to do so.

 19   Q     And, in fact, in connection with the Durbin Amendment,

 20   haven't you testified that not observing steering after a

 21   period of a year or longer suggests that it's not going to

 22   take place?

 23   A     I certainly thought that there wasn't steering during

 24   that period; that right now is confirming the fact that that's

 25   different to steer that way, yes.



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  1   Q     When you read Mr. Hochschild's testimony, did you read

  2   his testimony about forming a task force to look at the

  3   hundred largest merchants?

  4   A     I remember parts in his testimony, things where he talked

  5   about reaching out to large merchants.         I'm not sure I

  6   remember the specific task force you're talking about.

  7   Q     I'll leave that, because it's in the record.

  8                I think you said this before.      I just want to

  9   confirm it.     You're aware, with respect to the large

 10   merchants, American Express, in fact, negotiates its

 11   acceptance agreements?

 12   A     Yes.

 13   Q     Including customizing, in many instances, the

 14   nondiscrimination provisions?

 15   A     I think we may run into question of terminology or what

 16   the scope of what you call the nondiscrimination provisions, I

 17   was calling them merchant restraints, and now have been

 18   calling to be neutral.      I started -- forgot what I started

 19   calling them.     But I'm not sure -- I'd have to see where the

 20   particular parts are.      I'm aware that American Express

 21   negotiates various things, allowing steering with co-brands.

 22   I just can't remember if that's within the four corners of the

 23   text that the complaint identifies as the rules.          But I am

 24   certainly aware that there are forms of steering that American

 25   Express allows.



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  1   Q     With respect to the government statement to the Court in

  2   its Competitive Impact Statement and the statement at the

  3   press conference that consumers would see immediate benefits

  4   at the 3- or 4 million merchant locations that do not accept

  5   American Express Cards, that has turned out to be inaccurate,

  6   hasn't it?

  7   A     One thing, the statement -- the one thing you showed me,

  8   actually, did not say -- it says the ones that accept -- only

  9   Visa and MasterCard or both, which I believe is, actually, a

 10   few hundred thousand merchants.

 11   Q     Are you aware of any immediate impact for consumers at

 12   those merchants since the Consent Decree went into effect?

 13   A     No.

 14   Q     And, in fact, what Assistant Attorney General Varney said

 15   at the press conference, she referred to 4 million merchants

 16   that were going to see immediate effects?

 17   A     I don't recall, but if that's what you say she said,

 18   obviously I have no reason to doubt that.

 19                THE COURT:    She's your partner.

 20                MR. CHESLER:    Indeed, she is, your Honor.      She

 21   became partner of our law firm when she left government

 22   service.

 23                THE COURT:    Did you ask her?

 24                MR. CHESLER:    I'm not allowed to speak to her about

 25   this case, your Honor.



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  1                THE COURT:    Good thing.

  2                MR. CHESLER:    Literally not allowed.

  3                THE COURT:    Yes, I understand.    Just checking.

  4                MR. CHESLER:    Is Mr. Gold here?     I need my counsel.

  5   Q     Assuming she referred to 4 million merchants, where there

  6   would be immediate benefits for consumers, that would have to

  7   include the merchants that accept Discover as well as Visa and

  8   MasterCard but not American Express?

  9   A     I would think so.

 10   Q     So with respect to that statement, the immediate effects

 11   that were predicted, so far as you know, have not occurred; is

 12   that fair?

 13   A     That's correct.

 14                MR. CHESLER:    Two other things, your Honor, and then

 15   I'll be done.

 16                THE COURT:    Okay.

 17                MR. CHESLER:    Do we have a copy of the decree that I

 18   can show the witness?       Is it in the book.     It's in the binder.

 19   Q     DX5828, please.

 20   A     This is in Volume II.

 21   Q     It's in Volume II.      5828.   Do you have that?

 22   A     Yes, I do.

 23   Q     All right.    I'd like you to turn to Section Capital B,

 24   which begins on page seven.

 25   A     I'm there.



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  1   Q     And just for context, on page 5, theres a Roman Numeral

  2   VI called "Prohibited Conduct" that as a Section Capital A

  3   that begins on 5 and runs over to the top of page 7.           And then

  4   Section Capital B begins.       Do you see that, sir?

  5   A     Yes.

  6   Q     Okay.    So Capital B says subject to compliance with the

  7   antitrust laws that Dodd Frank Wall Street Reform and Consumer

  8   Protection Act of 2010 and any other applicable state or

  9   federal law, nothing in this final judgment shall prohibit

 10   MasterCard or Visa from -- and then there are numbered

 11   paragraphs which explain what they're not prohibited from

 12   doing, correct?

 13   A     That is correct.

 14   Q     All right.    So let's go down to subparagraph three.        So

 15   nothing in the judgment shall prohibit them from -- paragraph

 16   three -- enforcing existing agreements or entering into

 17   agreements pursuant to which a merchant agrees -- and then

 18   little sub (i), that it will encourage customers through

 19   practices enumerated in other sections of the judgment to use

 20   general purpose cards bearing the defendant's brand as payment

 21   for goods and services.      So let's stop there.

 22                 So with would you agree that nothing in the judgment

 23   prohibits MasterCard or Visa from enforcing agreements or

 24   entering into agreements in which the merchant agrees that it

 25   will steer customers to them, to Visa and MasterCard?



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  1   A       Yes, subject to the rest of the paragraph, but, yes,

  2   that's what the first part says.

  3   Q       Okay.   And, then, sub (i)(2) says nothing in the judgment

  4   shall prohibit MasterCard or Visa from enforcing existing

  5   agreements or entering into agreements, pursuant to which a

  6   merchant agrees that it will not use one or more practices

  7   enumerated elsewhere in the judgment, to encourage customers

  8   to use general purpose cards bearing any other person's brand

  9   as payments -- payment for good and service.         And then there

 10   are some provisos, right?

 11   A       Yes.

 12   Q       What is your understanding of sub (2)(i)?

 13   A       That in the circumstances that -- it's looking at things

 14   as a pair; that, one, is saying here are the things you can do

 15   to encourage the use.      And, then, two is saying and that when

 16   you're doing that, you can also have as part of the agreement

 17   that you won't do those things to steer to another brand,

 18   subject to the later proviso.

 19   Q       Okay.   So do you have an understanding of whether Visa

 20   and MasterCard can pay merchants not to steer away from them,

 21   as opposed to paying a merchant to steer to them?

 22   A       On a limited -- I thought they have this thing -- they

 23   have some part talking about some steering to them and some

 24   away.    I guess in the extreme form, yes, it would suggest that

 25   they could have payments not to steer away from them on the



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  1   limited basis identified by the rest, yes.

  2   Q     And not otherwise?

  3   A     I'm sorry?

  4   Q     And not otherwise, other than the limited basis that's

  5   stated here?

  6   A     I -- well, this basis states what the limit is on how

  7   much they're allowed to do it, subject to that limit.

  8   Q     Okay.    Just ask you quickly about Australia, because it

  9   came up, I think, in colloquy with the Court yesterday.

 10                 Australia is a situation where the national bank,

 11   the reserve bank, issued regulations relating to merchant

 12   surcharging, correct?

 13   A     That's correct.

 14   Q     So it was not an antitrust enforcement case by their

 15   antitrust division, if there is one, it was a government

 16   regulation that instituted merchant surcharging there,

 17   correct?

 18   A     That's right.     The antitrust would have been the ACCC,

 19   which, I think, commented in the proceeding, but it was a

 20   regulatory proceeding.

 21   Q     Now, are you familiar a report that was issued by the

 22   United States GAO, the Government Accountability Office, that

 23   looked at and made comments about the reserve Bank of

 24   Australia regulations?

 25   A     I don't recall that.      I may have seen it, but as I sit



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  1   here, I don't recall that.

  2   Q     Let me ask you to look at Defendants' Exhibit 3994.

  3                 MR. CHESLER:    This one, your Honor, was not in the

  4   book because we didn't anticipate this question coming up.

  5   We're going to hand it up.

  6                 THE WITNESS:    You can answer for me.    Thank you.

  7   Q     3994?

  8   A     Yes.

  9   Q     You recognize this as a report of the GAO on credit and

 10   debit cards?

 11   A     Yes.

 12   Q     It's dated, apparently, May 2008 in the upper left-hand

 13   corner.    Do you see that?

 14   A     Yes.

 15   Q     Let me ask you to --

 16                 MR. CHESLER:    Just need to find the reference,

 17   your Honor.     Just give me a moment.     I'm sorry, your Honor,

 18   can we just have a moment?

 19                 THE COURT:    That's fine.   You're doing pretty good.

 20                 MR. CHESLER:    Thank you.

 21                         (Pause in proceedings.)

 22                 THE WITNESS:    I guess you're going to be looking in

 23   the 30s.

 24                 MR. CHESLER:    Sorry, your Honor, it should be 7202.

 25   I apologize, your Honor, turns out there were two GAO reports,



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  1   both in May of 2008.        Got the wrong one.

  2                 THE WITNESS:    I have two copies of -- certainly from

  3   the cover page and the numbering, they appear to be the same

  4   report because they're both GAO08558.

  5                 MR. CHESLER:    May I approach the witness,

  6   your Honor?

  7                 THE COURT:    Sure.

  8                 THE WITNESS:    They have different exhibit numbers,

  9   but the GAO numbers are the same.

 10   Q     Okay.    So the record is clear, I have now handed you a

 11   copy of 7202, Defendants' 7202.          Do you have that?

 12   A     I'm sorry.    Can I just ask -- it's quite odd that there

 13   would be two reports from the GAO with the same number.           Can

 14   you tell me what the difference is?

 15   Q     I see that they have the same number, and I don't know is

 16   the answer.

 17   A     Perhaps they didn't have someone remind them of a number

 18   that had already been used.

 19   Q     Maybe.

 20                 MR. CONRATH:    For what it's worth, your Honor, they

 21   look to me to be two different DX numbers.

 22                 MR. CHESLER:    No, they're not.    They're not the same

 23   document.     But I have to say I don't know why.

 24                 THE COURT:    All right.    Let's move on.

 25   Q     If you look at the second page of 7202, it's a page



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  1   entitled "Credit and debit cards.        Federal entities are taking

  2   actions to limit their interchange fees, but additional

  3   revenue collection cost savings may exist."         Do you have that

  4   page, sir?

  5   A     Yes.

  6   Q     Okay.    Down in the middle of that page, there's a

  7   paragraph, second paragraph, under the heading "What GAO

  8   found."    Do you have that?

  9   A     Yes.

 10   Q     It says several countries have taken steps to lower

 11   interchange rates, but information on their effects is

 12   limited.     Among the three countries GAO examined, regulators

 13   in Australia and Israel intervene directly to establish limits

 14   on interchange change rates, while Mexico's banking

 15   association voluntarily lowered some rates.         Since Australia's

 16   regulators acted in 2003, total merchant discount fees paid by

 17   merchants have declined, but no conclusive evidence exists

 18   that lower interchange fees led merchants to reduce retail

 19   prices for goods.     Further, some costs for card users, such as

 20   annual and other fees, have increased.

 21                 Then it goes on to talk about Mexico and Israel.        Do

 22   you see that, sir?

 23   A     Yes, I do.

 24   Q     Do you have any reason to doubt the GOA's findings as of

 25   May 2008?



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  1   A     No.

  2   Q     And, in fact, sir, you understand that in the Australian

  3   case, the Visa and MasterCard interchange fees were capped by

  4   the regulations, correct?

  5   A     That's my recollection.      They were regulated and limited

  6   in some way.

  7   Q     There's something no the Consent Decree between the

  8   Department of Justice, and Visa and MasterCard that caps their

  9   fees, is there?

 10   A     Not that I recall ever seeing.

 11                MR. CHESLER:    Your Honor, I have no further

 12   questions.

 13                Your Honor, before I step away, I'm told that figure

 14   six from Dr. Katz' first report, which is Defendants'

 15   Exhibit 6466, that I should be identifying that as 6466A,

 16   offered just for illustrative purposes, and that I

 17   neglected --

 18                THE COURT:    That's table -- which table?

 19                MR. CHESLER:    Figure six, from Defendants' 646.      And

 20   also table 22, which I referred the witness to from the same

 21   exhibit, we would offer that as 6466B, for illustrative

 22   purposes only.

 23                THE COURT:    Any objection?

 24                MR. CONRATH:    No.   But if I could have a moment to

 25   get the proper references?



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  1                MR. CHESLER:   Figure 6 and table 22.      Table 22 is B.

  2                MR. CONRATH:   6266B.   No objection.     Demonstrative.

  3                THE COURT:   DX6466A and DX6646B are received in

  4   evidence as demonstrative exhibits.

  5                (Defendants' Exhibit DX6466A and DX6466B       were

  6   received in evidence.)

  7   REDIRECT EXAMINATION

  8   BY MR. CONRATH:

  9   Q     Good afternoon, Dr. Katz.

 10   A     Good afternoon.

 11   Q     Could I begin by asking you to turn to your article in

 12   the Journal of Economic Perspective with Dr. Shapiro, which I

 13   believe is DX0229?

 14   A     Yes.

 15   Q     So could I ask you to turn to page 107 of Exhibit 0229,

 16   please?

 17   A     Yes.

 18   Q     So I'm going to direct -- do you recall some questions

 19   from counsel for American Express about this is the tipping

 20   article?

 21   A     Yes.

 22   Q     And some questions specifically about the references to

 23   Visa here?

 24   A     Yes.

 25   Q     I just would like to be clear about what you were talking



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  1   about here, so could we look at on page 107, the paragraph

  2   second from the bottom that begins more generally.          And

  3   this -- I believe that you were read this first sentence, but

  4   I like to focus your attention on the last sentence in this

  5   paragraph that talk about what Visa activities you were

  6   discussing here.

  7               Does it read:    "And Visa has had a long-running

  8   advertising telling consumers that Visa cards are accepted

  9   quote, "Everywhere You Want To Be," closed quote, whereas

 10   merchants, quote, "Don't take American Express," closed quote?

 11         Did I read that right?

 12   A     Actually, I thought you missed a word, but, yes.

 13   Q     All right.    And so when you were talking about the

 14   possibility of tipping in connection with Visa, were you

 15   discussing the part of this advertisement that talks about

 16   don't take American Express, and they don't take American

 17   Express?

 18   A     You're talking about both parts.       It's the point that you

 19   want consumers to be aware that you have a large network; and

 20   to the extent that your competitors have smaller networks, you

 21   also want consumers to be aware of that, so it's referring to

 22   both parts.

 23   Q     And you were not discussing Visa Preference or We Prefer

 24   Campaign; is that right?

 25   A     No, this was a different thing.       The preference



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  1   relationships are with merchants, and this is about the

  2   advertising that Visas doing as a network.

  3   Q     As far as you understand, the American Express

  4   anti-steering rules don't have anything to do with whether

  5   Visa can or cannot run advertising campaigns?

  6   A     I don't see how they could.

  7   Q     Could you turn to the previous page, please, of DX0229.

  8   I'd like to direct you to the first full paragraph on that

  9   page that begins "consumer heterogeneity."         Do you see that?

 10   A     Yes.

 11   Q     So counsel read you the first sentence here, which I will

 12   read again.    "Consumer heterogeneity and product

 13   differentiation tend to limit tipping and sustain multiple

 14   networks."    And I'm going to go on to read the next sentence.

 15                "If the rival systems have distinct features sought

 16   by certain consumers, two or more systems may be able to

 17   survive by catering to consumers who care more about product

 18   attributes than network size."

 19                Did I read that correctly?

 20   A     I believe you did.

 21   Q     So is the credit card networks' market one in which rival

 22   systems have distinct features sought by certain consumers?

 23   A     Yes.    The networks do, and the cards that they provide a

 24   gateway to differ, yes.

 25   Q     Is the credit card networks' industry one in which



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  1   merchants can use more than one credit card network?

  2   A      Yes, it's quite typical for a merchant to accept multiple

  3   networks, credit and charge cards.

  4   Q      So one doesn't have to abandon one network in order -- if

  5   one is a merchant, one doesn't have to abandon one network in

  6   order to take another network?

  7   A      That's correct.

  8   Q      And is that a factor that's relevant to whether tipping

  9   is a serious possibility in the credit card network industry?

 10   A      Yes.   I mean, it's a factor that's been identified by

 11   economists, generally.       It's what's known as multi-homing.

 12   And we talked about single homing on the cardholder side and

 13   to extent that that happens, although many cardholder

 14   multi-home.     There's also multi-homing on the merchant side,

 15   which is quite prevalent.       And as we were just discussing, it

 16   means you don't have to pick between one and the other, and so

 17   that greatly diminishes the tipping and makes it feasible --

 18   or more likely that multiple networks will survive.

 19   Q      You can put that aside.     I'd like to look at --

 20                 MR. CONRATH:   The exhibits, we just found the number

 21   for.

 22   Q      So I'd like to direct your attention to DX6466A, which is

 23   your initial expert report and figure six.

 24   A      Yes.

 25   Q      All right.   Do you recall some questions about this from



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  1   counsel for American Express?

  2   A     I recall I was asked questions.

  3   Q     The blue line here is what's described as American

  4   Express' effective discount rate overall, right?

  5   A     That's correct.

  6   Q     You were asked some questions about whether it was --

  7   whether you included or not co-brand payments, right?

  8   A     I certainly asked that.      I can't remember if it was in

  9   conjunction with this or others.        But yes, I was asked about

 10   co-brand payments and calculating discount rate.

 11   Q     Would you explain to us why you thought it was

 12   appropriate not to include co-brand deal payments in trying to

 13   measure what you were trying to measure with this chart?

 14   A     The central reason is co-brand payments were payments

 15   precisely for that; they're payments for card issuance.           In a

 16   way it's paying the merchant in its role as a distributor of

 17   cards.    It's not something that's -- it's not a charge or a

 18   negative charge having to do with the merchant acceptance.

 19   Q     Do you recall that there was also some discussion of a

 20   prepurchase of Delta SkyMiles.       Do you recall that discussion?

 21   A     Yes.

 22   Q     And that I think was also a payment from American Express

 23   to Delta, buying some SkyMiles, and you thought that was also

 24   inappropriate to include in the discount rate calculation you

 25   were doing in Defendants' Exhibit 6466A; is that right?



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  1               MR. CHESLER:    Your Honor, objection.      The

  2   questioning was about the use of the funds, not the payment

  3   itself.    I believe the questions were very clear in that

  4   record.    Then Counsel's question asked whether the witness

  5   thought it was appropriate or inappropriate to include the

  6   actual payment of the billion dollar prepayment.          That was not

  7   the question.

  8               MR. CONRATH:    I'm not sure I see the difference, but

  9   I'll be glad to rephrase the question.

 10               THE COURT:    Rephrase the question, if you like.

 11               THE WITNESS:    I do see the difference.

 12               MR. CONRATH:    There you go.    Once again I'm the odd

 13   man out, your Honor.

 14               THE COURT:    Roll with the punches.

 15               MR. CONRATH:    I have a suspicion that I understand.

 16               THE COURT:    Go ahead.

 17   Q     You concluded that it was not appropriate to include the

 18   use of the funds connected with the prepurchase of SkyMiles

 19   as -- in calculating your estimate here of the effective

 20   discount rate, right?

 21   A     That's correct.

 22   Q     And could you explain what was the reasoning behind why

 23   you thought that was not the right thing to include?

 24   A     Again, if I'm remembering it correctly, that prepurchase

 25   was part of the competition to obtain the co-branding



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  1   agreement, and it was essentially a payment for the

  2   co-branding, so, again, it was about obtaining card issuance.

  3   Q     And the prepurchase of SkyMiles is something that

  4   American Express has to do in order to just to run a Rewards

  5   Program that includes offering Delta SkyMiles; is that right?

  6   A     I don't know if they have to prepurchase it or not.

  7   Certainly at some point they would have to purchase them.

  8   Q     So if -- and just to be clear, if Delta gets some money

  9   in connection with a co-brand payment or in connection with

 10   the use of the money on prepurchase of miles, that doesn't do

 11   anything to benefit other -- doesn't do anything to reduce the

 12   discount rate that's paid by, say, United Airlines, if United

 13   experienced a price increase at the same time; is that right?

 14   A     That's correct.

 15   Q     It certainly doesn't do anything to benefit a big box

 16   retailer if they were facing price increases, trying to

 17   recapture price increases at the same time?

 18   A     That's correct.

 19   Q     Now, I'd like to ask another question about this, because

 20   this, the blue line, the overall average, American Express

 21   discount rate, is relatively flat during the period you've

 22   shown on your -- most of the period that's shown on this

 23   figure six; is that right?

 24   A     Yes, that's correct.

 25   Q     And so how is it that the overall effective discount rate



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  1   is flat at a time when, as you've previously testified, value

  2   recapture price increases were increasing prices to some

  3   merchants?

  4   A     I'd say we're increasing prices to some merchants, and

  5   that's reflected, for example, in the T&E merchants line,

  6   where value recapture was particular prevalent.          The other

  7   thing that this line is capturing, though, it changes in

  8   merchant mix.     And to extent of what's happened on a very

  9   broad level, as we talked about earlier with counsel for

 10   American Express, just as Visa and MasterCard were moving --

 11   well, I -- let me step back.

 12                Talked about earlier, counsel for American Express,

 13   that American Express moved away from T&E and more into other

 14   merchant categories and that trend has continued, and those

 15   other merchant categories, even within non-T&E, they've been

 16   moving into ones with lower discount rates.         So as the mix of

 17   merchants changes the average discount rate associated with

 18   that mix has been going down.

 19   Q     All right.    So for purposes of your evaluation of the

 20   value recapture price increases and what impact they had on

 21   your opinion, is your evaluation of those price increases

 22   diminished by the fact that the average American Express rate

 23   overall remain flat during this period?

 24   A     No, I was looking at the value recapture price increases

 25   and trying to look with as narrow a focus as possible in order



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  1   to isolate those price changes from other things, because I

  2   believe we talked about over the last two days, there can be a

  3   variety of factors driving prices, and so that value recapture

  4   analysis -- or my analysis of value recapture tended to focus

  5   on those specific effects to isolate other effects such as mix

  6   changes.

  7   Q     Do you recall some questions from counsel for American

  8   Express related to the proposition that American Express says

  9   that today they do not have a premium versus Visa and

 10   MasterCard?

 11   A     Yes.

 12   Q     If what has happened -- if that's true, and if what has

 13   happened is that Visa and MasterCard rates have increased up

 14   to American Express rather than American Express rates coming

 15   down to Visa and MasterCard, is that -- the reason why that

 16   gap has changed relevant to your consideration of America

 17   Express' position in the market?

 18   A     Well, as I said all along, if we're talking about rates

 19   with Visa and MasterCard that affirms -- that have market

 20   power, the fact that American Express had a particular premium

 21   than relative to those firms was evidence as part of the

 22   overall package of American Express possessing market power.

 23   If it no longer has the premium at the present time, then by

 24   definition the premium has not been served as additional

 25   evidence, but certainly the fact that it had the premium up to



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  1   that point does.     And it could be relevant to understand what

  2   was going on with MasterCard and Visa, but I would have to see

  3   what it was that was driving their price increases.

  4   Q     Do you recall some questions about a dog?

  5   A     Actually, I don't believe we had questions about a dog.

  6   I think I mentioned a dog.       Yes, there was a question.

  7               THE COURT:    You mentioned the dog in one of your

  8   papers.

  9               THE WITNESS:    That's right.    Oh, no, it came up -- I

 10   think you're the most important person to fill in at my

 11   deposition.

 12               THE COURT:    I'm glad you think so.

 13               THE WITNESS:    So it was because of a discussion

 14   about the loyalty, it came up in my definition.

 15               THE COURT:    About the food, and the loyalty, and --

 16               THE WITNESS:    That's right.    And then, without

 17   meaning to disparage American Express, the analogy being that

 18   rewards were being analogized to dog food, you have to keep

 19   giving the cardholders the rewards in order to keep their

 20   loyalty, just the way you'd have to keep giving the dog food.

 21               THE COURT:    Go ahead.    What is it about this?     I

 22   think we've gone as far as we can go with this.

 23               MR. CONRATH:    Perhaps.    But I do have another

 24   question.

 25               THE COURT:    No, please.



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  1   Q     So is it your -- let me ask you this, your analogy was

  2   that if you keep feeding the dog, the dog remains loyal;

  3   that's an analogy to rewards, so my question to you is can

  4   insistence driven by continuing spending on rewards be a

  5   source of market power?

  6   A     Yes.    I mean, it's a source of market -- as my

  7   conclusion, it's a source of market power for American

  8   Express.     It's also a key source of market power for Visa.

  9   And I think there's agreement among economic experts on Visa

 10   having market power; and I believe if you look to see the

 11   basis of that, there will have to be agreement that it's being

 12   driven by the loyalty or insistence of Visa cardholders.

 13                Take a nonpayment industry example, and it will be

 14   an old one, because I'm going to talk about newspapers when

 15   they had market power, but newspapers are also an example of

 16   the two-sided platform because they bring together the

 17   advertisers with the viewers and subscribers.          And it's

 18   recognized in the past that newspapers could have substantial

 19   market power with respect to advertisers, and the way they got

 20   that market power is by attracting readers, which meant

 21   continually having to invest in providing content that the

 22   readers found attractive and, therefore, wanted to be in the

 23   newspaper.

 24                So it's the same mechanism, that you're attracting

 25   the subscriber, and then that brings you the advertisers.           And



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  1   in the case of newspapers, again, before the rise of the

  2   Internet, they often had substantial market power against

  3   advertisers on the other side of the platform.

  4   Q     Do you recall some questions about Amex bringing

  5   competition on the issuing side during the U.S. V Visa time

  6   frame?

  7   A     Yes.

  8   Q     So going back to that point, Visa and MasterCard were

  9   owned by the banks that had a lot of overlap between

 10   themselves; is that right?

 11   A     Yes.

 12   Q     And since then there's been U.S. V Visa, the court

 13   decision, right?

 14   A     Yes.

 15   Q     And there have been IPOs with Visa and MasterCard, so

 16   that they no longer have the same overlap of ownership that

 17   they had before?

 18   A     They have changed their corporate structure, so instead

 19   of being associations, they're now corporations, but I have

 20   not examined the ownership under this new corporate structure.

 21   Q     Bank issuers today do compete with each other even if the

 22   bank issuers are on the same network; is that right?

 23   A     Yes, that's true.

 24   Q     And did you happen to -- in your reading for the Court's

 25   homework assignment of Mr. Silverman's testimony, did you



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  1   happen to see his testimony about the fact that competition

  2   among -- the proposition that competition among issuers has

  3   driven up rewards amongst a wide variety of issuers?

  4   A     I'm not sure I recall the specific testimony.         Certainly

  5   the -- I read a bunch of his testimony having to do with

  6   rewards and competing by offering attractive rewards.

  7   Q     Is it true today that different issuers of cards, not

  8   just American Express, but lots of different issuers of cards

  9   are competing with each other to provide the most attractive

 10   rewards for consumers in order to attract cardholders?

 11   A     They're certainly competing by offering what they hope

 12   cardholders will consider to be attractive rewards, in order

 13   to attract their business, yes.

 14   Q     Even if it were true 15 years ago that American Express

 15   was bringing a unique form of attraction for cardholders in

 16   the form of rewards, today there are lots of issuers who are

 17   bringing competition to attract cardholders through rewards

 18   and other programs?

 19   A     There was competition among issuers then there's

 20   competition now, yes.

 21   Q     Does the -- so -- the fact that there's competition on

 22   the issuing side, does that mean that competition on the

 23   merchants side is something that is unimportant?

 24   A     No.

 25   Q     Could you explain why not?



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  1   A     Well, the prices, the profits and consumer welfare, the

  2   two-sided platform, are going to depend on what's happening on

  3   both sides of the platform.       And competition on the merchant

  4   side of the platform is going to be an important part in

  5   determining that overall outcome.

  6               THE COURT:    Mr. Conrath, I think this may be a good

  7   time to break for lunch.

  8               MR. CONRATH:    Sure.

  9               THE COURT:    After lunch, we have about an hour left?

 10               MR. CONRATH:    Probably about that, your Honor.

 11               THE COURT:    All right.    And you anticipate that you

 12   have very much on recross, at this point?

 13               MR. CHESLER:    Not so far, your Honor.

 14               THE COURT:    And so after Professor Katz' testimony

 15   is completed, we'll take a ten-minute break, and then you'll

 16   call your next witness after that.

 17               MR. CHESLER:    Our first witness, your Honor.       We had

 18   several in their case.

 19               THE COURT:    I know that.    I wasn't going to correct

 20   you, though, because I think I've done enough of that already.

 21               MR. CHESLER:    As far as I'm concerned, your Honor,

 22   that's where we are.

 23               THE COURT:    That's good.    We'll take an hour for

 24   lunch.    Thank you.

 25               MR. CHESLER:    Thank you, your Honor.



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  1                               (Lunch recess.)

  2             (Proceedings continued on the following page.)

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  1                   A F T E R N O O N      S E S S I O N

  2                   THE COURT:   Be seated, everyone.

  3                   All right.   You may continue, sir.

  4                   MR. CONRATH:   Thank you, Your Honor.

  5                   THE COURT:   I remind the witness he's still under

  6   oath.

  7                   THE WITNESS:   Yes.

  8   M I C H A E L         K A T Z,      having been previously

  9   duly sworn was examined and testified as follows:

 10   REDIRECT EXAMINATION (Cont'd.)

 11   BY MR. CONRATH:

 12   Q       Professor Katz, could you turn to DX 7747 which was your

 13   speech in Lisbon and I think it should be in the second

 14   binder.

 15   A       7747?

 16   Q       That's right.

 17   A       Yes.

 18   Q       So, turn to the last page of DX 7747, if you would.

 19   A       Yes.

 20   Q       All right.    So, I think you said, but correct me if I'm

 21   wrong, that at this time there was some discussion of whether

 22   direct regulation of credit card network fees was appropriate

 23   in Europe?

 24   A       You're asking me if that's what I was saying in this

 25   article?



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  1   Q       Yes.

  2   A       I would have to look at the article to refresh my

  3   recollection but that sounds right.

  4   Q       Do you recall that there was a time when that was an

  5   issue in Europe?

  6   A       Yes.

  7   Q       Okay.    I would like to direct your attention to the

  8   sentence that is like the third sentence from the end of your

  9   speech, "but I have yet to hear," do you see that?

 10   A       Yes.

 11   Q       Okay.    Let me read that and tell me if this is what you

 12   said:    "But I have yet to hear a sound argument that as a

 13   matter of course regulation is likely to lead to better

 14   outcomes in two-sided markets than would competition subject

 15   to competition policy oversight."

 16                   Did I read that right?

 17   A       Yes, you did.

 18   Q       Were you making the point in Lisbon that it is

 19   appropriate to treat two-sided markets by relying on

 20   competition subject to competition policy oversight?

 21   A       That was one of the points I was making, yes.

 22   Q       And that that was an appropriate answer superior to

 23   regulation, is that right, direct regulation?

 24   A       That's certainly what I'm saying there, that I hadn't

 25   heard an argument otherwise.



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  1   Q     And does competition policy oversight include antitrust

  2   enforcement?

  3   A     Yes, the competition policy tends to be the word used

  4   with European audiences but I understand it -- well, I

  5   actually understand it to be slightly broader than antitrust

  6   enforcement but largely synonymous.

  7   Q     You recall some questions about tipping and the

  8   possibility that Visa might do something and you acknowledged

  9   that Visa -- you could imagine that Visa could do something

 10   that was anti-competitive in the space of the credit card

 11   network industry?

 12   A     Yes.

 13   Q     Is it correct that competition policy in this country,

 14   actions by a dominant firm that harm competition are addressed

 15   either by government enforcement, such as the U.S. v. Visa

 16   case, or by private lawsuits or sometimes by legislation

 17   rather than by private self-help action?

 18   A     Those are certainly all possible responses, yes.

 19   Q     Professor Katz, I'd like to direct your attention to

 20   DX 4583 in the second binder.       These are some of the surveys

 21   that counsel went over with you that relate to debit and

 22   credit.

 23                Do you have it there, DX 4583?

 24   A     Yes, I do.

 25   Q     Would you note the date that's on the front page of



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  1   DX 4583.

  2   A     It says May 2009.

  3                MR. CONRATH:   May we switch control of the screens,

  4   Your Honor, although I don't think this document cannot be

  5   displayed.

  6                THE COURT:   All right.    Okay.

  7   Q     And if we look at the next two pages of DX 4583, do you

  8   see there are charts there that Mr. Chesler directed your

  9   attention to and what years are encompassed in the data on

 10   those charts?

 11   A     The first two pages, it looks like the data are all from

 12   2008 and 2009.

 13   Q     And if I could test your memory of the -- let's test your

 14   coordination, ask you to look at slide 41 in your slides.

 15                MR. CONRATH:   Slide 41 could be public.

 16                THE COURT:   What's that?

 17                MR. CONRATH:   Slide 41 could be public.

 18                THE COURT:   Do you have it?

 19                THE WITNESS:   I do have it, yes, this one.

 20                We have our copies.

 21   Q     All right, that's fine.

 22                What was happening to credit in the period 2008 and

 23   2009 in general in the economy?

 24   A     In general the volume of credit transactions, credit and

 25   charge card transactions were falling over that period which,



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  1   as we talked about before, was the Great Recession and then it

  2   started to recover at the end of 2009.

  3   Q     Referring to slide 41, other than the period from 2008 to

  4   2009, was there ever another year on the years covered on this

  5   chart from 1990 to 2011 when credit card purchase volume

  6   declined on year-over-year basis?

  7   A     No.

  8   Q     So, looking back at DX 4583, the document that you were

  9   examined by counsel for American Express, you see a quote at

 10   the top of the page that says:       "There has been a shift to

 11   debit and Interlink as credit share volume and transactions

 12   decline."

 13               That quote refers to charts that measure activity

 14   during the period of the Great Recession when credit generally

 15   was declining, isn't that right?

 16   A     Yes, generally that's right.

 17   Q     Now, more generally the surveys here that we're looking

 18   at relate to consumer behavior with respect to use of credit

 19   and debit; is that right?

 20   A     I said more generally -- if you could repeat.

 21   Q     The data reported in DX 4583 relate to consumer behavior

 22   with respect to credit and debit; is that right?

 23   A     I mean I believe it reflects the behavior of both

 24   merchants and their customers.       So, if by consumer you mean

 25   their customers, that's certainly reflected in here.



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  1   Q     And it is relevant to the question of whether merchants

  2   will continue to accept credit cards only in the ways you

  3   described this morning that there's a joint decision by both

  4   parties; is that right?

  5   A     Yes, if I understand the question.         Well, if the question

  6   is is customer behavior relevant in assessing the increases to

  7   the merchant, the price increases to the merchant and it's

  8   relevant as it factors through merchant behavior, yes, that's

  9   correct.

 10   Q     Professor Katz, you had some questions this morning that

 11   related to the fact that AmEx sometimes bargains with

 12   merchants, do you recall that?

 13   A     Yes.

 14   Q     Is it correct from an economic perspective that even a

 15   monopolist may negotiate?

 16   A     Yes.

 17   Q     And why is that?

 18   A     Well, I mean a monopolist, I'm assuming you're talking

 19   about a profit maximizing monopolist, may not know the

 20   willingness to pay of every one of its potential customers and

 21   so it may engage in a bargaining process as part of getting to

 22   a price that it thinks is an optimal price for dealing with

 23   that particular customer and the bargaining process is a way

 24   to do that.

 25   Q     And that, if it's true of a monopolist, would that



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  1   principle also apply to a firm that has market power?

  2   A     Yes.

  3   Q     Go ahead?

  4   A     Yes, I mean in fact for it to make sense to engage in

  5   bargaining there has to be some reason you think there could

  6   be a different outcome of the price.         If you were a perfectly

  7   competitive firm, you would just look at what the market price

  8   is, there would be no reason to bargain at all.          Yes, you

  9   could see a firm with market power engage in bargaining.

 10   Q     Does that include firms that have substantial market

 11   power?

 12   A     Yes.

 13   Q     Do you remember a question the nature of which was if the

 14   government were arguing that, then it described vertical -- a

 15   certain treatment of vertical restraints under the antitrust

 16   law, do you recall that?

 17   A     I'm not sure which question you're asking.

 18   Q     There was a question that Mr. Chesler asked you that said

 19   if the government were arguing that vertical restraints were

 20   only unlawful in certain circumstances, now do you recall that

 21   question?

 22   A     I mean the general gist of it, yes.        It was something

 23   about only if it pertained to intra-brand competition and not

 24   inter-brand but I don't remember the specific question.

 25   Q     And actually I have a very narrow point for you which is



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  1   to say when you were answering that, you were answering it in

  2   the if sense and you were not agreeing that Mr. Chesler had

  3   correctly characterized the government's position, isn't that

  4   right?

  5   A     That is correct.

  6   Q     Could you turn to DX 6507 which is your -- or maybe your

  7   second report, if you prefer that volume.

  8               If you would turn in DX 6507 to paragraph 148 please

  9   on page 78.    Do you recall Mr. Chesler read you portions of

 10   the first paragraph and perhaps the second to the proposition

 11   that American Express is an important competitive check on the

 12   exercise of market power by MasterCard and Visa; do you recall

 13   that discussion?

 14   A     Yeah, my recollection is that he read paragraph 148.

 15   Q     Could you turn the page please to paragraph 150, and I

 16   think this was not read to you but I'd like to have it also in

 17   the record and ask you if this is also your opinion:

 18               The fact that competition from American Express has

 19   important consumer benefits does not give American Express a

 20   free pass to engage in anti-competitive actions on the grounds

 21   that those actions benefit American Express.         Indeed, this

 22   fact has the opposite implication.        Weakening American Express

 23   alone would be sufficient to have significant harmful effects

 24   on competition and consumers, then it follows that weakening

 25   competition among all credit and charge card networks, which



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  1   is the effect of American Express's merchant restraints, will

  2   harm consumers by even more."

  3                Did I read that correctly?

  4   A     Yes.

  5   Q     And is that an important corollary to the opinion you

  6   expressed in paragraph 148?

  7   A     Yes, I stand by the opinion, I guess you could say it's a

  8   corollary.

  9   Q     Do you remember some discussion with counsel for American

 10   Express around the question of whether merchants are able to

 11   determine what a particular Visa or MasterCard type of card

 12   costs when it's presented?

 13   A     Yes.

 14   Q     I'd like to ask you some questions about that in relation

 15   to economic principles.      Is it correct that it could be of

 16   value to merchants to be able to determine how much a

 17   particular Visa or MasterCard costs if the merchants could use

 18   that information to steer customers?

 19   A     Yes.

 20   Q     All else equal, if merchants have no ability to steer,

 21   there would be little reason for merchants to invest in

 22   technology that would allow them to determine the costs of a

 23   particular Visa or MasterCard, isn't that correct?

 24   A     Yes, if you're saying as part of that did they know what

 25   the average cost is, yes, because they would just have to



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  1   accept cards on average so that additional information would

  2   not have any value that I can think of as I sit here.

  3   Q     But if they did obtain the ability to steer amongst them,

  4   then there might be reason for merchants to invest in

  5   technology?

  6   A     Yes.

  7   Q     All else equal?

  8   A     Yes.

  9                THE COURT:   Are you saying that if a merchant knew

 10   the relevant discount rates for different cards within the

 11   Visa portfolio, that if he were presented with a Premier Visa

 12   card which had a discount rate of three point something

 13   percent, I don't know that that's the case but, that if the

 14   merchant had the ability to steer to other cards, the merchant

 15   might say, do you have an American Express Card, knowing that

 16   the discount rate for that card was a lower rate?

 17                THE WITNESS:   Yes, and I suspect a large

 18   sophisticated merchant could have incentives to do that sort

 19   of thing because the differences among the MasterCard and Visa

 20   credit cards, I recall some of those differences are

 21   significant.

 22   Q     Professor Katz, do you recall some questions about your

 23   testimony during U.S. v. Visa on the subject of American

 24   Express and its market positions, its possession or not of

 25   market power?



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  1   A     Yes, although that was a couple of hours ago, I have a

  2   vague recollection, yes.

  3   Q     Maybe I can refresh your recollection about that.

  4                MR. CONRATH:    If I may approach, Your Honor?

  5                THE COURT:    Yes.   Yes, you may.

  6                MR. CONRATH:    Thank you.

  7   Q     Professor Katz, I've handed you DX 0743.         These are

  8   excerpts, pages 3581 and then page 3803 through 3804.

  9                Do you have that?

 10   A     Yes.

 11   Q     This is your testimony before Judge Jones?

 12   A     I don't know.

 13   Q     Let me direct you to the particular question and answer

 14   I'm going to ask and I'll ask if you recognize it.          I see that

 15   it does not -- the excerpts we were able to copy do not have

 16   your name on them, but look on page 3804 please, the first

 17   full question and answer, do you see that?

 18   A     Yes.

 19   Q     And do you recognize that as your testimony?

 20   A     Give me one minute to read it.

 21   Q     Yes, of course.

 22                (Pause.)

 23   A     I believe this is my cross-examination, yes.

 24   Q     And were you asked at that point the following question

 25   and did you give the following answer:



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  1                "Question:      If the Corporate Card in fact

  2   constitutes a separate market, is it a market American Express

  3   is able to exercise market power?

  4                "Answer:      I haven't fully analyzed it as a

  5   separate market but it would be my opinion that American

  6   Express would have market power."

  7                And that was your view at the time of U.S. v. Visa?

  8   A     My view, what I stated here at the time of my

  9   cross-examination, yes.

 10                MR. CONRATH:    One moment, Your Honor.     (Pause.)

 11                One moment.    I'm sorry, Your Honor.

 12                THE COURT:    No problem.

 13                (Pause.)

 14   Q     Do you recall some questions, Professor Katz, about

 15   your -- a variety of questions in fact about your testimony in

 16   United States versus First Data?

 17   A     Yes.

 18                MR. CONRATH:    May I approach, Your Honor?

 19                THE COURT:    Yes, you may.

 20   Q     (Handing.)

 21   A     Thank you.

 22   Q     I have handed you, Professor Katz, PX 2711 which is

 23   defendant's pretrial memorandum in this case and I'd like to

 24   direct your attention to page 83.

 25   A     I'm there.



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  1   Q       All right.   Do you see at the top of the page -- sorry, I

  2   was on the wrong page.      The problem was mine.

  3                At the bottom of page 83 it has a quotation from

  4   you, do you see that?

  5   A       Yes, I do.

  6   Q       All right.   And this is a quotation that you were read

  7   this morning and you answered questions about this quotation;

  8   do you recall that discussion?

  9   A       I'm not sure I recall being read this and being told it

 10   was a quotation but I had questions on something similar to

 11   this.

 12   Q       All right.   Well, let's try to get at that.      In the first

 13   sentence here it says:      "It is impossible to calculate any

 14   harm to consumers from changes in -- and then there's a word

 15   in brackets, it says discount rates without considering both

 16   sides of the market."

 17                Do you see that?

 18   A       Yes, I do.

 19   Q       And a little bit later in that it refers to the effects

 20   of, and again discount is in brackets, discount fees on

 21   consumer welfare, the effects of discount fees on consumer

 22   welfare can be understood by looking solely at the merchant

 23   side of the market; is that right?

 24   A       That is what it says, yes.

 25   Q       All right.   Could we look at your expert -- the citation



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  1   here is to your expert report in U.S. v. First Data; is that

  2   right?

  3   A     That's correct.

  4   Q     Could we look at your expert report in U.S. v. First Data

  5   which is DX 7183.

  6   A     I'm guessing it is volume one.

  7   Q     Yes, I think so.

  8   A     I'm sorry, could repeat the number please.

  9   Q     DX 7183.     I'd like to ask you to direct your attention to

 10   paragraph 156 in DX 7183.

 11   A     Yes.

 12   Q     So, if you look at that, the relevant sentence that's

 13   quoted there in paragraph 156 of DX 7183, were you in fact

 14   talking about discount rates in that paragraph?

 15   A     No, what I said in the paragraph, both places where the

 16   word "discount" appears in square brackets I was talking about

 17   the interchange rate.

 18   Q     All right.    Can you clarify for us whether it makes a

 19   difference whether one is referring to an interchange rate or

 20   a discount rate?

 21   A     It makes a huge difference for these purposes because

 22   with an interchange rate, which is what I was talking about in

 23   my report, by definition it is a pass-through the network

 24   passes through, so that when the interchange rate goes up, the

 25   merchant is paying more and the cardholder side of the market



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  1   is paying less.     That's what the interchange is doing, it is a

  2   transfer from one side to the other.         It is impossible to

  3   raise the interchange to the merchant without then having an

  4   equal and offsetting effect of interchange on the other side

  5   because that's the definition of interchange is a payment from

  6   one side to the other.      And so, what I was testifying to in

  7   the First Data case is saying, well, it doesn't make sense to

  8   say here's what happens when you raise to one side and

  9   simultaneously lower to the other side and look only at the

 10   one side.

 11               Now, in talking about a merchant discount, it's

 12   certainly correct, the interchange is the biggest portion but

 13   there are other pieces and because of those other pieces such

 14   as the network fees it certainly is possible to raise the

 15   merchant discount without affecting the price on the other

 16   side, whereas that's a logical impossibility in the case of

 17   changing just the interchange rate.        So, it is a very

 18   significant difference, it is just a different meaning.

 19   Q     And so, your criticism in the expert report in the First

 20   Data case, your criticism of Professor Ordover who was at that

 21   point the government's witness, was that the theory of raising

 22   interchange rates inherently involved evaluation or a rate

 23   that had affected both sides of the market; is that right?

 24   A     Yes, the interchange inherently affects both sides and

 25   therefore you should take that into account when assessing the



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  1   effects of a change in the interchange rate.

  2   Q     In this case is your theory that the harm caused would be

  3   a raise in interchange rates?

  4   A     It is my testimony that as a result of the harm to

  5   competition which then reduces the sensitivity to price on the

  6   merchant side but that that will raise what the networks will

  7   keep but I also anticipate that that would have an effect on

  8   the interchange as well by affecting the balance.

  9   Q     So, your testimony is that if the merchant discount rates

 10   go up, have gone up as a result of the reduction in

 11   competition, some of that stays with the network and doesn't

 12   pass through to the other side, is that right?

 13   A     That's correct.

 14   Q     And all of the many quotations that you were read

 15   concerning First Data were in the context of your criticizing

 16   Professor Ordover for a theory that was about interchange

 17   rates only; is that right.

 18   A     That's my recollection as I sit here.        I was read several

 19   quotations but that's my recollection.

 20   Q     Do you recall being asked some questions about the

 21   U-shaped charts, the charts that showed usage of credit and

 22   debit at a variety of retailers that we didn't -- whose names

 23   we didn't mention?

 24   A     Yes.

 25   Q     And you also looked at some variations of those charts



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  1   done by Professor Bernheim, is that right?

  2   A     Yes.

  3   Q     Could you turn please to those charts which are at

  4   DX 7761.     I think it's in the second binder.      Do you have

  5   those?    And can you also get from your slides slide 45 which

  6   is the version that is from your report.

  7                (Pause.)

  8                All right.    Do you have that?

  9                So, let's start with asking you questions about

 10   slide 45 of the slides that you presented in your direct.

 11   So, the bars on this chart that reflect people who used

 12   credit cards either exclusively or in some mix are all the

 13   bars except the far right-hand bar; is that right?

 14   A     That's correct.

 15   Q     If you were doing a hypothetical monopolist test

 16   encompassing a SSNIP on the question of whether merchants can

 17   drop credit cards if there were a SSNIP, what of these bars

 18   would you consider that a merchant should focus on in

 19   evaluating whether to drop credit cards?

 20   A     I mean I think the merchant should take into account all

 21   of the bars in thinking about it because it is providing

 22   information to the merchant about how its customers view the

 23   different payment instruments.         Certainly if I were the

 24   merchant though, I would have concerns about the people who

 25   have used credit exclusively but also the people who almost



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  1   always use credit as well is my concern as a merchant is that

  2   those are people who would spend less in my establishment if I

  3   no longer accepted credit and charge cards.

  4   Q     And for those people who had used some of both, the

  5   merchant would have to consider them because those might be

  6   people who, for instance, are making particular types of

  7   purchases, always used credit cards, for example,

  8   prescriptions might be a lot more expensive than sundries,

  9   than shampoo?

 10   A     Yes, that's certainly a possibility.

 11   Q     You looked at the data that created slides 45, 46 and 47

 12   from three merchants; is that right?

 13   A     That's correct.

 14   Q     And AmEx's expert eventually looked at five, is that

 15   right?

 16   A     I don't recall as I sit here but there are five that were

 17   shown to me earlier today.       I can't remember if he did -- I

 18   know he did at least five.

 19   Q     That was a better question, thank you.

 20                And I want to be clear, you testified that the

 21   reason you looked at three was that these kind of analyses are

 22   quite expensive?

 23   A     Yes.

 24   Q     During the questioning do you recall that counsel for

 25   American Express tried to call attention to the fact that



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  1   certain -- well, let's -- actually I need to clarify what's in

  2   Dr. Bernheim's charts.

  3                So, if we could look at the first page, the first

  4   page that's in your binder, it's actually page 12 of DX 7721;

  5   what's on the left, correct, is what is -- the blue bars are

  6   bars taken from your analysis, the analysis that you did, is

  7   that right?

  8                MR. CHESLER:   Excuse me, Your Honor, I think counsel

  9   misspoke, I think counsel said 7721, it is 7761.

 10                MR. CONRATH:   Yes, thank you.       I appreciate that.

 11   Let me start again so I don't have a muddled record.

 12   Q     In DX 7761, page 12, there are two pairs of bar charts;

 13   is that right?

 14   A     Yes.

 15   Q     And the one on the left is taken from your bar chart that

 16   was used with -- that is in this case, your slide 47; is that

 17   right?

 18   A     I don't know, we'd have to look.          I mean it certainly

 19   says that it used the same threshold number of transactions

 20   and refers to the matching we did to use BIN data but I don't

 21   know whether there are other things he did to the data that

 22   might be different.      It's not labeled as reporting the exact

 23   numbers I did.     I'd have to go check to see if that's what

 24   they are.

 25   Q     And a difference is that the percentages, the two bars in



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  1   Professor Bernheim's chart where he's looking at loyalty cards

  2   with two transactions, the percentages add up to 100 percent

  3   and they reflect -- they basically exclude consumers who used

  4   only debit; is that right?

  5   A     That's certainly a difference, yes.

  6   Q     All right.    And the additional analysis done by

  7   Dr. Bernheim was with cardholders who you had at least ten

  8   transactions and that's the green bars; is that right?

  9   A     Yes.

 10   Q     So, first, do you recall that counsel tried to draw

 11   attention to the fact that the two which are the last two that

 12   were merchants that you didn't focus on, as he said, had a

 13   higher number who used both general purpose credit cards and

 14   debit cards than the ones you referenced, do you recall when

 15   he tried to call attention to that fact?

 16   A     Yes, I think it was either showing that it was a higher

 17   percentage but yes.

 18   Q     A higher percentage, you're correct.

 19                So, we didn't mention the numbers yesterday but

 20   because the identities are not disclosed I think I can

 21   actually mention the numbers, I just want to call out just how

 22   significant or not that difference was that counsel was

 23   calling attention to.      So, the highest number in that column

 24   for ten transactions among the three that you looked at was

 25   70, is that right, 70 percent?



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  1   A     I'm sorry, the highest --

  2   Q     So, look at the highest --

  3   A     You're saying the highest percentage for those who used

  4   general purpose credit and charge cards and debit?

  5   Q     Yes?

  6   A     Yes.

  7   Q     That's 70.    And the ones counsel was calling attention to

  8   that were higher are 75 and 76; is that right?

  9   A     Yes.

 10                THE COURT:   And that's using Professor Bernheim's

 11   methodology, is that it, of ten or more transactions?

 12                MR. CONRATH:   Yes.

 13                THE COURT:   Go ahead.

 14   Q     Now, looking at DX 7761 and these bars, I'm going to ask

 15   you again to consider if a merchant was -- or if you were

 16   doing a Hypothetical Monopolist Test or, more precisely, if

 17   you're thinking about what customers a merchant would need to

 18   keep in mind if it was thinking about dropping all credit

 19   cards, of the two bars, the ones who used only general purpose

 20   credit cards or the ones who used both general purpose credit

 21   cards and debit, which bar is more important to the merchant?

 22   A     I'm sorry, are you asking me if I'm thinking about -- if

 23   I were a merchant and asking myself the question which

 24   customers do I think would be more at risk if I were to drop

 25   acceptance of general purpose credit and charge cards, it



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  1   would be, picking between the two bars, it would be the bar of

  2   people who used them exclusively.

  3   Q     And looking at the percentages on those bars, if we look,

  4   for example, at the first merchant, the one on page 12 of

  5   DX 7761, of the two groups that are reported here, what this

  6   reports is that 35 percent of those customers who came to the

  7   store at least ten times and always used credit, is that what

  8   this first bar means, the first green bar means?

  9   A     Yes.

 10   Q     And that's something a merchant would have to take

 11   seriously into account in thinking whether the merchant should

 12   drop all credit cards; is that right?

 13   A     I mean it should take it into account, yes.

 14   Q     And the other percentages range from 24 to 35; is that

 15   right?

 16   A     I thought we looked at the -- I think the other ones

 17   range from 24 to 34.

 18   Q     And those are of people who came to the store at least

 19   ten times and used only credit; is that right?

 20   A     That's correct.

 21                THE COURT:   Can I just interrupt for a minute.       On

 22   the last area of questioning about where there was an issue

 23   about the interchange fee changing, that has an effect on

 24   merchants and then you said on the other side of the equation

 25   it would have an effect on the customer.



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  1               THE WITNESS:    Yes.

  2               THE COURT:    And how would it manifest itself if the

  3   interchange fee increased?       I know how it manifests itself

  4   with regard to the discount rate that affects the merchant.

  5   How does that manifest itself with regard to the customer?

  6               THE WITNESS:    So, a slight complication.       Let me

  7   start with taking it back to First Data because it is a little

  8   clearer.    I believe there, I may be wrong, I think there the

  9   focus was on the customer actually being the debit card issuer

 10   because you remember, right, we've got the five steps, so

 11   sometimes in these cases we look what -- usually people ignore

 12   the acquirers because it is so competitive, they just sort of

 13   pass things through.

 14               THE COURT:    You mean the acquirer who is the

 15   connection to the network from the merchant?

 16               THE WITNESS:    That's right but sometimes we end up

 17   focusing on the link between the network and the issuer and

 18   talk about the issuers as customers and in fact in U.S. v.

 19   Visa my testimony was that the issuers wouldn't have somewhere

 20   else to go if the network raised fees to them, if I'm

 21   remembering it correctly.

 22               THE COURT:    The issuer meaning like a bank, like

 23   Chase or Citibank?

 24               THE WITNESS:    That's right.       The reason I want to

 25   start with that is so when the interchange rate goes up, it



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  1   means you're charging more to the merchant side but then by

  2   definition you're giving more to the issuer and then what

  3   you'd expect is the issuers would then pass some of that on to

  4   their cardholders but the immediate effect is that the

  5   merchant side goes up and then the issuer side goes down by

  6   exactly the same amount.

  7               THE COURT:    And how would the issuer pass that along

  8   to the cardholder?

  9               THE WITNESS:    So in the case of --

 10               THE COURT:    By increasing the interest rate or some

 11   other means?

 12               THE WITNESS:    So, in the case of credit and charge

 13   card networks one of the ways you would see it is when the

 14   issuer was getting paid more by the network for each dollar of

 15   charge volume, it might increase its rewards for example.

 16               THE COURT:    So that would benefit the cardholder?

 17               THE WITNESS:    Yes, and that was the point I was

 18   making in the First Data case.

 19               THE COURT:    I see.

 20               THE WITNESS:    You're taking money from one side and

 21   passing it to the other and so you should think about that

 22   effect.

 23               THE COURT:    I see.   Okay.   Thank you.

 24   Q     Professor Katz, I'd like to direct your attention to

 25   DX 7580 which I believe is in your second binder and which is



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  1   the government's competitive impact statement that was

  2   discussed with you on cross.

  3   A       Yes.

  4   Q       Would you turn please to page 14 of DX 7580.       Do you have

  5   that?

  6   A       Yes.

  7   Q       All right.   Do you recall that you were read the first

  8   paragraph on that page concerning merchants that accept only

  9   Visa or MasterCard?

 10   A       Yes.

 11   Q       I think you were not read the second paragraph and I'd

 12   like to read it to you and ask if you agree with it.

 13                  "Merchants that accept American Express cards,

 14   including the vast majority of the major retailers in the

 15   United States, will be unable to influence customer's payment

 16   methods because the anti-competitive American Express merchant

 17   restraints will continue to constrain those merchants pending

 18   the outcome of this litigation.        American Express stands as

 19   the last obstacle to achieving the full benefits of

 20   competition now suppressed by the challenged merchant

 21   restraints."

 22                  Do you agree with those observations as well,

 23   Professor Katz?

 24   A       Depends on the interpretation of that last sentence.        My

 25   conclusion in my analysis is that while on paper Discover



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  1   rules could be the last obstacle, as a practical matter they

  2   will not be a binding constraint.

  3               MR. CONRATH:    Your Honor, I don't want to let the

  4   moment pass without reminding you that you might have

  5   questions about Professor Katz's Silverman homework, if you

  6   had things you wanted to follow up on, I don't want to leave

  7   that, but that concludes my questions.

  8               THE COURT:    All right.    I think that's sufficient.

  9               MR. CONRATH:    That we've gotten there.

 10               THE COURT:    I think we're there.

 11               Anything else from the defense?

 12               MR. CHESLER:    No questions, Your Honor.

 13               THE COURT:    All right.    The Professor is excused.

 14               THE WITNESS:    Thank you, Your Honor.

 15               THE COURT:    Have a nice day.      Have a good trip home.

 16               THE WITNESS:    Thank you.

 17               THE COURT:    You may stand down.

 18               (Witness steps down.)

 19               THE COURT:    A couple of things, we're going to take

 20   a ten minute break, and police up the materials here but

 21   before we did that, there are two things; one is does the

 22   government have any additional witnesses on its case?

 23               MR. CONRATH:    Just the one from who has been ill who

 24   is scheduled I think for August 11.

 25               THE COURT:    Apart from that?



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  1               MR. CONRATH:    Apart from that, we do not.

  2               THE COURT:    Apart from that, the government rests?

  3               MR. CONRATH:    I think we also have some documents

  4   that we'll offer when we find ourselves at the end of a day

  5   after we've resolved as many objections as we can resolve but

  6   those two things are what remains in our case, Your Honor.

  7               THE COURT:    All right.    Very good.

  8               Before we go any further I just want to remind

  9   everyone that the Court agreed that during the government's

 10   case for the purposes of efficiency the American Express

 11   company witnesses that the government called were also

 12   questioned by the defense on direct so that they wouldn't have

 13   to come back, so some of the defense case has already been

 14   heard, principal defense case has already been heard during

 15   the, in effect, the cross-examination of some of the American

 16   Express witnesses.

 17               Isn't that right, Mr. Chesler?

 18               MR. CHESLER:    Yes, Your Honor.

 19               THE COURT:    Okay.   So, there may have been some

 20   people who didn't hear that at the beginning of the trial, I

 21   just wanted to make it clear that that's how we decided to

 22   proceed which is a little unusual but I think for purposes of

 23   a bench trial of this complexity it was appropriate.

 24               All right.    So, we'll begin your presentation in ten

 25   minutes.



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  1               MR. CHESLER:    Thank you, Your Honor.

  2               THE COURT:    You're welcome.

  3               (Time noted:    2:50 p.m.)

  4               (Recess taken.)

  5

  6

  7               THE COURT:    Please be seated.

  8               Yes, sir.

  9               MR. CONRATH:    If I may introduce a colleague who

 10   hasn't been at the table before, Mark Ryan.

 11               THE COURT:    Welcome.    Are you from Washington too?

 12               MR. RYAN:    I am, Your Honor.

 13               THE COURT:    Welcome to New York.

 14               MR. RYAN:    Thank you.

 15               THE COURT:    Mr. Chesler, you may call your witness.

 16               MR. CHESLER:    Thank you, Your Honor.      We call

 17   Kenneth Chenault.

 18               (Witness takes the stand and is sworn by the clerk.)

 19               THE CLERK:    Please have a seat and please state and

 20   spell your full name for the record.

 21               THE WITNESS:    Yes, Kenneth Irvine Chenault,

 22   K E N N E T H, I R V I N E, C H E N A U L T.

 23               THE COURT:    You may inquire.

 24               MR. CHESLER:    Thank you, Your Honor.      May I approach

 25   the witness with some documents?



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  1               THE COURT:    Yes, you may.

  2               MR. CHESLER:    (Handing.)

  3               THE WITNESS:    Thank you.

  4   K E N N E T H        C H E N A U L T, having been first duly

  5   sworn was examined and testified as follows:

  6   DIRECT EXAMINATION

  7   BY MR. CHESLER:

  8   Q     Mr. Chenault, you're employed by American Express

  9   Corporation?

 10   A     Yes, I am.

 11   Q     And what is your position there?

 12   A     I'm Chairman, Chief Executive Officer.

 13   Q     And how long have you been at the company, sir?

 14   A     For 33 years.

 15   Q     And how long have you been the Chairman and Chief

 16   Executive Officer?

 17   A     For 12 years.

 18   Q     Just briefly would you just describe for the Court --

 19   A     Actually 13.    It sounds like it's a lot of fun.

 20   Q     Before that 13-year period, would you just briefly

 21   describe for the Court what your positions were as you moved

 22   through the company?

 23   A     Yes, I joined the company in September of 1981 as the

 24   Director of Strategic Planning and that was sort of a middle

 25   management position and I served in that position for I think



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  1   two and a half years.      Then I went to run a marketing area in

  2   what was at that time called the Merchandise Sales Division

  3   that sold merchandise through the mail and I was Vice

  4   President of Marketing; then a year and a half later became

  5   Senior Vice President of Marketing; a few years later became

  6   Executive Vice President and General Manager of the Gold Card/

  7   Platinum Card Group; then became Executive Vice President-

  8   General Manager of the Personal Card Group, and then was

  9   promoted to President of the U.S. Consumer Card Group, served

 10   in that position for several years, and then became Vice

 11   Chairman of the company and received responsibility for our

 12   U.S. and international businesses and at that time the area of

 13   the company was called Travel Related Services, that had the

 14   card business, travel business, travelers check business.           And

 15   then I believe in 1997 I was promoted to the position of

 16   President and Chief Operating Officer of the company, and then

 17   in January 2001 became Chief Executive Officer of the company

 18   and in April of 2001 I became Chairman of American Express.

 19   Q      And at about the time you became the President and Chief

 20   Operating Officer of the company, were you also elected to the

 21   Board of Directors?

 22   A      Yes, I was.

 23   Q      Just tell the Court what your educational background is,

 24   sir.

 25   A      I went to Bowdoin College in Brunswick, Maine and Harvard



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  1   Law School.

  2   Q     And what did you do after getting out of law school?

  3   A     I went to Rogers & Wells and then I went to Bain &

  4   Company, a consulting firm, and then I came to American

  5   Express in 1981.

  6   Q     So, you've been at the company about 33 years?

  7   A     33 years, yes.

  8   Q     Just in your own words describe for the Court please what

  9   the business of American Express is?

 10   A     We are in the payments services business and we in fact

 11   are focused on meeting the payment needs of our customers but

 12   we're also in what I call the services business in that we use

 13   the payments platform to provide a range of services to

 14   consumers, to merchants, to corporations, to small businesses

 15   and so it's very important to emphasize the service aspect of

 16   our business.

 17   Q     And in that connection, do you describe the business or

 18   at least part of the business as a closed loop?

 19   A     Yes.    What's very important to understand is American

 20   Express operates a unique business model in that we have an

 21   integrated payments platform which means that we acquire

 22   merchants, we do merchant processing, we are a network, we're

 23   an issuer processor and we issue cards and what's critical to

 24   understand is the information and data that we have because it

 25   is a very interdependent model and what is critical is that we



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  1   actually have a very strong link with our cardmembers and our

  2   merchants and the information and data that we have in this

  3   integrated differentiated model is very, very important and

  4   unique in the payments industry.

  5   Q     I take it you compete, among others, with Visa and

  6   MasterCard?

  7   A     We certainly do.

  8   Q     How does their model in connection with the closed loop

  9   that you've just described, how does the Visa-MasterCard model

 10   differ?

 11   A     In essence, Visa and MasterCard are a network and so they

 12   do not acquire merchants and they do not acquire cardmembers,

 13   so it is a fundamentally different model from ours.          It is not

 14   an integrated model, it is not an interdependent model with

 15   cardmembers and merchants.

 16   Q     What types of cards does American Express offer?

 17   A     We offer a wide variety of cards.         From a category

 18   standpoint, we offer charge cards that are pay in full

 19   products.    We offer reloadable prepaid cards where you load

 20   funds into the card, your funds into the card.          We offer

 21   revolving credit cards.      We offer co-brand cards.

 22   Q     You also offer corporate cards?

 23   A     We offer cards to small businesses, to medium size

 24   corporations and to large corporations.

 25   Q     And what is a co-brand card?



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  1   A     Co-brand is really a partnership with a company where

  2   both of the companies' brands are on the card and in fact we

  3   provide the credit to the customer, we provide the marketing,

  4   we provide the customer service.        From a rewards standpoint,

  5   we also pay for those.

  6   Q     Now, does American Express have some cards that are

  7   actually issued by banks?

  8   A     Yes, we do, we have a business that we call Global

  9   Network Services.

 10   Q     Or GNS sometimes?

 11   A     GNS is really what we commonly refer to it.

 12   Q     And what is that business?

 13   A     That business is where banks will issue cards on our

 14   network and it's branded with our blue box, so it has the

 15   acceptance mark of our company, American Express.

 16   Q     How many banks are there in the United States today that

 17   issue American Express cards?

 18   A     Nine banks.

 19   Q     Do you know approximately how many banks there are that

 20   issue Visa and MasterCard cards?

 21   A     10,000 or more.

 22   Q     Does American Express function as a closed loop with

 23   respect to the GNS issued cards?

 24   A     Yes, we do.

 25   Q     And how do you do that given that they've been issued by



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  1   a bank?

  2   A     What we have is, as I said, we have the information of

  3   the merchant spending on the card.

  4   Q     Now, beyond just completing a transaction, what value do

  5   you believe American Express offers to its cardmembers?

  6   A     I think what I would start with fundamentally is what the

  7   American Express brand represents is trust; trust, integrity

  8   and service, that's really what has built our company over 164

  9   years.    So, the affinity with our brand is very, very

 10   important.

 11   Q     You also offer your cardmembers rewards programs?

 12   A     We have made substantial investments in our reward

 13   programs and those programs are critical because, back to the

 14   integrated model and one of the things I talk about to more

 15   simply describe this integrated interdependent model is the

 16   chicken and the egg, and the reality is we need more cards to

 17   get more merchants, we need more merchants to get more cards

 18   and I've been very clear, I don't know who's the chicken or

 19   who's the egg but you need both, it is critical that you meet

 20   the needs of both of those groups and so rewards plays a very,

 21   very critical role because it gives the customer a reason to

 22   use the card because fundamental to our model in the

 23   integrated model is spend and we need welcome acceptance which

 24   is a fundamental promise going to trust that is critical.

 25                Rewards also create demand, not just at a particular



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  1   merchant but for all merchants it creates that demand.           So,

  2   rewards plays a very important role.         Customer service plays a

  3   very important role for us because what we believe is that

  4   personal recognition and providing a high level of service

  5   also correlates into increase loyalty and increase spending

  6   and what's very important here is we want customers who will

  7   engage in responsible spending and that is critical that we

  8   service those customers, that's why we invest and innovate in

  9   our customer service very strongly and it is why since 2007 we

 10   have won the J.D. Power Award each year.

 11   Q     What do you mean by responsible spending in that last

 12   answer, sir?

 13   A     Well, I think what's critical again in our model is it's

 14   a charge card, it's a pay in full product and that financial

 15   discipline is very, very important, customers pay at the end

 16   of 30 days, and what that builds into our psyche of our

 17   customer is a level of responsibility.          We don't want

 18   customers who are going to spend above their means.          What we

 19   want, because it's critical to the positioning of our product,

 20   it's important to our economics for both the cardmember and

 21   the merchants, we want customers who will spend in a

 22   responsible way.     We also want customers that are highly

 23   creditworthy.     And so, from a financial economic standpoint,

 24   only 15 percent of our revenues are generated from revolving

 25   credit products which is fundamentally different from a bank



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  1   card and is another reason why we're able to create demand for

  2   merchants because with a revolving credit card the customer is

  3   using some of their discretionary dollars to service debt and

  4   so with us those are dollars that they can spend in a

  5   responsible way which also increases demand back to the

  6   chicken and the egg that I've talked about.

  7   Q     Let me ask you a few questions about your rewards

  8   program.     The name of it is the Membership Rewards, correct?

  9   A     Yes, Membership Rewards, it first started off as

 10   Membership Miles and came out in 1991.

 11   Q     Do you have cups up there?

 12   A     Yes.

 13   Q     So, it was originally called Membership Miles, then it

 14   was renamed Membership Rewards at some point?

 15   A     Yes.

 16   Q     I take it there are merchants who are in the Membership

 17   Rewards program at which a cardmember can redeem her rewards;

 18   is that correct?

 19   A     Yes.

 20   Q     Are those the only merchants who in your view benefit

 21   from the Membership Rewards program, those where they

 22   participate in the redemption program?

 23   A     No.    In fact, what's important, because this was one of

 24   the products that I actually led the development of,

 25   Membership Miles, and the concept from the beginning was



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  1   really giving customers a benefit when they use the card to

  2   give them a reward for using their card.          What was also very

  3   important was to give them flexibility and choice, to give

  4   them a range of redemption options which we really have

  5   expanded substantially but also not just to give the benefit

  6   to the merchant participant in the reward program.

  7                So, what you have with Membership Rewards in

  8   essence, and it really has built to that, is think of a

  9   concept of a virtual currency, if you will, and so any

 10   merchant where our card is accepted and used benefits from

 11   Membership Rewards because of the increased demand and that

 12   was fundamental to the creation of the program.

 13   Q     Now, has there in more recent years been a modification

 14   or enhancement to the Membership Rewards called Pay with

 15   Points?

 16   A     Yes.

 17   Q     What is that?

 18   A     Yes, Pay with Points is a very exciting innovation and I

 19   would just emphasize that what is critical in a competitive

 20   marketplace is that you're constantly innovating and what is

 21   exciting about Pay with Points is it brought an early concept

 22   of virtual currency to life and it gives the customer

 23   tremendous flexibility and choice and increases the demand

 24   even more for merchants.      So, what it means is you could

 25   decide I, in fact, am going to engage in the following set of



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  1   spending activity, all right, I want to go on a trip at this

  2   time or I want to buy a merchandise item at this time.           Unlike

  3   some airline reward programs where you have a blackout, you

  4   can in fact use Membership Reward points to pay for that trip,

  5   to pay for that merchandise and you can simply decide -- you

  6   don't even have to decide at the point of sale, you can decide

  7   when you get your statement that I want to pay with points.

  8                So, that has become now one of the most popular

  9   redemption categories because of the choice and optionality

 10   that we provide to the cardmember and the benefits to all

 11   merchants are there is increased demand because cardmembers

 12   are saying, boy, this is a program that has incredible utility

 13   and flexibility.

 14   Q     So, you can decide to pay part of your bill, for example,

 15   with cash or check, whatever, and part of it with points?

 16   A     Yes.

 17   Q     And is there any limitation on which items on the bill

 18   you can apply the points to?

 19   A     No.

 20   Q     Now, with respect to the rewards program, do you have

 21   features where at times purchases at particular merchants will

 22   trigger a multiplier of point reward rather than one point per

 23   dollar?

 24   A     Yes, there could be certain categories, it could be

 25   supermarkets, it could be gas stations, it could be at a



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  1   particular merchant where you can earn multiple points and

  2   what's very important is when you then can earn those multiple

  3   points, it really results in the cardmember receiving a

  4   discount and so even though they may just earn those points in

  5   a certain category or at a certain merchant, their capacity to

  6   spend more from a discretionary standpoint has increased and

  7   that benefits all merchants.

  8   Q     I take it that the company incurs costs in connection

  9   with the rewards program, is that fair?

 10   A     Yes, it is a very costly program.         It's probably our most

 11   significant cost item but, again, what we believe fully in our

 12   integrated model that it differentiates us in the marketplace

 13   and provides substantial value to the cardmember and to the

 14   merchant.

 15   Q     You create accounting reserves for the rewards that are

 16   issued to your cardmembers when they buy on the card, is that

 17   right?

 18   A     Yes.

 19   Q     Now, you actually have to pay for those points when the

 20   rewards are later redeemed, correct?

 21   A     We absolutely do.

 22   Q     Over time, particularly in recent years what kind of

 23   adjustments, if any, have you had to make to the reserves for

 24   rewards in light of the redemption rules?

 25   A     We've made substantial adjustments and I think what is



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  1   important in this program and it is something that I

  2   emphasized in our company and outside our company from the

  3   beginning is historically there have been a number of reward

  4   programs where in fact people, meaning companies did not

  5   particularly focus on the engagement of the reward program, it

  6   was more promotional.      What I emphasized from the beginning

  7   is we want to offer real value in everything we do to our

  8   customers and one of the most important metrics that we need

  9   to follow is we want engagement and so one of the things I got

 10   from people inside our company as well as sometimes investors

 11   is, boy, it looks like your costs are going up, engagement is

 12   going up and what I say is that's terrific because that means

 13   our customers are seeing value in the rewards program and our

 14   merchants are benefiting from the increased demand.

 15   Q     Now, are you familiar with provisions in the American

 16   Express agreements with its merchants that are called

 17   non-discrimination provisions?

 18   A     Yes.

 19   Q     From your vantage point, what is the purpose of those

 20   provisions?

 21   A     What is absolutely critical and fundamental when I talked

 22   about our brand and trust, the most damaging thing that can

 23   happen to the American Express brand is when our cardmember is

 24   discriminated against at the point of sale.

 25   Q     Why is that, sir?



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  1   A     Because we've made a promise and we've told them that

  2   they will receive welcome acceptance and trust, as I said

  3   earlier, is one of the most important attributes of our brand

  4   and has been for over 164 years.        So, welcome acceptance is

  5   the cornerstone of our business model.

  6   Q     You've described the business model of the company as a

  7   spend-centric model?

  8   A     Yes.

  9   Q     How is that distinguished from the basic model of your

 10   competitors, Visa and MasterCard?

 11   A     Spend is really the engine that drives our company and

 12   what I have consistently emphasized is the moment of truth is

 13   when our customer pulls their card out of their wallet and

 14   they use it.     So, spend really drives it.

 15                Now, as I mentioned earlier, our economic model is

 16   really based on spend which is fundamentally different from a

 17   bank card model which is based on lend and that's why I said

 18   earlier only 15 percent of our revenues are achieved from

 19   lending products but one of the points that I also make in our

 20   lending business and have made to investors when they've

 21   asked, well, what's the objective of lending, I said our

 22   objective is to get spend.       So, our orientation, our strategy

 23   is a differentiated strategy and is very different from a

 24   lendcentric model.

 25   Q     Do you track, does the company track the degree to which



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  1   your cardmembers tend to spend more at merchants than your

  2   competitor cardmembers do?

  3   A     Yes, that's a very important metric for us.

  4   Q     I'd like you to look in the book I've put up there at a

  5   document, the tab should be DX 7743.

  6               I'm sorry, I asked you for the wrong exhibit.         I

  7   apologize, my mistake.

  8               How, in your experience, does the level of spend of

  9   your cardmembers compare, I don't mean specific numbers but

 10   generally how does it compare to the amount that Visa and

 11   MasterCard members are spending on their cards with merchants?

 12   A     It is substantially higher on average than the amount of

 13   spending of Visa and Master cardholders.

 14   Q     Do you do anything -- you said you want your members to

 15   spend responsibly, you want people of means who are spending

 16   within their means; do you do anything to try to ensure that

 17   those are the cardmembers that you have?

 18   A     Yes, we have put together very sophisticated models that

 19   help us sort out those prospects that we believe will spend in

 20   a responsible way and will also be creditworthy and that was a

 21   very, very strong focus for us.

 22               (Continued on next page.)

 23

 24

 25



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  1   Q     And do you track your default rates, the rates of debt

  2   that are not repaid by your card members?

  3   A     Yes.    And we consistently have best performing credit,

  4   because of our focus, and that's not only on our charge credit

  5   card products, which, obviously, is the bulk of our portfolio

  6   in our business but also our lending products.

  7   Q     Let me turn to the merchants for a moment, since you were

  8   talking about the card member.       What sorts of services does

  9   American Express provide to the merchants who accept your

 10   cards?

 11   A     Well, we provide a range of services.        One, we provide a

 12   range of data services to them, because we can help them

 13   analyze their business and that is very, very critical.            So,

 14   for example, with airlines, we might help them on their route

 15   structure from the analysis that we're able to do.          With

 16   restaurants, we have been able to help them basically focus on

 17   where would be the best places to open up restaurants.             So

 18   what's critical is that the analysis that we're able to do for

 19   them is important.

 20                Second thing we do is we work with them in a range

 21   of targeted marketing programs, and this is where we can

 22   really bring the closed loop to life, and we can model out and

 23   say people who have had purchases in certain merchandise

 24   categories have a propensity to purchase more in other

 25   categories.    Or to say you're selling items in this category,



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  1   the capacity of this customer to buy more is actually higher.

  2   What I would emphasize is we do not give out any personal

  3   information or data.      So this is done by looking at like types

  4   of customers and segments, but from a targeted marketing

  5   standpoint, we're able to do a range of marketing promotions

  6   for our merchants.

  7                Third is in the area of fraud management, and I

  8   think, clearly, everyone knows that fraud in our society, in

  9   our overall economy, is a major problem.         Billions dollars are

 10   lost due to fraud.     And because of the closed loop that we can

 11   connect the merchant data and the card member data, that gives

 12   us unbelievable insights into where that fraud takes place,

 13   and so I think what we're doing is helping the economy

 14   overall, whenever you reduce fraud losses.         What's also

 15   important is it's helping our merchants and it's helping our

 16   card members.     And our fraud loss rates are 50 percent less

 17   than Visa and MasterCard.

 18                Another area that's important for us is that we have

 19   client relationship managers, and what their task is -- and

 20   these are several hundred people.        Their task is to work very

 21   closely with merchants to understand what are their business

 22   needs?    What are their marketing needs?       How can we help them

 23   grow their business?      And to have a dedicated group that will

 24   really understand what the particular needs are of larger

 25   merchants.



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  1               And the last one would be the point that I made

  2   starting off, is the opportunity to affiliate with our brand,

  3   because our brand does stand for something, and it says to our

  4   card members this is a place that you can feel comfortable

  5   going to; Amex is behind it, is supporting it.          And it's also

  6   helpful to the merchant in attracting customers who are using

  7   our products and the benefits we have provided them.

  8   Q     Saving with the benefits to merchants for another few

  9   minutes, do you have a program called "Smart Offer"?

 10   A     Yes, we do.

 11   Q     Would you describe that to the Court, please?

 12   A     That is a very, very exciting program, where what we've

 13   done is really harness the elements of the closed loop from a

 14   digital and technology standpoint that benefits merchants and

 15   card members alike.      So let me just give you a few examples

 16   and just talk briefly about how it works.

 17   Q     Uh-huh?

 18   A     So, for example, we did a program with Whole Foods.          And

 19   the way this program works is that you opt in, meaning you

 20   register to come in; and based on your activities and your

 21   spending categories, we actually can work with the merchant to

 22   then personalize the offer.       So if you think about this, the

 23   amount of marketing dollars that you got to do in a

 24   scattershot manner, we actually can personalize those

 25   marketing messages.      So that's the first key point.



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  1               So in the case of Whole Foods, they wanted to build

  2   traffic into their stores, and so -- but they wanted to target

  3   it, so there are different options.        You can say I'm going to

  4   invite everyone to come in; that's going to be pretty costly.

  5   Or I'm going to target the program.        So we targeted the

  6   program.    And the way it worked is if you went to Whole Foods

  7   three times, you got $50.       But here was the benefit of the

  8   closed loop and the digital capabilities that we put in:            One

  9   is the card member didn't have to carry a coupon.          It was

 10   coupon less.

 11               We could alert them to the offer on their mobile

 12   phone but they could forget about it.        But if they went to

 13   Whole Foods, made their purchase, were there for three times,

 14   nothing had to happen at the cash register.         For the merchant,

 15   they didn't need to train anyone.        The cash register didn't

 16   have to know.     The cashier didn't have to know at all.        So if

 17   you think about the cost of training, the marketing expense

 18   and being able to target that, all that happened was the card

 19   was swiped.

 20               The intelligence then went into our system because

 21   we have to authorize the charge, right, and we have this

 22   interdependency between the merchant and the card member.            We

 23   would send an alert, often to the card member.          Maybe the card

 24   member forgot.     It then shows up on the statement.       So this is

 25   a real example of harnessing the value and the capabilities of



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  1   the closed loop.

  2                We've recently done an offer with Best Buy.        You

  3   spend $250, you get $25 back.       Works the same way.     We had an

  4   offer with JCPenney; you spend $50, you get $10 back.           So

  5   what's critical for anyone who's engaged in marketing, the

  6   more segmentation and targeting you can do, the more you can

  7   be personal, you're then not only saving money, you're

  8   creating a stronger relationship with that customer.           That

  9   customer is saying that's giving value.         The benefit to the

 10   merchant is that it's seamless.       They don't have to change

 11   their processes and procedures, their POS terminals, it just

 12   happens.     And other merchants benefit, so it's not just Whole

 13   Foods, or Best Buy or JCPenney that gets the benefit, the

 14   savings that the card member has incurred, they now have

 15   increased discretionary money to spend in a responsible way.

 16   Q     Let me go back just for a moment to the consumer side.

 17   In addition to rewards, you offer other benefits to your

 18   cardholders' card members, correct?

 19   A     Yes.

 20   Q     So just very briefly for the Court, purchase protection,

 21   travel protection, what are those?

 22   A     Purchase protection is that if you buy an item, its

 23   stolen or damaged, up to 90 days from the time that you bought

 24   that item, you can get it returned or repaired.          So it enables

 25   the customer to shop with a level of security and is viewed as



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  1   a very, very positive benefit.       Travel protection works very

  2   much the same way.

  3   Q     Now, all of these benefits you've been describing, both

  4   to the consumers and to the merchants, I take it that there

  5   are costs associated with those for the company; is that fair?

  6   A     Absolutely.

  7   Q     Why do you spend all that money on these benefits?          Why

  8   not just process the transactions, collect your fee from the

  9   merchants, and score it up as profits?

 10   A     You clearly need to focus on what I was saying; that we

 11   have a differentiated business model that is an integrated

 12   payments model.     What is absolutely essential to make this

 13   work is the chicken and the egg.        I need to, in fact, have

 14   customers who will use my card product at the merchant.           I

 15   need to generate spend for the merchant, because that helps

 16   them grow their business.       And if I'm doing that, I'm offering

 17   the merchant more value and the card member is being welcomed

 18   in that merchant.

 19               So for us, this is a virtuous circle, that it is

 20   absolutely essential that I'm meeting needs of this

 21   interdependent group.      They can't survive without each other,

 22   in my model.     I've got to take care of the card member, and

 23   I've got to take care of the merchant for it to work.           And

 24   I've got to fund that, because I'm not running just a one-line

 25   business, I'm running an integrated business with a



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  1   differentiated business model.       And as I said earlier, what's

  2   driving our model is spend, responsible spend on the part of

  3   our card members.     So I got to meet the needs of my card

  4   members and my merchants.

  5   Q     Now, there's been some talk here at the trial, some

  6   testimony about the fact that your merchant fees, your

  7   discount rate is typically set as a percentage of the amount

  8   of the transaction at the merchant, correct?

  9   A     Yes.

 10   Q     And so some of the testimony's been, well, if there's

 11   inflation and the merchant prices go up, then you collect more

 12   money because you're getting a percentage of the total

 13   transaction price.     Do you understand that?

 14   A     Yes.

 15   Q     What happens to the costs that you're incurring -- for

 16   rewards, fraud protection, travel protection, purchase

 17   protection, targeted marketing for the merchants, all the

 18   programs you talk about, if the inflation is it driving up the

 19   merchant prices, what's happening to your costs?

 20   A     My costs are going up.      That's the reality; my costs are

 21   going up.    And here's the other point:       We're in an intensely

 22   competitive environment, so clearly with inflation, my costs

 23   go up.    But I'm not operating in a vacuum, I'm operating in an

 24   intensely competitive environment.

 25   Q     Could you just fund all of your rewards and your



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  1   different programs by money you collect on the card member

  2   side of the business?

  3   A       No, I've got an integrated model that -- what I can't do

  4   is say -- I can take an action on one lever and it doesn't

  5   matter to the other, it matters to the chicken or the egg,

  6   what I do.    And so the thought that I could implement a

  7   strategy on one part of the business would destroy my ability

  8   to continue to fund the investments needed to drive my

  9   differentiated business model.

 10   Q       Based on all of your years in the company, Mr. Chenault,

 11   is American Express a must-carry card?

 12   A       We are an a discretionary card.     We do not have the

 13   ubiquity and the size of Visa and MasterCard.          You ask me how

 14   many bank card issuers we have.       We got 9.    They got 10,000

 15   plus.    They got a billion cards.      I got fewer than 55 million.

 16   They got 9 million merchants.       I got around 6.     I mean, I am

 17   dwarfed, so we are swimming in a sea of bank cards.          So the

 18   reality is that a merchant who wants to be in business and

 19   offering plastic has zero choice but to accept Visa and

 20   MasterCard.    They are not in business.

 21                A customer knows, if I'm going to use plastic, I got

 22   to have MasterCard and Visa.       What I have to do is I have to

 23   persuade a merchant and persuade a customer that they should

 24   carry our card.     The way I do that is the way companies in

 25   many industries operate, is I offer a differentiated product



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  1   and service.     And my job is to convince them, and to deliver

  2   on this, better value; because they are not required to use

  3   me, and that is a fundamental difference between MasterCard

  4   and Visa and us, is any merchant will tell you, if I want to

  5   be in business accepting plastic there is no choice but to

  6   accept MasterCard or Visa.       When it comes to us, there's a

  7   choice, and that is in evidence by the fact that there are 3

  8   million merchant locations out there that have said we're not

  9   going to accept American Express.

 10   Q     Now, I'll come to this a bit later, but we've heard

 11   testimony, including testimony this morning, that, yeah, there

 12   may be 3- or 4 million location that's accept them and not

 13   you, but they're all small and they don't really matter.           Do

 14   you agree with that?

 15   A     Absolutely not.

 16   Q     If you know, what -- approximately what percentage of

 17   your customers are so-called small customers, that is, your

 18   current merchant customers are so-called small merchants

 19   today?

 20   A     98 percent, so they're the same size.        And the reality is

 21   that 98 percent of the total of our merchants represent the

 22   same size.    So the reality is that those merchants have

 23   clearly decided; they have freedom of choice, that they're not

 24   going to accept us.      And those merchants matter because

 25   coverage matters.     Perception of coverage is very important.



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  1   Q     We'll come back to that.      When you say that the

  2   98 percent of your merchants are the same size, same size as

  3   the ones who don't accept you?

  4   A     Yes.

  5   Q     We'll come back to the merchants who don't accept you.

  6   Let me ask you to look -- I hope I got this one in the book.

  7   PX -- PXs are further down in the book than the DXs.           PX2528,

  8   I think it's the last document in your book.

  9   A     Yes.

 10                 MR. CHESLER:   Your Honor, I believe this is already

 11   in evidence and came in during Mr. Silverman's testimony.

 12   Q     What is this -- starting on the second page, titled "U.S.

 13   Consumer Services Strategy and Product Update from

 14   November 2013," what is this?

 15   A     It's an update on the Consumer Services Strategy and

 16   Product Update, and I frequently get updates of this nature on

 17   the business.

 18   Q     And if you look at the cover page, the e-mail on the

 19   cover page, on the subject line toward the top it says "Final,

 20   November 7th, Ken," deck.       Are you the Ken that's referred to

 21   there?

 22   A     I'm sorry.    I was looking at the page after.

 23   Q     Yeah.

 24   A     So this is the e-mail to me.

 25   Q     Yes.    Are you the Ken that's referred to --



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  1   A       Yes, I am.

  2   Q       Okay.    Now, would you look at slide five, please, in this

  3   deck.    That's the page that has a Bate's number that -- stamp

  4   number at the bottom that ends 203?

  5   A       Yes, I see it.

  6   Q       So this one is entitled "Chase," correct?

  7   A       Yes.

  8   Q       Chase's strategy.    And the first bullet says "Chase is

  9   copying our playbook, making inroads in penetrating the

 10   affluent segment while growing overall spend share."

 11                   I take it Chase refers to the Chase Bank?

 12   A       Yes.

 13   Q       And they're an issuer?

 14   A       Correct.

 15   Q       On what networks does Chase issue cards?

 16   A       On MasterCard and Visa.

 17   Q       And what does it mean when you're told that they're

 18   copying your playbook?

 19   A       What we have clearly seen, particularly after the U.S.

 20   Government brought their case is --

 21   Q       Which case?

 22   A       This was the U.S. Government against Visa and MasterCard

 23   in 2000 that I was actually asked to testify in by Joel Klein.

 24   And one of the key points was that if we were allowed to issue

 25   cards with banks, the Justice Department felt very strongly



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  1   that even though we were a small player that we would be able

  2   to dramatically change the competitive marketplace, and that

  3   there would be more competition and innovation in the

  4   marketplace.     What has happened is that the bank cards have

  5   become more competitive, but what also happened is that Visa

  6   and MasterCard increased their interchange rates to, in fact,

  7   enable the banks and encourage the banks to offer rewards and

  8   premium products.     So this model that you reference that we

  9   use, they said we've got to replicate that model, and we need

 10   to, in fact, replicate Amex's strategies so that we can gain a

 11   position in the affluent segment.

 12                MR. CHESLER:   Your Honor, I think we have to switch

 13   the system over.

 14                THE COURT:   Oh, sure.

 15                MR. CHESLER:   Thank you, your Honor.

 16   Q     Now, is Chase the only issuer that is copying your

 17   playbook, Mr. Chenault?

 18   A     A number of issuers are copying our playbook.         I think it

 19   is very, very clear that our strategies and tactics are being

 20   replicated by a number of players, not just the bank cards but

 21   MasterCard and Visa.

 22   Q     And when it says they're making inroads and penetrating

 23   the affluent segment while growing overall spend share, are

 24   they growing spend share only among affluent segment or more

 25   generally?



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  1   A     Both.

  2   Q     Now, were the bank issuers competing in this way, copying

  3   your playbook, back in the '80s and '90s, before the

  4   competition among issuers started?

  5   A     No, it was not in this way at all.        In fact, exactly what

  6   Joel Kline and the Justice Department said would happen, that

  7   as a result of Amex being able to work with the banks, because

  8   of the elimination of the exclusionary rule, that there would

  9   be a tremendous level of procompetitive activity that would

 10   benefit the consumer.      And he made it very, very clear to me,

 11   when he said we're not doing this for your company at all,

 12   this has nothing to do with your company, we're doing this for

 13   the market place and the consumer.        And we believe, though,

 14   that Amex can play a primary role in driving competition, even

 15   as a small player against the dominant networks.          And history

 16   would serve him well here.

 17   Q     Let me ask you to turn to slide 17 in the same document,

 18   please.    That's at the page that ends 215.

 19   A     Yes.

 20   Q     So this one is entitled "Becoming a more inclusive

 21   brand."    It says we have an opportunity to unlock growth while

 22   becoming a more inclusive blunt brand.         Then there are

 23   subheadings, financially underserved, mass affluent and

 24   affluent.     Do you see that?

 25   A     Yes.



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  1   Q     So what is this referring to with respect to the

  2   financially underserved and the references -- one references,

  3   for example, the Blue Bird at the bottom of that side of the

  4   chart?

  5   A     I think what is very important -- and if you permit me,

  6   it might be useful to go back in a little bit of history on

  7   the company.     One of the points that I emphasized is that we

  8   have through our history been focused on a range of customers

  9   segments.    And if you think about the traveler's check

 10   business, that was a business that I've emphasized in our

 11   company that had no income requirement at all, and it played a

 12   major role in building our brand.        It was also a product that

 13   was built on trust.      Clearly you needed to have trust to carry

 14   around a financial instrument that you thought people would

 15   accept and would make good on.

 16               And what's exciting about Blue Bird, which Blue Bird

 17   is our co-branded product with Walmart and Serve is that there

 18   are 70 million Americans who are unbanked.

 19   Q     What does that mean, unbanked?

 20   A     Meaning they do not have a checking account.         And so we

 21   believe that this is a group that is underserved by existing

 22   institutions.     If you have a -- if you don't have a checking

 23   account, you pay several hundred dollars a year just to get

 24   basic services.     And what we said is -- we said we've got a

 25   differentiated business model.       We have got this closed loop,



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  1   and we can offer a more attractive product financially.           So we

  2   dramatically reduced the fees on these reloadable prepaid

  3   cards.    But what we also did was we put this product also on a

  4   digital mobile platform, so you can operate it like a physical

  5   card.    You can also operate it on your mobile phone.         And

  6   what's important about this is -- the term that we've coined

  7   is, "It is expensive to be poor in this country."

  8               So we're focused on financial inclusion, and we

  9   believe very strongly that we have products and services --

 10   and the Blue Bird product and the Serve product are products

 11   that we are making substantial investments in to provide

 12   capabilities and services.       Now, what's important, just to

 13   give you one example, is that you've got to pay an exorbitant

 14   amount to cash a paycheck, and for that privilege of paying an

 15   exorbitant amount, you just go to Bed-Stuy, you go up to the

 16   Bronx and you can wait online for 45 minutes on a Friday.            And

 17   we've had our executives do that so they, in fact, could

 18   understand the experience that these people were going through

 19   and are going through.

 20               Now, what we can do is not just meet some of their

 21   basic financial needs of helping them pay their bills; they

 22   can load their paycheck in, is they can now use this card on

 23   the Internet.     They were deprived because they could not

 24   qualify for a credit card.       Now, the option for us on the

 25   other side was to say we're going to get into the subprime



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  1   business and offer exorbitant interest rates to these

  2   customers.      Some of them wouldn't be able to qualify for that

  3   card.    And what's important here is this is totally consistent

  4   with our spend-centric strategy, because we're giving

  5   customers the right type of product for their needs.           So this

  6   customer's getting excellent customer service, purchase

  7   protection that you mentioned.       This customer's getting that

  8   also because we value the needs.

  9                  Now, they're not getting all the services that we

 10   would give a Centurion card member, because that economic

 11   balance is not going to work, but we're making a fundamental

 12   difference in their lives, as we are serving the mass affluent

 13   and we're serving affluent customers.        And I believe very

 14   firmly that our company, American Express, must have products

 15   and services that meet a range of customers' needs, and we're

 16   very excited about what we're doing with serving people.

 17   Q       Generally speaking, how does the merchant fee -- when a

 18   customer uses a Serve Card, for example, to do a transaction,

 19   how does that fee compare to a fee on the traditional Amex

 20   Cards?

 21   A       It's lower.

 22   Q       Substantially lower?

 23   A       Yes.

 24   Q       Would you look at slide 39, please.      That's page 237, the

 25   same document.      The title says "Reinvigorating platinum value



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  1   approach and tactics."      Do you see that?

  2   A     Yes.

  3   Q     What does platinum value mean?

  4   A     Platinum value means the services and the benefits that

  5   we have on the Platinum Card.

  6   Q     And why were you focusing on reinvigorated that value?

  7   A     Because what was happening, as we just talked about, is

  8   that our strategies and tactics were being replicated.           As a

  9   result of the Visa MasterCard increasing their interchange

 10   rates, the bankrupts were, in fact, increasing their funding

 11   and investment in coming out with services to compete with us.

 12   So whether it was reward programs or other types of benefits

 13   and services, literally, you could go through our playbook, as

 14   Josh indicated in his deck, and they were just taking the

 15   pages out.    But they were also funding those investments

 16   largely from the increase in the interchange rates.

 17   Q     Now, in -- on the merchant side, we've talked about Chase

 18   and other issuers taking your playbook or taking pages out of

 19   your playbook on the card member side, the consumer side.

 20   Have they been trying to duplicate features of your closed

 21   loop on the merchant's side?

 22   A     Yes.   The reality is that they have been active in

 23   building up capabilities in trying to buy companies that can

 24   perform some of the analysis or develop some of the

 25   capabilities that will allow them to do more targeted



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  1   marketing; that will allow them to provide certain services

  2   that are very similar to what we do.        From a client

  3   relationship standpoint, I talked about we had a I group,

  4   well, they all of a sudden created dedicated groups working

  5   with merchants, so, again, exactly what Joel Klein and Justice

  6   Department said would happen.       There was more competition at

  7   the -- with the networks, and there was more competition at

  8   the bank card level, and consumers really got far more

  9   benefits.

 10   Q     Before we go to another topic, let me just pick up on

 11   your comment about Mr. Klein.       You mentioned that you

 12   testified as a government witness in U.S. V. Visa; is that

 13   right?

 14   A     Yes, I did.

 15   Q     And were you prepared through your testimony before you

 16   came to court to testify?

 17   A     Yes, I was.

 18   Q     And in the context of that preparation, did you have

 19   direct face-to-face conversation, one or more, with then

 20   Assistant Attorney General Klein?

 21   A     Several.

 22   Q     What, if anything, did he tell you about your role or the

 23   significance of American Express testifying in that case?

 24   A     What he said to me is -- he said, Ken, it's very

 25   important that you emphasize that American Express has a



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  1   differentiated business model, because it's important to drive

  2   more competition in the market place, and that is something

  3   that I want you to do, is tell the story.         Talk about your

  4   model, that it is different, because what's critical is to

  5   have increased competition and to have more innovation in the

  6   marketplace.     And he was particularly focused on making the

  7   market more procompetitive, but it was also very focused

  8   because he said I believe that there are going to be more

  9   changes in technology, and so it's going to be critical that

 10   that competition in the market be more open.         And so he asked

 11   me to really emphasize those points.

 12               MR. CHESLER:    Your Honor, I'm going to move to a

 13   different topic.     May we take five minutes?

 14               THE COURT:    Why don't we take a ten-minute break.

 15                          (Recess in proceedings)

 16               THE COURT:    Please be seated.

 17               Let me just say it's a pleasure to have Mr. Chenault

 18   in my courtroom today.      He is a person of great stature in our

 19   city and irrespective of the issues in this case, which are

 20   being aggressively litigated, sir.

 21               THE WITNESS:    That's what I understand.

 22               THE COURT:    You know, the fact is that quite

 23   independently of all that, it's a pleasure to have you here.

 24               THE WITNESS:    Thank you, your Honor.      It's a

 25   pleasure for me to be here.



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  1                THE COURT:   Well, I don't know about that.

  2                THE WITNESS:   I can think of other things I might

  3   do, but --

  4                THE COURT:   There goes his veracity.      Only kidding.

  5   Go ahead.

  6   Q     Mr. Chenault, just one clean-up question on the subject

  7   we were just talking about, you talked about the Blue Bird

  8   product and the under-banked issue.        There was another product

  9   named on that chart called "Serve."        I want you to explain to

 10   the Court what Serve is, because you described your answer in

 11   terms of Blue Bird.

 12   A     Yes.   Serve is a reloadable prepaid card also that is

 13   meeting the needs of the under-banked.         And I think what's

 14   important to understand, just as with charge cards and credit

 15   cards, it's useful to have segmented products.          And so the

 16   Blue Bird product is a co-branded card with Walmart, obviously

 17   is available to anyone who wants to acquire it.          But what

 18   we're also doing with Serve is that that is a product that --

 19   we're working with a range of retailers in the U.S. right now,

 20   although we hope to expand on an international basis, that

 21   provide that product.

 22                And it really is broadly targeted at the

 23   under-banked and underserved.       And we believe similar to Blue

 24   Bird that it's meeting a real customer need and demand out

 25   there, and it's doing it in a way that is attractive to the



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  1   customer, from a pricing stand point, and also will generate

  2   us appropriate economics, so we think it's going to be a

  3   win-win.

  4   Q     Moving to another topic, do you, as part of your

  5   responsibility, track and have people inform you of America

  6   Express' share of spend in the United States and around the

  7   world?

  8   A     Yes.    As I said, spend, that's the engine for this

  9   company.

 10   Q     Let me ask you to look at Defendants' Exhibit 7789.

 11   A     I have it.

 12   Q     And are you familiar -- you see at the bottom of this

 13   chart, it refers to Nilson Report, are you familiar with the

 14   Nilson Report?

 15   A     Yes.

 16   Q     Your experience, the people at American Express use them

 17   to collect data about the industry?

 18   A     Yes.    That's an industry report that we review

 19   frequently.

 20   Q     You see that this chart is entitled "Amex's purchase

 21   volume share for general purpose credit and charge cards."

 22   And I just inform you these numbers do not include debit

 23   volumes, just so you know that.

 24                So I want you to focus on the left-hand side of this

 25   chart, particularly the years 1990 to 1995.         Do you see those?



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  1   A     Yes.

  2   Q     Now, according to this, the share of general purpose

  3   credit charge card volume for American Express in those years

  4   dropped by about a fifth of the whole business; is that

  5   correct?

  6   A     Yes.

  7   Q     So from 24 percent and change to a little over 19 percent

  8   during those 5 years?

  9   A     That's correct.

 10   Q     And, then, in the middle period, between those verdict

 11   dotted lines, from about '95 to 2003 it looks like it was

 12   essentially flat; is that consistent with your experience?

 13   A     Yes.

 14   Q     And then from 2003 on, basically to the last ten years or

 15   so, up through 2012, it's been climbing, more or less, as

 16   indicated there.     Is that also consistent with your

 17   experience?

 18   A     Yes.

 19   Q     You mentioned earlier that you have this GNS business,

 20   the business where banks are issuing cards on the American

 21   Express network, correct?

 22   A     Yes.

 23   Q     So as of today, about what percentage of America Express'

 24   share spend is due to the GNS issued cards?

 25   A     Around 1 percent.



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  1   Q       One percentage point?

  2   A       Point.

  3   Q       So, for example, if the 2012 number looks like

  4   26.4 percent, so if you deductible out the cards that are

  5   issued from the nine banks, it would be about 25 percent

  6   change?

  7   A       Yes.

  8   Q       Would you look at 7790 in your book?      Should be the next

  9   tab.

 10   A       Yes.

 11   Q       This says Amex's purchase volume share for general

 12   purpose credit and charge debit and prepaid cards, correct?

 13   A       Yes.

 14   Q       Also based apparently on Nilson Reports?

 15   A       Yes.

 16   Q       Now, this one shows a sort of steadily declining share,

 17   from about 24 percent in 1990, to less than 14 percent in

 18   2011.    Is that also consistent with your understanding, as you

 19   looked at and tracked the company's shares over time?

 20   A       Yes, it is.

 21   Q       When did American Express first enter the payment card

 22   business?

 23   A       In 1958.

 24   Q       And what was the company's first product, if you know?

 25   A       It was a charge card.    It was actually made out of paper,



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  1   and sort of had a white, sort of purple, coloring.

  2   Q     Was it targeted at some particular segment of the

  3   population?

  4   A     It was really targeted at the business traveler, and so

  5   it really had more of a business, travel and entertainment

  6   orientation.

  7   Q     And did American Express, from around that time, have

  8   nondiscrimination provisions in its agreements with accepting

  9   merchants?

 10   A     Yes.

 11   Q     Now, if the early days, I know this is before you got to

 12   the company, but I that I can take it you've made an effort to

 13   become familiar with the history of the card business through

 14   your 30-odd years with the company?

 15   A     Yes.

 16   Q     In the early days of the card business, did American

 17   Express have any competitors who were issuing charge cards?

 18   A     Yes, we had two major competitors.

 19   Q     Who were there?

 20   A     Carte Blanche and Diners.

 21   Q     Were those cards also targeted at particular segments of

 22   the business?

 23   A     They were targeted at the business traveler, and travel

 24   and entertainment category.

 25   Q     Were they also charge cards, meaning you paid in full



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  1   each month?

  2   A     They were charge cards, yes.

  3   Q     So none of the three company, at that time, was issuing

  4   any credit cards; is that right?

  5   A     No.

  6   Q     That's correct?

  7   A     That's correct, yes.

  8   Q     Were Diners Club and Carte Blanche cards at the time

  9   affiliated with banks?

 10   A     No, they were not.

 11   Q     So when, approximately, did Visa and MasterCard appear on

 12   the scene?

 13   A     They came on the scene in the mid '60s.

 14   Q     And were they, from their initial introduction,

 15   affiliated with the banks?

 16   A     They were really creatures of the banks.         Reality is the

 17   banks created and, if you will, owned Visa and MasterCard.

 18   Q     What happened to -- before the period picked up by these

 19   charts, what happened to America Express' share of spend after

 20   introduction of Visa and MasterCard?

 21   A     It went down.     The reality is that Visa and MasterCard

 22   spread like wildfire because they had access to all the banks,

 23   channels and capabilities.       So you open up a checking account,

 24   you got a card.     The reality is they were -- they were true

 25   creatures of the banks.



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  1   Q     Did they issue charge cards when they came into the

  2   business?

  3   A     No, they stated off issuing revolving credit cards and

  4   that's continued.

  5   Q     So how did American Express respond to the competition of

  6   Visa and MasterCard once they entered the business?

  7   A     I think, initially, they were still marketing their

  8   product in the T&E category, but then what you started to see

  9   is they started to go after some selected department stores,

 10   and moved slowly in some areas, but they were still primarily

 11   focused on the T&E category.

 12   Q     We heard about some department stores at which the judge

 13   apparently doesn't shop, some stores earlier you think you

 14   said yesterday?

 15                THE COURT:   Just one.

 16                MR. CHESLER:   One.

 17   Q     Do you remember any of the particular stores with which

 18   American Express had these targeted card programs?

 19   A     Yes.    And I may be off some years, very frankly, but

 20   Neiman Marcus would be one, possibly Saks Fifth Avenue might

 21   be another.    And so these tended to be more high-end, affluent

 22   retailers.

 23   Q     By the time you arrived at the company, 1981, how far had

 24   this strategy of expanding beyond the T&E segment gone?

 25   A     They'd made some movement into other categories, but I



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  1   wouldn't characterize it as substantial movement.

  2   Q     I think you testified earlier that when you came into the

  3   company, you were director of strategic planning; is that

  4   right?

  5   A     Yes.

  6   Q     What was the nature of your responsibilities in that job?

  7   A     It was a very, very, very small group.        At the time,

  8   actually the person who was running TRS at the time was Louis

  9   Gerstner.

 10   Q     TRS stands for?

 11   A     Travel Related Services.

 12   Q     That was the part of the business that had the cards?

 13   A     Yes.

 14   Q     This is Louis Gerstner, who went on to be the CEO of IBM?

 15   A     Yes.   And he formed a strategic planning group, and the

 16   focus of the group was to really work on strategies.           The way

 17   he characterized it to me when he hired me was that he wanted

 18   a few "catalytic agents of change," as he called it.           So the

 19   focus was to really drive and initiate different strategies

 20   for the company.

 21   Q     Now, in particular, with respect to this fact that the

 22   company was largely focused on the T&E segment and had made

 23   some, but not a lot, of progress expanding out, did you have

 24   any role, did you form any view, as part of the strategic

 25   planning function, about what to do on that strategic front?



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  1   A     Yes.

  2   Q     What was that?

  3   A     One of my concerns early on was that the company needed

  4   to focus on what I call "the spending needs of our customers,"

  5   and that it was a mistake to just focus on one category of

  6   spending, particularly with what was happening with Carte

  7   Blanche and Diners.      So you could see them becoming

  8   increasingly irrelevant, and my view, and let me be very clear

  9   here, it took several years for that view to gain some

 10   acceptance.    And, also, I would say, it was the view of

 11   several others that the company needed to expand its

 12   relevance.    And the way I would characterize that is really

 13   being more relevant in people's lives, and that was by meeting

 14   more of their spending needs.

 15   Q     So, specifically, what was it about going beyond T&E that

 16   would, in your view, make the product more relevant in

 17   people's lives?

 18   A     Because if the focus is spend and the focus is point of

 19   sale, you want your product being pulled out of the wallet

 20   more often; you want to be able to meet the spending needs of

 21   your customers.     And to, in my view, artificially say I'll

 22   only meet travel and entertainment spending needs, and, you

 23   know what, I don't care what else you do, to me seemed to be a

 24   very narrow way of thinking about the customer and the

 25   customer needs.



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  1   Q     So what did the company do to pursue this expansion

  2   strategy once it got traction within the company?

  3   A     There were several things that we did, and one back to

  4   this chicken and egg focus, was, one, to say we need to expand

  5   our acceptance outside of the travel and entertainment

  6   category and actually try to understand where the spending

  7   takes place so that we can meet the needs of our customers.

  8   So we've got to expand outside of the travel and entertainment

  9   category.    The second was to develop some services, and

 10   capabilities and products that would meet the needs of people

 11   who wanted to use a card product outside of the travel and

 12   entertainment category.

 13   Q     And during this period of expanding the base, was that

 14   when the Membership Miles Program was born?

 15   A     Actually, right before, in 1987, we introduced the Optima

 16   Card, which was a revolving credit card.

 17   Q     Was that the first one the company introduced?

 18   A     That was the first one that the company had offered.          And

 19   the focus there was, in keeping with -- in being more relevant

 20   in the lives of our customers, is it was important that our

 21   merchants see us; and if we're going into non-travel and

 22   entertainment categories, it's pretty critical that they see

 23   our brand and our considered being used.

 24               In 1991, we developed Membership Miles, and what was

 25   important about, again, the development of Membership Miles is



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  1   that at the same time, because of the interdependency of card,

  2   and merchant and chicken and egg, is we started to more

  3   aggressively expand into everyday spending categories; because

  4   if you're going to create what I talked about earlier with

  5   rewards, this virtual currency, people need to be able to use

  6   it.

  7   Q      And I think you said this before, but just so the record

  8   is clear, Membership Miles is what ultimately became

  9   Membership Rewards?

 10   A      Yes.

 11   Q      So the Optima Card comes along in the late '80s.         The

 12   Rewards Program begins in the early '90s.         Was there during

 13   this period of time a general expansion into merchants beyond

 14   T&E?

 15   A      Yes, we began very aggressively expanding.

 16   Q      How about the card member base?      Was that growing at the

 17   same time?

 18   A      We were growing the card member base.

 19   Q      In the early '90s, what was roughly the division, at that

 20   point, between charge volume at T&E merchants and charge

 21   volume at non-T&E merchants?

 22   A      Roughly 70 percent coming out of T&E merchants, 30

 23   percent everyday merchants.

 24   Q      What's that balance today, approximately?

 25   A      It's been, really, exactly reversed, so 30 percent coming



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  1   out of T&E merchants, 70 percent coming out of everyday

  2   merchants.

  3                THE COURT:   I'm sorry.    Is that -- say, charge

  4   volume, is that in terms of number of charges or in terms of

  5   volume expenses?

  6                THE WITNESS:    That would be purchase volume.

  7                THE COURT:   Purchase volume.     Dollars?

  8   A       Dollars, yes.

  9                THE COURT:   Oh, and I had a question.       There's been

 10   a lot of discussions about the different cards.           There's also

 11   a type of card that hasn't been discussed here.           Maybe you can

 12   tell me what that is.       The American Express Black Card what's

 13   that?

 14                THE WITNESS:    The Black Card --

 15                THE COURT:   Well, I've never actually seen one of

 16   those.

 17                THE WITNESS:    Your Honor, if you would permit me,

 18   this is mine, so I can't give it to you.

 19                THE COURT:   You can't give anything to me.

 20                MR. CHESLER:    There are lots of reasons why you

 21   can't give it to him.

 22                THE WITNESS:    This is a Black Card.     It's made out

 23   of titanium.     And what it has is a set of very specialized

 24   services, so concierge type of services.         So you can almost

 25   think of it as your personal aide, I like to say.          So it will



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  1   help you with travel; it has a number of benefits on it, and

  2   it is offered by invitation only to those customers within our

  3   franchise who, in fact, spend at a certain level.

  4                THE COURT:   I see.   I'm going to need a personal

  5   aide, at some point.      I'm not quite sure if that does it,

  6   though.

  7                THE WITNESS:   Well, after the trial, and

  8   everything's done --

  9                THE COURT:   I don't want to know.

 10                THE WITNESS:   Part of my job is to persuade.

 11                THE COURT:   All right.    Sorry I asked.    Let's move

 12   on.

 13   Q     In the same time period as this strategy was being rolled

 14   out, introduction of credit cards, introduction of Membership

 15   Miles Program, was there also an aspect to the strategy that

 16   involved technology?

 17   A     Yes, because back to the closed loop, which was very

 18   important and was also one of the areas that Joel Klein wanted

 19   me to focus on, was uniqueness of closed loop.          The

 20   information, the data, the analytics' capabilities were very

 21   important.    And what was essential was to continue to build on

 22   and innovate the information and data that we got across our

 23   integrated pavements model so we could continue to really

 24   build on this differentiated business model through the use of

 25   data and analytics.



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  1   Q     Was there a program launched in the '80s called Project

  2   Genesis?

  3   A     Yes.   It was it was launched in the '80s.        It was a very

  4   significant project that involved hundreds of people and had a

  5   very substantial cost to it.

  6   Q     And what was Genesis?

  7   A     Genesis was a project to really harness the information

  8   capabilities, the data from the closed loop, so that we could

  9   offer more powerful capabilities to merchants and also market

 10   in a more effective way to our card members, so really

 11   harnessing the power of the closed loop and having the

 12   information from the merchant and the card member, and being

 13   able to leverage that capability.

 14   Q     And is that the beginning of the systems that have

 15   allowed you to do things like the analytics you talked about

 16   before and the targeted marketing programs you talked about

 17   before?

 18   A     Absolutely.

 19   Q     Now did Diners Club and Carte Blanche pursue a similar

 20   strategy to beyond expanding between T&E?

 21   A     No, they stayed in the travel and entertainment category.

 22   Q     Where are they today in the marketplace, in terms of the

 23   hierarchy of the networks?

 24   A     They're irrelevant.

 25   Q     So let me turn -- as we move through the chronology a



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  1   bit, let me ask you to look again at Defendants' Exhibit 7789,

  2   please.    It's that a share chart?

  3   A     Yes.

  4   Q     Living through that first five years that's shown on the

  5   chart, '90 to '95, what was the reaction within the company to

  6   that experience?

  7   A     A pretty terrifying experience.       When you see the

  8   precipitous decline in market share, it was frightening.

  9   Q     Did you at the time have a view as to what was causing

 10   that decline?

 11   A     I think there were two fundamental things that were

 12   happening, and I would call it the "double choke hold."           As we

 13   were trying to grow, the exclusionary rules that Visa and

 14   MasterCard had put in, denying us the opportunity to work with

 15   banks, essentially constricted our air supply.          It's part of

 16   the growth.     And so it made it very difficult for us, because

 17   we did not have access to one of the most important areas of

 18   growth.    At a time when the payments industry was exploding,

 19   we were denied that opportunity.

 20                The second choke hold was We Prefer Visa.        Now, it's

 21   one thing, from a competitive standpoint to say Amex is not

 22   accepted, so that advertising campaign and they don't take

 23   Amex; but what We Prefer did, in fact, went to the fundamental

 24   strength and pillar that I talked about, of trust being part

 25   of our brand and the cornerstone of our model of welcome



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  1   acceptance.    It said I don't care what American Express says,

  2   merchants that accept American Express prefer Visa.          So that

  3   raised incredible doubt, because we had a position in the

  4   marketplace that you can trust American Express, and welcome

  5   acceptance was the cornerstone of that.         So that went to the

  6   core of our model.

  7   Q     Are you familiar in your -- in the course of your

  8   responsibilities with something known as "spillover"?

  9   A     Yes.

 10   Q     What is spillover, as far as your understanding?

 11   A     Spillover is exactly what it means, that it's not

 12   contained.    So if a merchant does not accept us, or suppresses

 13   us or says use another card, that spills over to other

 14   merchants.    And the card member then says, well, if it's not

 15   accepted here, I'm not sure it's accepted at other places.            So

 16   it is incredibly damaging because it's not isolated and it's

 17   not controllable, so the spillover can continue, and it is a

 18   serious, serious problem when that happens.

 19   Q     Have you actually experienced it, seen it in the business

 20   where you've been cut out of a particular areas or geographic

 21   areas that there is, in fact, a spillover effect, more

 22   generally, on spending volumes on cards?

 23   A     Absolutely.    Here's the point:     You can meet a

 24   substantial percentage of someone's spending needs, and then

 25   they go to a place and the card's not accepted; and they then



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  1   question the entire value proposition.         They question it

  2   substantially when that place says, well, I accept Amex, and

  3   then with We Prefer that raised substantial doubt on the part

  4   of our customers, so it was pervasive impact.

  5   Q     With respect to the first of those choke holds you

  6   mentioned, exclusionary rules, all these years later, in 2014,

  7   has the company recovered from the effects of those rules?

  8   A     Absolutely not.     I mean, the reality is that the

  9   inability to work with banks is shown in the fact that we got

 10   9.   9.   Visa and MasterCard have 10,000.       And the advantages

 11   of being the creatures of the banks have remained.          But,

 12   frankly, that wasn't enough, because just the threat of the

 13   lawsuit, the networks moved to the next level.

 14   Q     And what was that?

 15   A     And they came out with dedication agreements.

 16   Q     What are those?

 17   A     What those are, are the banks had to commit that a

 18   substantial percentage of their cards would be on the network.

 19   So while the case was going on, and even before, they were

 20   preparing for the contingency, well, if we lose, first of all,

 21   we got a major advantage.       We got decades of an advantage.

 22   But now with these dedication agreements we're going to lock

 23   it in so that if we the Justice Department prevails, Amex will

 24   have real difficulty signing up paying partners.

 25   Q     Has that been --



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  1               THE COURT:    Which case are you talking about now?

  2   Because we've had three different --

  3               MR. CHESLER:    We were talking about the exclusionary

  4   rules case, your Honor.

  5               THE COURT:    Exclusionary rules.

  6   Q     Has that strategy of the dedication agreements largely

  7   worked for the banks?

  8   A     It clearly has worked for the banks.

  9   Q     Now, in addition to those two choke holds you talk about,

 10   the exclusionary rules and the preference campaign, which

 11   we'll come back to, were there issues, at the time, between

 12   American Express and its agents over the level of your fees?

 13   A     Yes, we did have some issues.

 14   Q     And you remember something called the "Boston Fee Party"?

 15   A     Yes, I do.

 16   Q     What was that?

 17   A     The "Boston Fee Party," a number of restaurants actually

 18   revolted against the company in the form of cancellation.           We

 19   actually had one restauranteur -- there was a photograph, I

 20   remember, in the Boston Globe -- who put a knife through an

 21   Amex Card, and they were, in fact, complaining about the fees.

 22   Q     And that was about 1990, was it?

 23   A     In that time frame, yes.

 24   Q     What, if anything, did American Express do in response?

 25   A     We met with the restauranteurs.       We did several things.



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  1   One, is we reduced our merchant rates.         The second thing that

  2   we recognized is, from a messaging standpoint, we had not

  3   emphasized enough to the merchants the value that we brought.

  4   So the value story of the incremental spend that we can

  5   provide to them, that we needed to communicate that more

  6   strongly.    What we also recognized, back to the chicken and

  7   the egg, is we needed to bring out more products that would

  8   meet the needs of our card members and also increase demand

  9   for merchants.

 10             (Proceedings continued on the following page.)

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  1   DIRECT EXAMINATION (continued)

  2   BY MR. CHESLER:

  3   Q     Were there issues with other merchants other than the

  4   restauranteurs in Boston at the time?

  5   A     Well, as I said earlier, back to spillover, it spread

  6   into other areas and we had to deal with that and it also

  7   raised issues in the minds of a number of cardmembers relative

  8   to acceptance because when you have the articles that came out

  9   about the issues relative to acceptance, that certainly caused

 10   us problems.

 11   Q     Was one of the merchants that you had difficulty with in

 12   that same time frame as Disney?

 13   A     Yes, we had difficulty with Disney.

 14   Q     What happened there?

 15   A     Disney basically threatened if we did not lower our

 16   discount rate and if we -- even in any negotiation you have a

 17   lot of back and forth, but one of the ways that Disney derives

 18   substantial revenues is through sponsorships, and they

 19   basically said, you know, if you don't do the following, we're

 20   going to cancel you.

 21               Now, you can imagine at that time, we're coming off

 22   the Boston Fee Party.      Disney, marquee name, and we were

 23   terrified, and so we ended up doing a deal with Disney that,

 24   frankly from an economic standpoint, was not a good deal to

 25   do, but it was the right deal from an economic standpoint in


                                 Marie Foley, RMR, CRR
                                Official Court Reporter
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  1   the moderate to long-term because if we had lost Disney, the

  2   impact would have been far greater than losing the charge

  3   volume at Disney.     It would have spilled over and spread to a

  4   range of merchant categories.

  5               THE COURT:    Did you have a marketing agreement or a

  6   co-brand card with Disney?

  7               THE WITNESS:    No, we did not, Your Honor.       We did

  8   have a marketing deal, and as I said, part of what Disney did,

  9   it was not just a merchant acceptance deal, is they very much

 10   focused on sponsorships, and so when you go to Disney, you'll

 11   see all these different exhibits that are generally sponsored

 12   by a company, whether that's Hertz or Avis or an airline, and

 13   so we had -- we ended up agreeing to be a sponsor.

 14               THE COURT:    I see.    And that continues with Disney?

 15               THE WITNESS:    We do not have the same relationship

 16   with Disney.     They still accept the card, but they actually

 17   have, I believe still, a co-branded card with Chase.

 18               THE COURT:    I think you're right about that.

 19               THE WITNESS:    Yeah.

 20               THE COURT:    But you do have sponsorships with other

 21   merchants and other events, with events.

 22               THE WITNESS:    We do.

 23               THE COURT:    Like the U.S. Open Tennis tournament,

 24   for instance.

 25               THE WITNESS:    That's an example of a sponsorship.


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  1   We, in fact with the U.S. Open, we've had a long-term

  2   sponsorship.     We are not the top-tier sponsor, but I think

  3   we've put some very innovative programs in place where it

  4   works very well for us and works very well for the U.S. Open

  5   and works very well for our cardmembers.

  6   BY MR. CHESLER:

  7   Q     There was a suggestion in testimony earlier today that if

  8   you looked at a relationship between Amex and another

  9   particular merchant in the way in which one of the economists

 10   working on our side of the case looks at it, that it would be

 11   an unprofitable relationship and the witness testified earlier

 12   that therefore it couldn't possibly be the proper way to look

 13   at it because it would be unprofitable.

 14               Was the deal you made with Disney in order to avoid

 15   being cancelled that you were just talking about, was that a

 16   profitable or unprofitable deal if you looked at the deal that

 17   was struck at the time?

 18   A     It was an unprofitable deal.

 19               THE COURT:    It was unprofitable at the time

 20   financially, but it was the right business decision to make,

 21   is what you said?

 22               THE WITNESS:    Yes, Your Honor.

 23   BY MR. CHESLER:

 24   Q     Now, let me go back to the exclusionary rules case for a

 25   moment.


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  1               After that case ended, what happened to the

  2   interchange rates that Visa and MasterCard were charging?

  3   A     The interchange rates increased.

  4   Q     What happened to American Express's discount rates in

  5   that period, that is from the early 2000s up 'til today, the

  6   last decade or so?

  7   A     They came down and they've been coming down.

  8   Q     Now, there's been some discussion at the trial that one

  9   of the reasons that American Express rates have been coming

 10   down is mix of merchants.

 11               Has the mix of American Express's merchants, in

 12   fact, changed over time?

 13   A     The mix of merchants has certainly changed from the early

 14   '90s and mix has been an issue, but what we've also had to do

 15   is make a number of concessions to merchants, and so it's not

 16   just a mix issue.     So mix certainly contributed to the

 17   decline, but we also specifically have reduced discount rates

 18   in different categories and to different merchants and we've

 19   given bonus payments, and so that has contributed to the

 20   decline.

 21   Q     And when the discount rate comes down, whether it's a

 22   consequence of mix or the concessions that you've made in

 23   merchant negotiations or both, what happens to American

 24   Express's margin?

 25   A     Those margins are squeezed.       Obviously as we are trying


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  1   to satisfy both the chicken and the egg, we're have -- we have

  2   to continue to increase and improve the value proposition and

  3   the benefits to the cardmember and we have to do the same with

  4   the merchant.

  5   Q       And as your margin declines as a result of a lowering

  6   discount rate whether by mix or concessions or both, what

  7   happens to your ability, sitting in your seat, to be able to

  8   continue to fund those investments that you're talking about

  9   on the consumer side of the business?

 10   A       It becomes more challenging to fund those investments,

 11   but what's absolutely critical is that we're driving spend and

 12   that we're getting welcome acceptance at the merchants.           That

 13   becomes, and is, as I said from the beginning, core.

 14   Q       Let me ask you to turn to, we've talked about the

 15   exclusionary rules a bit, we've talked about the Boston Fee

 16   Party and your problems with Disney and some merchant issues

 17   you had at the time.      I want to come back to this "We Prefer

 18   Visa" issue that you mentioned before.

 19                  Would you look at Plaintiff's Exhibit 132, please,

 20   PX 132.    It's about two or three documents in the back of the

 21   book.

 22   A       Yes.   Does it start with "Visa USA Inc."?

 23   Q       Yes, that's it.

 24                  MR. CHESLER:   Your Honor, this document's in

 25   evidence.


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  1   Q     Now, Mr. Chenault, these are minutes of a Visa board of

  2   directors meeting held in 1989.         The document was produced by

  3   Visa in this case.       I'd like you to turn to page 3929 if you

  4   look in the stamps at the bottom.

  5                (The above-referred to exhibit was published.)

  6                MR. CONRATH:    Your Honor, I don't believe I've heard

  7   a foundation for this document, this document with this

  8   witness.     It's a Visa document.

  9                MR. CHESLER:    If I can have a few moments, Your

 10   Honor, I think I can demonstrate why it's relevant for this

 11   witness to testify about it.

 12                THE COURT:    All right.    Go ahead then.

 13   BY MR. CHESLER:

 14   Q     So 3929 is a page from this Visa document entitled "Amex

 15   Competitive Strategy Amex Success Cycle."

 16                Do you see it, sir?

 17   A     Yes.

 18   Q     So it's a circle, right, connected by lines, arrows?

 19   A     Yes.

 20   Q     It says at the top:      "Amex has real and perceived

 21   advantages."     And then down in the lower right it says:        "Amex

 22   charges merchants and consumers a premium."          And then over on

 23   the left it says:       "Amex invests the premium in advertising,

 24   systems, and services."

 25                Correct?


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  1   A     Yes.

  2   Q     Now, is that a pretty accurate description of what your

  3   business looked like in 1989 when this document was apparently

  4   prepared?

  5   A     Yes.

  6   Q     If you look at 3930, the next page, you see that they've

  7   put an X through the "Amex has real and perceived advantages"

  8   and stated next to it:      "Eliminate Amex's meaningful

  9   advantages."     And then down at the bottom there's an arrow

 10   that says:    "Breaking the success cycle will pressure their

 11   merchant discount and thus weaken their financial engine and

 12   encourage consumer preference for Visa and keep Amex as a

 13   niche product."

 14                Do you agree, Mr. Chenault, that if the success

 15   cycle were broken and the ability of American Express to

 16   provide meaningful advantages, as stated here, were to happen,

 17   that that would in fact have the results that Visa predicted

 18   or stated at the bottom of this page?

 19   A     That would destroy my business.        That goes back to what I

 20   discussed about our integrated differentiated model.           This

 21   goes directly at how we operate our business model and

 22   directly how we fund our differentiated business model.

 23   Q     If Amex had been kept as a niche product, what, in your

 24   view, would be the company's position as a competitor in the

 25   marketplace today?


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  1   A     We'd be irrelevant.

  2   Q     Would you be any more relevant than Carte Blanche or

  3   Diners?

  4   A     As I said, this would have destroyed our business model.

  5   We would have gone the way of Carte Blanche and Diners.

  6   Q     More broadly, as the chief executive of the company, what

  7   is your view of the impact that that would have on

  8   competition, not on your company as per say, but on

  9   competition more generally, were this strategy to eliminate

 10   the meaningful advantages, to break the success cycle, were

 11   that to succeed?

 12   A     It would be horrible.      It reinforced the reasons why Joel

 13   Klein asked me to testify and the Department of Justice

 14   brought the lawsuit against MasterCard and Visa.          Competition

 15   would have been stifled.      The only two players on the field

 16   would be Visa and MasterCard who were the creatures of the

 17   banks, and for consumers, the innovation that has taken place

 18   post-2000 has been enormous and the consumer has benefitted

 19   greatly.    We would have been living in a totally different

 20   world dominated by two players.

 21   Q     What about Discover?

 22   A     Discover has a three percent market share, and the

 23   reality is Discover is in a situation where they have more

 24   merchants and more cardholders than we do, and in my view,

 25   frankly, they have a flawed model because they have not


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  1   invested enough in differentiating their products and

  2   services.

  3   Q     What impact did the "We Prefer" campaign have on your

  4   business?

  5   A     It had a dramatic impact.      You saw the precipitous

  6   decline in market share and we were fighting for our survival.

  7   Q     Wasn't it just competition, I mean, kind of bare knuckles

  8   competition?

  9   A     It was certainly not bare knuckles competition.          As I

 10   said, this double chokehold of the exclusionary rule, which

 11   was totally anticompetitive, and as this chart demonstrates,

 12   they were trying to break our success cycle and our ability to

 13   fund our investments, and the way to do that, the way to do

 14   that is what I said at the beginning of my testimony is the

 15   most important attribute of our brand is trust and the

 16   cornerstone of that trust is welcome acceptance.

 17               MR. CONRATH:    Your Honor, I think we're now getting

 18   beyond what there was foundation for in talking about what

 19   Visa was thinking and I object.

 20               THE COURT:    All right.    Well, this document is in

 21   evidence.    What Visa was thinking is for Visa to say.         How the

 22   American Express Company perceived what they knew about it and

 23   what they did about it is appropriate.         So I'll allow it, but

 24   anything about conjecture about how the Visa executives at the

 25   time were posturing this in the marketplace or what steps they


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  1   took is something for them to say and not for this witness.

  2                Go ahead.

  3                MR. CHESLER:   Thank you, Your Honor.

  4                MR. CONRATH:   Thank you, Your Honor.

  5   BY MR. CHESLER:

  6   Q     Would you look at page 3874 in the Visa document, please.

  7   Do you have that?     3874 down in the lower right-hand corner of

  8   the page.

  9   A     Yes.

 10   Q     If you look up in the third, sort of second full

 11   paragraph on that page it says:        "We believe the bank card

 12   industry needs to recognize right now the threat the Project

 13   Genesis," I assume it means "that Project Genesis means to

 14   their long-term market share.       We believe the bank card

 15   industry needs to take action to counteract this threat

 16   immediately.     It is Visa's intention to take the lead in this

 17   process."

 18                You mentioned Project Genesis earlier and Genesis

 19   was already underway by the time of this document in '89,

 20   correct?

 21   A     That's correct.

 22   Q     And there had been public statements and reports about

 23   it?

 24   A     Yes.

 25   Q     Had Genesis been killed for lack of funding, for example


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  1   if your cycle of success had been broken, what, from your

  2   perspective, would be the impact currently in American

  3   Express's ability to provide competitive advantages to

  4   merchants as well as consumers?

  5   A     Our model would be destroyed because the reality back to

  6   the chicken and egg is we have to, in fact, have the ability

  7   to, first and foremost, the moment of truth is welcome

  8   acceptance.    So the investments that we've talked about,

  9   rewards, customer service, technology, are meaningless if in

 10   fact our card cannot be used at the moment of truth, at point

 11   of sale, and we cannot deliver on the promise of welcome

 12   acceptance.

 13   Q     Let me ask you to look at another document, sir,

 14   Defendant's Exhibit 7525.

 15                Do you have that, sir?

 16   A     Yes.

 17   Q     So this is entitled "TRS Market Research Department

 18   Executive Summary Report."       And it says a little further down

 19   "We Prefer Visa CM Impact Study."

 20                CM stands for cardmember; is that right?

 21   A     Yes.

 22   Q     This is dated September 1997.

 23                MR. CHESLER:   I believe, Your Honor, that this was

 24   also marked as Plaintiff's Exhibit 293.         I don't think it's

 25   been offered in evidence, but I just wanted the Court to note


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  1   that a document that I think is the same as this document was

  2   marked by both sides.

  3   Q     What is this document?

  4   A     This appears to be a executive summary report from our

  5   Market Research Department that summarizes some of the impacts

  6   of the "We Prefer Visa" campaign on cardmembers.

  7   Q     What did TRS stand for?

  8   A     Travel Related Services.

  9   Q     That was the part of the business that had the cards in

 10   it?

 11   A     Yes.

 12   Q     And if you look at the third page of the document, it has

 13   a number at the bottom that ends '383, there's a distribution

 14   list on this page.

 15                Do you see it?

 16   A     Yes.

 17   Q     And in the first group TRS executive, is that your name

 18   the fourth one down, K. Chenault?

 19   A     Yes.

 20   Q     So were you, in fact, an executive in the TRS business at

 21   that time?

 22   A     Yes.

 23   Q     And apparently a recipient of this document?

 24   A     Yes.

 25                MR. CHESLER:   Your Honor, I offer DX-7525.


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  1                MR. CONRATH:   No objection, Your Honor.

  2                THE COURT:   All right.    DX-7525 is received in

  3   evidence.

  4                (Defense Exhibit 7525 was received in evidence.)

  5   BY MR. CHESLER:

  6   Q     Would you look at the second page, the page opposite the

  7   one we just looked at which has a '382 at the bottom.

  8                Do you see that?

  9   A     Yes, I do.

 10   Q     And there's a heading in the middle of the page that says

 11   "Reactions to the We Prefer Message?"

 12                Do you have that section?

 13   A     Yes.

 14   Q     And I want you to go down to the second paragraph in that

 15   section, the one that begins "when faced with."

 16   A     Yes.

 17   Q     It says:     "When faced with this message at the points of

 18   sale (when they had planned to use the card) insistence

 19   remains high, but a fairly large percentage of spend is lost."

 20                There's a bullet under that that says:       "Over 70

 21   percent of CMs would still use their American Express Card.

 22   However, 21 percent of persons" - of personal, I think there's

 23   an L missing - "Personal/Gold/Optima CMs feel they would

 24   switch to another payment method."

 25   A     Yes.


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  1   Q     So from your vantage point at the time, it says 70

  2   percent of your cardmembers would still use the card, but 21

  3   percent of the Personal, Gold and Optima cardmembers feel they

  4   would switch, how significant was that to American Express in

  5   terms of its ability to be a viable competitor?

  6   A     That's enormous.     If you have that type of perception

  7   that builds and spreads, you're not going to have much of a

  8   business left.

  9   Q     How does it spread if it's 21 percent?           Why would it

 10   become more over time?

 11   A     Because as a cardmember, if I have doubt whether I can

 12   use the card, I keep it in my pocket, I don't pull it out, and

 13   so the effect is major because part of what you have to have

 14   on the part of a customer is they have to have a level of

 15   confidence that they can use the product, and if they have

 16   that doubt, that doubt builds, and the reality is that that is

 17   a very alarming number because that's just not a number that

 18   stays static, it builds, and it builds because of the doubt

 19   that is created in the customer's mind.

 20   Q     If you look at the next passage at the bottom of that

 21   page, it says:     "Visa's preference messages appear to affect

 22   our cardmembers perceptions of coverage.            Nearly 60 percent of

 23   cardmembers believe that these preference messages raise

 24   doubts in their minds on whether Amex is accepted."

 25               What is perception of coverage?          Is that a metric


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  1   that you use at American Express?

  2   A     Yes, and basically what it means is what do people

  3   perceive where the card can be used, and as I said earlier,

  4   that perception of coverage does not just go to a particular

  5   category or merchant.      It spreads.    So if I've got problems

  6   with coverage at a restaurant, that can spread over to retail.

  7   So it's not isolated and it's really got to be focused on very

  8   strongly.

  9   Q     So there's been some fair amount of testimony about words

 10   in this case: preference, prefer, sponsor, official.

 11               Based on all of your years of experience in the

 12   company, sir, is there any real difference among those words?

 13   What's all the reason for this attention on the word "prefer"

 14   or "preference"?

 15   A     Here's what's critical.      As I said earlier, the worst

 16   thing that can happen to the American Express brand is

 17   discrimination at the point of sale.        When we're offering,

 18   this is a fundamental cornerstone, welcome acceptance, that

 19   preference, "we prefer" from a merchant that has agreed

 20   contractually not to discriminate against us, when that

 21   merchant then says use another card, pardon my language, but

 22   what that says to the customer is that card's a piece of crap,

 23   I don't like it, use something else.        How do you think that

 24   customer feels?     And what that says is and that's what

 25   discrimination is all about is disparagement and denigration


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  1   and that's why it has a big difference.         If I'm a sponsor,

  2   everybody, you can be a sponsor.        That does not denigrate.

  3   That does not discriminate, but "we prefer," that

  4   discriminates against our card.

  5   Q     Now, you had these, you said before, the

  6   non-discrimination provisions had been in the merchant

  7   agreements all the way back perhaps as early as the late '50s,

  8   early '60s, right?

  9   A     Yes.

 10   Q     And there were provisions that said you can't express a

 11   preference for somebody else's card well before this campaign

 12   took place, right?

 13   A     Absolutely.

 14   Q     So what, if anything, did American Express do in response

 15   to the preference campaign with respect to these provisions

 16   that were already in the agreement and didn't prevent Visa

 17   from engaging in this program to begin with?

 18   A     What we said to the merchants is you cannot discriminate

 19   against American Express.       That is in violation of the

 20   contract and agreement that you signed and that Visa is

 21   encouraging you to discriminate and violate the contract and

 22   they're doing that obviously it was being done in favor of the

 23   dominant networks MasterCard and Visa.         So what was important

 24   for us is to remind the merchants that what they were doing

 25   was in violation of an agreement that they had entered into


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  1   freely, because as I said, we are a discretionary product,

  2   earlier in my testimony.      They are under no obligation, they

  3   don't need to operate their business accepting us, but they do

  4   need Visa and MasterCard, and they made a contractual

  5   commitment and they made a promise, and in my view of

  6   business, when you promise something, you need to keep that

  7   and that's how competition really can be generated.          I'm fine

  8   for merit-based competition, but violating an agreement that

  9   you have willingly signed and be encouraged by someone to

 10   discriminate cannot happen, and the impact of that, as I said

 11   earlier, is it negates all the investments that we made for

 12   cardmembers and merchants because we cannot provide welcome

 13   acceptance.

 14               THE COURT:    Mr. Chesler, are you going to go into

 15   how the cardmember insistence figures into this analysis and

 16   discussion?

 17               MR. CHESLER:    Yes.

 18               THE COURT:    Because I think we've had testimony

 19   about cardmember insistence and your measure of it and how

 20   that works in your discussions with merchants and so forth.

 21   So I was just wondering whether this was a good time, or are

 22   you going to go into it later?

 23               MR. CHESLER:    We are going to cover it a little

 24   later, if I may.

 25               THE COURT:    That's fine.


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  1                MR. CHESLER:   I plan to do that.

  2                THE COURT:   But I just point out that the issue of

  3   cardmember insistence also is, it would seem, part of the

  4   equation here, and so I'd like to hear about that.

  5                MR. CHESLER:   Yes, we fully intend to cover that

  6   with Mr. Chenault.

  7                THE COURT:   Okay.

  8   BY MR. CHESLER:

  9   Q       Let me ask you, sir, to turn to DX-7492.

 10                Do you have that one, sir?

 11   A       Yes, I do.

 12   Q       It appears to be a memo from John Hayes, David House and

 13   Tom Schick to Harvey Golub and Ken Chenault dated February 23,

 14   1998.

 15                Do you have that, sir?

 16   A       Yes, I do.

 17   Q       So you were a recipient of this memo?

 18   A       Yes, I was.

 19   Q       And if you recall, what was Mr. Hayes's job at the time?

 20   A       Chief marketing officer.

 21   Q       And Mr. House, what was he doing?

 22   A       He was president of Merchant Services.      We may have

 23   called it back then Establishment Services.

 24   Q       But it's the part of the business that dealt with the

 25   merchants?


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  1   A     That manages the merchants, yes.

  2   Q     And how about Tom Schick, what was his job?

  3   A     Tom Schick is head of Public Affairs, communications.

  4   Q     And what was Mr. Golub's job at the time?

  5   A     Harvey was chairman and CEO.

  6   Q     And you were what?

  7   A     I believe I was president and chief operating officer at

  8   that time.

  9                MR. CHESLER:   Your Honor, I offer 7492.

 10                MR. CONRATH:   No objection, Your Honor.

 11                THE COURT:   All right.    DX-7492 is received in

 12   evidence.

 13                MR. CHESLER:   Thank you, Your Honor.

 14                (Defense Exhibit 7492 was received in evidence.)

 15   BY MR. CHESLER:

 16   Q     If you look on the first page, the first bullet under

 17   "Premises" says:     "In the few markets in which Visa has

 18   managed to launch a preference campaign we have experienced a

 19   reduction in spending on our card products."

 20                Then if you jump down two bullets it says:        "The

 21   likelihood that we can continue to successfully combat these

 22   initiatives through a combination of moral suasion and

 23   political contacts is diminishing.        This is because of the

 24   growing number of markets Visa appears to be targeting for

 25   these campaigns and the increased financial incentives they


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  1   are offering."

  2               Do you have any memory of what kinds of financial

  3   incentives they were offering?

  4   A     Well, they were paying merchants to advertise in the "We

  5   Prefer" campaign.

  6   Q     Down at the bottom of this page it says:           "These

  7   developments are not only damaging in the short-term, but

  8   could lead to a disciplined concentrated attempt by Visa to

  9   surround us with a Visa-preferred world.            In one scenario,

 10   they could drop the "And they don't take American Express" tag

 11   line which has lost its potency in the face of our vastly

 12   expanded coverage and substitute Visa preference as their

 13   signature."

 14               Now, was it the sense of you and your colleagues at

 15   the time that your ability to have diffused the "They don't

 16   take American Express" campaign would not, in fact, be

 17   successful with respect to the "We Prefer Visa" effort?

 18   A     We thought that the "We Prefer Visa" effort had gained

 19   and was gaining substantial traction, and as I said before,

 20   because it was advocating discrimination against the American

 21   Express Card, it went right to welcome acceptance and would,

 22   in fact, destroy our model.

 23   Q     Would you look at the next page.        It says "Action Steps."

 24   The first bullet says:      "Our response should not involve

 25   market/merchant preference campaigns of our own since, 1, we


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  1   cannot afford to go they head to head in a bidding war with

  2   Visa in a multiplicity of markets, and 2, we ought not to

  3   abandon the moral high ground we now enjoy and which we can

  4   continue to lever."

  5                Was that consistent with your recollection of the

  6   reaction to what your responses should be?

  7   A       Absolutely.   I mean, we were competing with a monopoly

  8   that was, in essence, as I said earlier, a utility and there

  9   is no way financially we could compete with them in that way.

 10   There was no way, given their ubiquity, the power that they

 11   had that we could go tit for tat with them.

 12   Q       When you say that they're a utility, what does that mean?

 13   What do you mean by that?

 14   A       What it means is they're must-have.         There's no choice.

 15   If you are a merchant and you want to accept plastic, you have

 16   to accept MasterCard and Visa.       Now, there are a few, we all

 17   know there are a few who don't accept credit cards, but the

 18   reality is the vast majority of merchants, you can really

 19   count the ones who don't, anyone who accepts plastic knows

 20   they have no choice, no choice but to accept MasterCard and

 21   Visa.

 22                MR. CHESLER:   Your Honor, I'm going to move to

 23   another topic.     I just want to have a sense of what your plans

 24   are for the day.      How late do you plan to go today?

 25                THE COURT:   Unless the witness needs to leave at any


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  1   given time, I would go until something close to six.

  2               Is that acceptable?

  3               THE WITNESS:    That's acceptable to me, Your Honor.

  4               THE COURT:    All right.    Should we take a break or

  5   just keep going?

  6               MR. CHESLER:    Could we take five minutes, Your

  7   Honor?

  8               THE COURT:    Let's take a five minute break.

  9               MR. CHESLER:    Thank you, very much, Your Honor.

 10               (Recess taken.)

 11               (In open court.)

 12   BY MR. CHESLER:

 13   Q     Mr. Chenault, at the time of the preference campaign,

 14   Visa and MasterCard were owned by the banks; is that right?

 15   A     Correct, yes.

 16   Q     What, if any, advantages did that give them in their

 17   ability to or advantage in competing against you at the time?

 18   A     Well --

 19   Q     The fact that they were owned by the banks?

 20   A     Reality is you were dealing with a group that could act

 21   almost as one, and it really was at the end of the day a

 22   monopoly and a cartel and that's the way they operated, and so

 23   what you did not see is Visa competing with MasterCard,

 24   MasterCard competing with Visa.        They could really, if you

 25   will, gang up on a relatively small competitor and really


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  1   devote their resources to their own business.

  2               So certainly you had some competition amongst banks,

  3   but the reality is when you look at the level of competition

  4   that took place, the relative lack of innovation that was

  5   going on in the marketplace, it was sort of like they were

  6   just divvying up the world and, you know, we'll see how things

  7   go, but we're really running things.

  8   Q     Do you see a lot of competition between Visa and

  9   MasterCard today?

 10   A     The reality is I don't see a lot of competition between

 11   Visa and MasterCard today, and that is incredible when you

 12   think about the marketplace and the opportunities.          It doesn't

 13   seem that different to me from what we saw pre-2000.           There

 14   are obviously things they can't do, but you don't see Visa

 15   taking out advertising criticizing MasterCard or MasterCard

 16   criticizing Visa.     I just haven't seen much competition

 17   between them at all.

 18   Q     Are there any merchants that you're aware of that accept

 19   one and not the other of Visa and MasterCard?

 20   A     No.   That's why, as I said before, what's I think very

 21   important to understand when we discuss the lingering effects

 22   of the exclusionary rules, it really means what we're talking

 23   about are the lingering and lasting effects of the

 24   associations being creatures of the banks and the competition

 25   really doesn't take place, and for a merchant, you don't find


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  1   merchants that say 'well, I'm going to take Visa versus

  2   MasterCard.'     They know they are utilities, they're

  3   interchangeable.     'If I'm going to be in the business, it's

  4   going to be MasterCard and Visa.'        You don't have a

  5   cardmember, cardholder or a customer walk into a store and say

  6   "Do you accept MasterCard?       Do you accept Visa?"     They don't

  7   say that.    So there's no, there's really no competition that's

  8   going on.

  9               So you see competition at the issuer level.

 10   MasterCard and Visa may compete on some different deals and

 11   from a dedication agreement standpoint there's some

 12   competition, but if we look at what the essential elements are

 13   here and the lingering effects from a merchant acceptance

 14   standpoint, the merchant at the end of the day knows they got

 15   to accept both, they're interchangeable.

 16   Q     So let me ask you to look at Defendant's Exhibit 319 in

 17   the book.    It's way up toward the front.

 18               Do you have that, sir?

 19   A     Yes, I do.

 20   Q     It's entitled "Market Share.       The Will to Win."     It has

 21   your name on it.     Then it says:     "Establishment Services

 22   Worldwide Meeting Puerto Rico January 23, 1996."

 23               What is this document, sir?

 24   A     This is a speech that I delivered to the Establishment

 25   Services Group that we now call the Merchant Services Group,


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  1   and it was a meeting of the worldwide organization, so it was

  2   not just the U.S., this was a worldwide organization of

  3   Establishment Services.      That's the group responsible for

  4   managing the merchant relationships.

  5   Q     And what position were you in in the company in January

  6   of '96; do you recall?

  7   A     I believe I was vice-chairman of the company at the time.

  8   Q     Why did you give this speech?

  9   A     Because I was very concerned about the future of American

 10   Express and I wanted to get the organization together, and at

 11   this meeting, we not only had people from the Establishment

 12   Services Group, but we also had people from the Consumer Card

 13   Businesses, and I wanted to talk to them about the competitive

 14   challenges that they faced, the structural challenges that we

 15   faced as a company, and I wanted to talk to them about what we

 16   needed to do.

 17   Q     And during this period of time, January '96, were you

 18   facing the double chokehold that you referred to earlier?

 19   A     Yes.

 20                MR. CHESLER:   Your Honor, I offer Defendant's 319 in

 21   evidence.

 22                MR. CONRATH:   No objection, Your Honor.

 23                THE COURT:   All right.    Defendant's Exhibit 319 is

 24   received in evidence.

 25                (Defense Exhibit 319 was received in evidence.)


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  1               MR. CHESLER:    Thank you, Your Honor.

  2   BY MR. CHESLER:

  3   Q     Would you turn to page 8, please, which has a stamp Bates

  4   number ending '998?

  5   A     I see it.

  6   Q     At the top you say:     "Now I'm going to show you the root

  7   cause of my concern for our market share."          Then at the bottom

  8   the last bullet says:      "I'll tell you what's not debatable.

  9   We're behind and we're going to have to grow market share

 10   substantially in terms of charge volume and share of

 11   outstandings.     This is the game we are in for the Card

 12   business.    We must become more relevant in the marketplace by

 13   becoming more relevant in our customers lives.          We can't

 14   explain away our decline.       We must reverse it."

 15               What did you mean by becoming more relevant in your

 16   customers lives and in the marketplace?

 17   A     I think as I said earlier, spend is the engine that

 18   drives our business model and I thought it was very important

 19   to emphasize to people that we needed to grow and we needed to

 20   grow our share of spend and in doing that we would be more

 21   relevant in the lives of our customers.         We had to come out

 22   with products that met their needs.        We had to be innovative

 23   in the services that we developed, but we could not accept a

 24   decline in market share because I did not want us to go the

 25   way of Diners Club and Carte Blanche.


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  1   Q     Did you at the time feel the need to further

  2   differentiate your products?

  3   A     Absolutely.    What was essential is to communicate to

  4   people that to win in the marketplace we had to be more

  5   innovative, we had to be more aggressive, and we needed to

  6   invest to differentiate our business model even more.

  7   Q     Mr. Silverman testified the other day that in this

  8   market, this two-sided network effect market, as he described

  9   it, you either needed to be the biggest or the best.

 10                 Do you agree with that?

 11   A     I do.

 12   Q     You're not the biggest, right?

 13   A     We certainly are not.

 14   Q     So is the strategy to be the best to pursue this

 15   differentiated strategy in all of the closed-loop advantages

 16   and the customer programs that you've been talking about?

 17   A     Yes.

 18   Q     Why didn't you adopt a plan here like Discover apparently

 19   adopted to be the low-cost provider, just lower your discount

 20   rate so you're the cheapest option to the merchants?

 21   A     Because the reality is the chicken and the egg.          We have

 22   to fund the investments like rewards, like customer service,

 23   like technology so we, in fact, can deliver sustainable value

 24   to merchants and cardmembers, and I think that our

 25   differentiated business model has proven successful


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  1   particularly when you look at the situation of Discover, three

  2   percent market share.

  3   Q     Has their share been sort of consistent over the years?

  4   A     Yes.

  5   Q     Why not fund your differentiated product just on the

  6   consumer side of the business then in, you know, fees to your

  7   cardmembers, interest payments on their outstanding balances

  8   if they're revolving a balance?

  9   A     That goes against the integrated payments model that we

 10   have constructed.     The reality is that what you can't do in

 11   business when you are running a differentiated business model

 12   is simply say "I can make a change here" and it's not going to

 13   have an effect, a damaging effect elsewhere.         The reason why

 14   we have this model is because it has allowed us to

 15   differentiate ourselves in the marketplace, and we have to do

 16   that by meeting the needs of cardmembers and merchants, and

 17   that all comes together, all culminates at the point of

 18   welcome acceptance because the engine that drives us is spend,

 19   and that's what happens in a range of industries.          That's what

 20   differentiation is all about.

 21   Q     Do you have any examples, for example, from the computer

 22   industry of how that differentiation strategy works?

 23   A     I'll give you one example, and I think a very good one,

 24   with Apple.    You know, people forget.       I mean, they got an

 25   incredible market cap now, but people forget where Apple was,


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  1   and you remember when they came out with the Macintosh, people

  2   were saying, "Steve Jobs, you're crazy.         You can't offer this

  3   price."    And he said, "Wait a minute.       I'm focused on the

  4   functionality and design of the product.            I want a

  5   differentiated product in the marketplace."           There were a

  6   number of lower-cost competitors, but what he said, that is

  7   frankly not very different from what I said, is he said, "I

  8   want to be relevant in people's lives, I want to make a

  9   difference in their lives, and I want to provide real value."

 10                And so we're providing real value to cardmembers and

 11   merchants, but what you can't do is then say to Apple 'hey,

 12   wait a minute, why don't you just change this feature,'

 13   because that's running a business for a year or two.            I'm not

 14   running a business for a day or a week or a month.             I'm

 15   running a business for moderate and long-term success.               That's

 16   what I've been very clear about with our people, very clear

 17   about with our investors.

 18   Q     Let me ask you to turn to page 12 from your speech.              It's

 19   a page headed "Role of Establishment Services Worldwide in

 20   Growing Market Share."

 21                Do you have that page?

 22   A     Yes.

 23   Q     Going down to the second and third bullets you say:

 24   "Their growing market share is not something that's done in a

 25   vacuum.    Responsibility doesn't fall solely to card marketing


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  1   and advertising.     In fact, I would argue that responsibility

  2   for the most critical factors rests with the people in this

  3   room."    And you go on to say:     "Because while the

  4   competitiveness of our card value propositions is driven by

  5   many factors, welcome acceptance is the core promise of

  6   Payment Systems products.       Without welcome acceptance, the

  7   rest of our value proposition has only marginal value."

  8               Is it fair to say, sir, that this concept of welcome

  9   acceptance and the core promise wasn't something that was

 10   created by the company for purposes of using it in this

 11   litigation?

 12   A     I would have to be very clairvoyant to know that in 2000

 13   the U.S. Government would ask me to testify about our

 14   differentiated business model, that it would rest on the

 15   criticality of welcome acceptance.

 16               What this represents is what I started off in my

 17   testimony, that trust over 164 years is what is most important

 18   in our brand and welcome acceptance is the cornerstone, and I

 19   think I made it very clear that whatever we did in other value

 20   propositions, which were very, very important, made that very

 21   clear, very important, were meaningless unless we could

 22   deliver on welcome acceptance because that was the promise

 23   that we made to our cardmembers, that is the commitment we

 24   asked from our merchants and they agreed to, and that is the

 25   way that we fund our differentiated business model, and I


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  1   believed that way before 1996 and I believe it firmly now.

  2   Q     You remember we looked at that share chart and the market

  3   share, if you don't include debit, started to climb slowly in

  4   the, I think, 2003 period and by, I don't know, a year or so

  5   ago it was essentially where you had been 25 years before,

  6   correct?

  7   A     Yes.

  8   Q     You kind of went through a trough and over a 25-year

  9   period basically got back to where you had been in 1990.

 10                Is that fair?

 11   A     That is absolutely fair.

 12   Q     So why did it take so long, why was that climb back a

 13   decade long?

 14   A     The reality is, as I said, we were dealing with the

 15   double chokehold, just going through that trough, just

 16   staunching the bleeding took an incredible effort on the part

 17   of the entire company because you don't change these things

 18   overnight, and so we had to deal with the double chokehold, we

 19   had to invest substantial dollars in improving our value

 20   propositions to merchants and cardmembers, we had to make

 21   substantial investments in rewards, in customer service, in

 22   technology, but we were able to get through that period, but

 23   it took a tremendous amount of resilience, dedication, focus,

 24   and commitment of our organization.

 25   Q     If you had not been able to stop the preference campaign,


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  1   "We Prefer Visa," in your judgment, given your position in the

  2   company and your experience, would you have come out of that

  3   slump?

  4   A     We would not have come out.       I think I made it very clear

  5   in my speech and very clear in my testimony that welcome

  6   acceptance is at the core of our business model and without

  7   that we will not be able to continue to invest in a

  8   differentiated business model and it will be over.

  9   Q     Let me ask you to look at Defendant's Exhibit 3096,

 10   please.    I think it's the next document in the book.         This is

 11   entitled "U.S. Membership Rewards Ken Chenault shirtsleeves

 12   session June 13, 2006."

 13               Do you have that document?

 14   A     Yes, I do.

 15   Q     What is a shirtsleeves session?

 16   A     These are sessions where sometimes I get updates on

 17   business issues, sometimes we drill down on a subject,

 18   sometimes we have a deck, sometimes - meaning a presentation -

 19   sometimes it's more of a conversation on different issues.            So

 20   it's a way, in addition to the regular business meetings, that

 21   I have that I can spend more time on particular issues.

 22   Q     Who proposes the subjects for your shirtsleeves meetings?

 23   Is it you or members of the staff?

 24   A     It's mutual.    Sometimes I will say here are some subjects

 25   I would like to cover.      Sometimes the management team said --


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  1   says here are some subjects we would like to cover with you

  2   and review.

  3                  MR. CHESLER:   Your Honor, I offer Defendant's 3096.

  4                  MR. CONRATH:   No objection, Your Honor.

  5                  THE COURT:   All right.    Defense Exhibit 3096 is

  6   received in evidence.

  7                  (Defense Exhibit 3096 was received in evidence.)

  8   BY MR. CHESLER:

  9   Q       Let me ask you to turn to slide 3, Mr. Chenault, third

 10   page.

 11                  Do you have that?

 12   A       Yes.

 13   Q       It says "Executive Summary."       That's the chart we're

 14   looking at, right?

 15   A       Yes.

 16   Q       And the first bullet says:       "Despite its centrality to

 17   our results, we historically under-invested in maintaining

 18   Membership Rewards market leadership.           In the past two years,

 19   however, we significantly ramped up investing in improving

 20   Membership Rewards."

 21                  Now, is that consistent with your memory that

 22   beginning in about 2004 there was a significant ramp-up in the

 23   investments in the Rewards program?

 24   A       Yes.

 25   Q       Why in particular did it happen in that time frame?


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  1   A     Because what we saw is MasterCard and Visa, as I said

  2   earlier, had raised their interchange rates encouraging the

  3   banks to get more heavily involved in rewards and other

  4   products for the premium segment, and the competition was

  5   getting more intense because, as I said earlier, they were

  6   basically replicating our playbook, and it was, in fact,

  7   becoming almost an arms race in some areas and we had to ramp

  8   up our investment.

  9   Q     We talked earlier about the way you would incur costs,

 10   set up reserves, have to adjust the reserves when the

 11   redemptions take place.

 12                Do you recall that discussion?

 13   A     Yes.

 14   Q     Let me ask you to turn to the next slide, slide 4.

 15                You see this one is entitled "U.S. Membership

 16   Rewards Program Performance," right?

 17   A     Yes.

 18   Q     And you've got a column headed "2006F."

 19                Is that a forecast?

 20   A     Yes.

 21   Q     And then the column to the right says "2005."

 22                Are those actuals?

 23   A     Yes.

 24   Q     And then there's a comparison of the 2005 forecast with

 25   the 2005 actuals, right?


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  1   A     Yes.

  2                THE COURT:    The numbers are redacted.

  3                MR. CHESLER:    Yes, and I'm not going to have the

  4   witness recite the numbers in court, Your Honor.

  5                THE COURT:    Please remind the witness.

  6                MR. CHESLER:    Thank you, Your Honor.

  7   Q     There have been many, including myself, who have fallen

  8   afoul of that rule.       Let's see if we can get through this with

  9   a perfect batting average and not mention the numbers.

 10                There's one line on this chart "Ultimate Redemption

 11   Rate."

 12                Do you see that?

 13   A     Yes.

 14   Q     What does the ultimate redemption rate mean?         What is

 15   that a measurement of?

 16   A     That's our projection of the level of where we think the

 17   points will be redeemed.

 18   Q     And without stating the numbers, is it right that the

 19   forecast for 2006 showed an increase over the actual

 20   redemption rate for 2005?

 21   A     Correct.

 22   Q     And when you increase the ultimate redemption rate, what

 23   does that do to the reserves that you have to book for the

 24   cost of your rewards program?

 25   A     You have to increase the reserves.


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  1   Q     So even though the -- even though the rewards haven't yet

  2   actually been redeemed, so you haven't actually paid the

  3   airline for that seat or you haven't paid the vendor for

  4   whatever the product was that the customer bought with your

  5   reward points, you have to up the reserve even when you just

  6   change the estimate of the ultimate redemption rate?

  7   A     Yes.

  8   Q     And those costs, I take it, come off of your revenue to

  9   get to your income, right?

 10   A     Yes.

 11   Q     Lowers your margin?

 12   A     Yes.

 13   Q     Would you look at slide 6, please.        And again the numbers

 14   have been redacted here.      It's entitled "MR Expense 2006 to

 15   2009 LRP."

 16                What is LRP?

 17   A     Long range plan.

 18   Q     Without stating the numbers, what's the message of this

 19   chart?

 20   A     The message is that we had a substantial increase over

 21   that time period.

 22   Q     And again without stating the numbers, are the dollars

 23   that appear at the top of each of those blue bars in billions

 24   of dollars?

 25   A     Yes, they are.


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  1   Q     So those are billions of MR expense incurred or estimated

  2   to be incurred in each of those years?

  3   A     Yes.

  4   Q     Did the actuals come out to be relatively consistent with

  5   the estimates?

  6   A     Yes.

  7   Q     Look at slide 9, please.      It's entitled "MR Key

  8   Achievements January '05 to May '06."         It's a pretty busy

  9   chart.    I don't want to take the time to go through it all,

 10   but there's one that I would like to pause on for a moment.

 11                At the bottom of the chart where it says "Partner

 12   signings 2005," one of the merchants listed there is iTunes.

 13                What do your Membership Rewards have to do with

 14   iTunes?

 15   A     What I think is very important, it goes to the utility

 16   and the value of the program and this notion that I talked

 17   about of virtual currency, that you could redeem your points

 18   to buy songs from iTunes, and I think we all understand how

 19   popular iTunes are, and to have a redemption option that

 20   someone did not have to build up high level of points and they

 21   could redeem something that they considered of real value was

 22   very important, and as I said earlier, is the benefit of that

 23   is not just to Apple, but the benefit is to all merchants

 24   because the customer knows if I'm using my card, I'm earning

 25   points and I have a wide variety of options in the way that I


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  1   can redeem those points.      So it's making the program more

  2   attractive and accessible for the cardmember in giving them a

  3   wide range of redemption options, and that proved to be a

  4   very, very good program, and as I said, the benefit went to

  5   almost all merchants where someone was using our card.

  6                THE COURT:   Is there a Membership Rewards feature

  7   for Bluebird?

  8                THE WITNESS:   There is not, Your Honor, at this

  9   point.    The economics would be more challenging.        So we have

 10   different features, but from a rewards standpoint, we do not

 11   have Membership Rewards on Bluebird, but what we have done, as

 12   I said earlier, is we have substantially reduced the fees, and

 13   so the benefit to the customer is substantial and we've given

 14   them also a very strong level of customer service and they do

 15   have benefits like purchase protection.

 16                THE COURT:   I see.

 17                MR. CHESLER:   Your Honor, just one other page in

 18   this document, then I think we're ready to conclude.

 19   BY MR. CHESLER:

 20   Q     Would you turn to slide 39, please, Mr. Chenault.          It's

 21   entitled "Competitive Comparison Travel Redemptions."

 22                Do you see that?

 23   A     Yes.

 24   Q     Now, listed across the top are a bunch of issuers.

 25                Are those some selected competitors for travel


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  1   redemptions?

  2   A     Yes.

  3   Q     Why in your shirtsleeves session do you get briefed on

  4   this kind of information, what competitors are offering for

  5   travel redemptions?

  6   A     I think it's very critical that we review competitive

  7   comparisons pricing, value, benefits, services, features.

  8   That is essential for us to stay very competitive in the

  9   marketplace.

 10                MR. CHESLER:   Your Honor, I'm going to move to a

 11   somewhat different subject.       Is this a good time?

 12                THE COURT:   Yes, I think this is a good time to

 13   adjourn for the evening.

 14                Let me ask about how much more time do you think

 15   you're going to use for the direct for Mr. Chenault?

 16                MR. CHESLER:   I think, Your Honor, perhaps around

 17   the midmorning break or so, maybe a little over that, but

 18   around the eleven o'clock break or so.

 19                THE COURT:   All right.    And in terms of the

 20   Government on cross-examination?

 21                MR. CONRATH:   I would estimate about three hours,

 22   Your Honor.

 23                THE COURT:   And that would mean that you'll be able

 24   to call your next witness tomorrow afternoon.

 25                MR. CHESLER:   Yes, Your Honor.        We have another


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  1   witness and we've informed the Government of who that is.

  2               THE COURT:    Okay.   That's fine.      And I also wanted

  3   you to provide this information for the witness so he would

  4   know about when he'd be released from his indenture here.

  5               MR. CHESLER:    It sounds like if we're doing our math

  6   right, probably around three p.m. or so.

  7               THE COURT:    That sounds about right to me.

  8               MR. CHESLER:    We haven't been great in our

  9   estimates, but we're getting there.

 10               THE COURT:    All right.    That's fine.    I just wanted

 11   to get a general idea.

 12               MR. CHESLER:    Thank you.

 13               THE COURT:    All right.    We'll see you tomorrow

 14   morning, sir, 9:00.

 15               THE WITNESS:    Thank you, very much, Your Honor.

 16               MR. CHESLER:    Thank you, Your Honor.

 17               (Time noted:    6:03 p.m.)

 18               (Whereupon, the proceedings were adjourned to

 19   July 31, 2014, at 9:00 a.m.)

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